Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 1 of 104   1


                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

   * * * * * * * * * * * * * * * *
  UNITED STATES OF AMERICA,               )   Criminal Action
                                          )   No. 21-83
  vs.                                     )
                                          )
  BRANDON FELLOWS,                        )   October 12, 2021
                                          )   3:12 p.m.
                    Defendant.            )   Washington, D.C.
                                          )
   * * * * * * * * * * * * * * * *


                       TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HONORABLE TREVOR N. MCFADDEN,
                  UNITED STATES DISTRICT COURT JUDGE


  APPEARANCES:


  FOR THE UNITED STATES:         MONA FURST
                                 DOJ-USAO
                                 Office of the United States Attorney
                                 301 North Main
                                 Wichita, KS 67052
                                 (316) 269-6481
                                 Email: mona.furst@usdoj.gov


  FOR THE DEFENDANT:             BRANDON FELLOWS, Pro Se

                                 CARA HALVERSON, Standby Counsel
                                 Federal Public Defender
                                 625 Indiana Ave NW
                                 Washington, DC 20004
                                 (202) 208-7500
                                 Email: cara_halverson@fd.org


  Court Reporter:                Elizabeth Saint-Loth, RPR, FCRR
                                 Official Court Reporter


        Proceedings reported by machine shorthand, transcript
             produced by computer-aided transcription.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 2 of 104   2


1                              P R O C E E D I N G S

2                   THE COURTROOM DEPUTY:      Your Honor, this is

3       Criminal Case 21-83, United States of America versus

4       Brandon Fellows.

5                   Can the parties please come forward to identify

6       yourselves for the record, starting with the government.

7                   MS. FURST:    Good afternoon, Your Honor.

8       Mona Furst here for the United States.

9                   THE COURT:    Good afternoon, Ms. Furst.

10                  THE DEFENDANT:     Good afternoon, Judge.

11      Brandon Fellows.

12                  THE COURT:    Good afternoon, Mr. Fellows.

13                  MS. HALVERSON:     And Cara Halverson as standby

14      counsel.

15                  THE COURT:    Good afternoon, Ms. Halverson.

16                  All right.    We're here on what I think is probably

17      best construed as the defendant's motion to reopen the bond

18      hearing.

19                  Before we proceed, I just -- I want to check with

20      the attorneys what, if any, warnings you think I should be

21      giving Mr. Fellows before we open this.

22                  Ms. Furst?

23                  MS. FURST:    Thank you, Your Honor.

24                  Well, Your Honor, I was thinking about that.

25                  When you are an attorney up here, either for the
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 3 of 104      3


1       government or the defense, you are a member that has to be

2       honest with the Court; we have an ethical duty.

3                   Mr. Fellows, not being a member of the bar, does

4       not have that ethical duty.       However, he could say things

5       that could be used against him in his pro se situation; so I

6       think he should be advised of that, as you have been doing

7       in the past when he's wanted to talk.         And I think that

8       would be protecting his rights as well as the government's

9       rights.

10                  THE COURT:    Ms. Furst, I was just looking briefly

11      before I got in here.      There is United States versus

12      Simmons, a Supreme Court case that says the defendant

13      basically does not jettison his Fifth Amendment right

14      against self-incrimination if he testifies in a suppression

15      hearing.

16                  MS. FURST:    That's correct.     That is correct, Your

17      Honor.    And the reason for that is we -- in the past, before

18      that opinion came down, it was tamping down a defendant's

19      right to represent himself.       And so that exists so that

20      there is no fear that it can be used against him in a motion

21      to suppress.

22                  However, in a pro se situation, Your Honor, I see

23      that as a little bit different.        I think Mr. Fellows will

24      tell the Court what he wants to tell the Court with or

25      without the advisements, to be honest.         But I think he has
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 4 of 104           4


1       enough wherewithal to consider it, as he did before, when he

2       consulted both with Ms. Halverson and with the other

3       attorney who was kind enough to talk with him.

4                    So we -- this isn't a motion to suppress.           And

5       we're going to have -- if this proceeds to trial, we're

6       going to have different situations where he's going to want

7       to talk.    And I just think that if everything he says cannot

8       be used against him, then that's hamstringing the

9       government; and we have a client as well, which is the

10      United States that we have to protect too.

11                   THE COURT:   Right.   I guess I'm -- so do you --

12      are you disputing the connection of Simmons to a Bail Reform

13      Act case or a pro se case?

14                   MS. FURST:   More to a pro se case, Your Honor.

15                   I think -- so when you're doing a motion to

16      suppress, what you are trying to do is prevent evidence that

17      the government has gathered to be used against the

18      defendant.    As in a drug case, you search the house, you

19      find drugs; you want to use those against the defendant, so

20      you argue a Franks motion, or you argue something else.                And

21      defendant has the right to get up and testify to explain the

22      situation.    But if we're going to use Simmons in every

23      single hearing, Your Honor, then what we have is the ability

24      for the defendant to say whatever he wants to say whether

25      it's true or not.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 5 of 104           5


1                    THE COURT:   I mean, it strikes me that he still

2       faces potential perjury charges from the government.             And I

3       can certainly take into account his truthfulness in a

4       sentencing if it comes to that; so I don't know that there

5       is no protection against false testimony.

6                    MS. FURST:   Well, Your Honor -- I understand.

7                    But as you know, Your Honor, when you have

8       perjury, you have to be able to independently prove that

9       perjury; not simply say, well, that's not right; I'd have to

10      go out and investigate that.

11                   I think there is a balancing act that the Court

12      needs to have there; and I understand why the Court is

13      concerned.    But I don't think that Simmons represents to the

14      Court that defendant can say whatever he wants and have no

15      consequences.

16                   THE COURT:   Yes.    I certainly agree with that.

17                   All right.   Ms. Halverson, do you have any

18      thoughts on these issues?

19                   MS. HALVERSON:    Just briefly.

20                   I am sure Mr. Fellows also has thoughts on this

21      issue, so I don't want to encroach on his ability to have

22      thoughts on it.

23                   But I will say -- if I could just take my mask off

24      briefly.

25                   THE COURT:   Sure.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 6 of 104        6


1                   MS. HALVERSON:     I will say it's a little bit of a

2       mischaracterization that the government has its own client,

3       which is the United States.        I don't know that the

4       United States has a right to a fair trial.          A defendant has

5       the right to a fair trial.       So the rights that are inherent

6       in the Constitution is not for the country as a whole but,

7       rather, for the defendants in criminal proceedings; so I

8       would, kind of, take issue with that characterization.

9                   Additionally, I think if he is not allowed to ask

10      questions in a way where he has to be fearful that at any

11      moment the government may try to prove -- to take those

12      statements out of context, I think that it's going to hamper

13      his ability to conduct proper cross-examination.

14                  He is not trained in, sort of, legal arts and

15      legal evidence --

16                  THE COURT:    Sorry.    I'm talking about today.

17                  What I thought we were doing is having --

18                  MS. HALVERSON:     Okay.   So I didn't know if this

19      was, like, a broad stroke in general --

20                  THE COURT:    No, no.

21                  MS. HALVERSON:     -- or just today.

22                  THE COURT:    Just today.

23                  MS. HALVERSON:     I would argue that I think that

24      it -- not having reviewed the Simmons case prior to coming

25      to court, my understanding of it would be that it should
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 7 of 104       7


1       reach for this kind of a hearing as well if there is

2       evidence that is submitted in support of his revocation.

3                   THE COURT:    Okay.   Well, I think where we are --

4       and I will tell you what I expect to happen -- is that I

5       have completed the bond review hearing.         I found that there

6       was sufficient evidence to hold Mr. Fellows without bond.

7                   I have reviewed his filing.       Much of it I would

8       take issue with, if not all of it.        But I think the most

9       generous take on that is it's a motion to reopen the bond

10      review hearing and to allow him to testify, I think.

11                  If he testifies, I would expect the government can

12      cross-examine him.      I imagine the government can also put on

13      rebuttal evidence afterwards, if it wishes; I don't know if

14      it plans to or not.      I am sure the government doesn't know

15      what he is going to say; but that's how I see this going

16      today.    I guess I am a little at a loss still to know how to

17      advise Mr. Fellows.

18                  I will certainly -- well, this is what I will say

19      for now, Mr. Fellows.      I have never seen a defendant take

20      the stand in a bond review hearing.        I think there are

21      probably good reasons for that.        I think there are good

22      reasons that your attorney obviously discouraged you from

23      taking the stand before.

24                  I understand that now, seeing the outcome of that

25      decision, you may not be happy with that decision -- and,
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 8 of 104    8


1       frankly, I don't think you have the right to have the motion

2       reopened now that you have had second thoughts about whether

3       you want to take the stand or not.

4                   I am willing to allow you to take the stand; I

5       still, frankly, think it's a bad idea.         I think you may open

6       yourself up to perjury charges.        You may open yourself up to

7       obstruction of justice enhancement at sentencing; and, you

8       know, quite likely you will still end up, at the end of the

9       day, going back to D.C. jail.

10                  On the Fifth Amendment point, that is, whether any

11      statements you say now could be used against you in trial, I

12      guess it probably depends on what you say; but I am not

13      going to -- I think we'd have to -- I just don't know what

14      you intend to say, and it sounds like the attorneys aren't

15      quite sure either.

16                  To the extent you are just planning to talk about

17      the most salient issues that led to your pretrial

18      revocation -- those are your pretrial compliance -- I don't

19      think those things are very relevant at trial and so,

20      frankly, I strain to see how they would come into court one

21      way or the other.     So I am not sure that you need to worry

22      too much about what you say here coming in to be used

23      against you at trial.      But I don't know what you are going

24      to say; and I am just cautioning you that most people do not

25      do this.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 9 of 104       9


1                   Obviously, your attorney, Ms. Halverson, who is a

2       very experienced defense attorney, has discouraged you from

3       doing this.    So I don't think this is a good idea, but I am

4       going to allow you to take the stand if you wish.

5                   THE DEFENDANT:     Thank you, Your Honor.

6                   Should I stand when I --

7                   THE COURT:    You can come right up here, sir.

8                   THE DEFENDANT:     Okay.

9                   MS. FURST:    Your Honor, while he is approaching --

10      before I forget.     I'd like to ask the Court if I may talk

11      with him afterward, if you would order the marshals to allow

12      me to talk with him with Ms. Halverson afterward -- after

13      the court here --

14                  THE COURT:    Sure.   I think that's a good idea,

15      but --

16                  MS. FURST:    Thank you.     I think they need an order

17      from you.

18                  THE COURT:    Okay.   Yes.

19                  MS. FURST:    I think orally would be all right.     I

20      am not sure that we --

21                  THE COURT:    Okay.   Is he just planning to talk to

22      me, Ms. Halverson, or are you going to direct him?

23                  MS. HALVERSON:     I was not planning on directing

24      him.   I just, sort of, had an idea that may, sort of, help

25      all sides here -- is that if Your Honor would instruct him
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 10 of 104   10


1        that his statements potentially could be used against him at

2        trial.   And if there are particular statements that happen

3        today that, upon Mr. Fellows' or the government's request,

4        there could be additional briefing to the Court about if

5        those particular statements should be used in evidence later

6        at trial.

7                     THE COURT:   Okay.   Does that make sense to you,

8        Ms. Furst?

9                     MS. FURST:   It does, Your Honor.

10                    THE COURT:   All right.   So as I said, Mr. Fellows,

11       I think -- to the extent you plan to talk about things after

12       January 6th and compliance with your release conditions, I

13       don't think you are opening yourself up to any Fifth

14       Amendment challenge there in this case; and I would sustain

15       an objection from you or your standby counsel to the

16       government introducing those comments.

17                    If you do decide you want to talk about

18       January 6th or matters directly relating to the charges

19       against you, you may be opening yourself up to those being

20       used against you in trial, in the very least, in a

21       cross-examination setting should you choose to take the

22       stand.   I encourage you to talk with Ms. Halverson before

23       you, kind of, get into those areas or just warn you that

24       there are potential drawbacks to doing that.

25                    Does that make sense, sir?
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 11 of 104   11


1                   THE DEFENDANT:     Yes, sir.

2                   THE COURT:    Ms. Halverson, are you satisfied with

3        that?

4                   MS. HALVERSON:     I am, Your Honor.

5                   THE COURT:    Ms. Furst?

6                   MS. FURST:    I am, Your Honor.

7                   And, just for the record, I agree with your

8        statement that, under the law, reopening this probably is

9        not appropriate; but I do understand why you are allowing

10       him to speak.    I just want to put my objection on the

11       record.

12                  THE COURT:    Okay.

13                  All right.    Mr. Fellows, I will hear from you.

14                  THE DEFENDANT:     Yes.

15                  THE COURT:    And, sir, you understand that, after

16       you speak, Ms. Furst is going to have the opportunity to

17       cross-examine you?

18                  THE DEFENDANT:     Yes.   Yes, I do.

19                  THE COURT:    Okay.

20                               DIRECT EXAMINATION

21                  THE DEFENDANT:     Thank you.

22                  If I could just start off with it was -- it came

23       to my surprise that this was a bond reinstatement hearing or

24       bond hearing.    I personally didn't prepare for that; I more

25       prepared for the evidentiary hearing.        So I am, kind of, not
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 12 of 104     12


1        in a race to get out just yet.        I was, kind of, looking to

2        get all of the evidence for, like, why I should get out

3        between today and the second -- if a second evidentiary

4        hearing was given.

5                   I did want to touch on, lightly -- on things on

6        January 6th -- lightly; and then I more so just wanted to

7        focus the testimony upon -- focusing on the stuff that

8        related to me getting my bond revoked; that's more so what I

9        wanted to do.    I did have a, kind of, like, an index, if you

10       wanted to have -- kind of that way, if you, kind of, saw

11       what I was planning for.      Otherwise, I can just, kind of, go

12       read what I planned.

13                  THE COURT:    Go ahead.     You tell me what you want

14       me to know, sir.

15                  THE DEFENDANT:     Okay.    Well, I'd first like to,

16       kind of -- so that way you can follow along so you don't get

17       lost or -- figure out, you know, where I am going with

18       things.   I had my goals for today, which is right here.

19                  And then, also, the kind of proffer that -- I

20       think that's a correct term, the proffer for the Court to --

21       kind of what I was looking to do at the beginning.

22                  So my speech, I timed it -- my intro, I should

23       say, it just touches on some things.        I would caution that

24       this is a little bit more similar to Jesus, kind of --

25       Jesus's emotions when he was, kind of, flipping the tables;
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 13 of 104      13


1        he is a little upset.      But, you know, he's going to -- you

2        know, he called the Pharisees snakes, and so I think that's

3        equivalent; I don't get worse than that.         But if the Court

4        would like me to, kind of, stop, I will do that; I will just

5        move on to the next thing.      But I feel like this gives me

6        some context and, also, the Court's understanding of where

7        my emotions are, which also has direct correlations to a lot

8        of the reasons why certain situations happened, and the

9        events leading up to my revocations.

10                  If you'd grant me, I'd like to proceed.

11                  THE COURT:    Please do.

12                  THE DEFENDANT:     Thank you.

13                  After a year of witnessing citizens murdered,

14       businesses, government, and cities destroyed and, at times,

15       fully taken over for weeks at a time, like in Seattle and

16       Portland, I began to pay even more attention to politics,

17       along with the continuous violent leftist and democrat riots

18       that plagued this country.

19                  The democrat politicians, prosecutors, Attorney

20       Generals, mayors, governors, and leftist media outlets

21       downplayed or ignored the yearlong countrywide assault.          Yet

22       they can't stop talking about one 5-hour long incident that

23       some reports have begun to show were aggravated and

24       supported by the FBI, and other agencies.

25                  I have also personally spoken to Zach (sic) --
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 14 of 104     14


1        whose last name I don't remember -- the man from D.C., in

2        the jail, who broke out a window that Ashli Babbitt jumped

3        through with a helmet.      He was an Antifa member amongst us;

4        though, I will add, it would seem as if he has since found

5        Christ through our Bible studies -- which I will add we

6        created because we don't have access to church services

7        unlike the rest of the jail.

8                   Despite the crowd's massive size and ability to

9        fully overpower police, the super majority of the crowd,

10       myself included, were peaceful, nondestructive, and followed

11       a last-minute notice 6 p.m. curfew.        Yet the opposition

12       labeled their way more common and way more destructive riots

13       as mostly peaceful and like a summer of love, if not

14       outright encouraging them.

15                  Many of those riots were orchestrated attacks on

16       our constitutional republic, citizens, government, and

17       businesses as a yearlong domestic terrorist-funded and

18       supported insurrection against all of the above-mentioned

19       parties.

20                  These yearlong riots and insurrections costs many

21       lives, and over $1.8 billion worth of damages.          Compare that

22       to our 5-hour event -- which it happened once, and the

23       damages were less than -- last time I checked -- were less

24       than point 1 percent of the opposition's riots.          Also unlike

25       them -- I have already mentioned that -- already happened on
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 15 of 104     15


1        January 6th.    Portland and Seattle, to my knowledge, are

2        still suffering on and off with their riots.

3                   Yet January 6th has been a gaslighting tool used

4        by the opposition to claim it was worse than 9/11; and

5        anyone who was there -- or was even present -- is the same,

6        if not worse than the Taliban.       I am not like the Taliban,

7        and neither are the other Jan 6-ers.        Though, if the Biden

8        administration insists we are the same, I would just ask to

9        be treated the same, and to be materially supported with

10       $80 billion, and to be released from jail, like he did with

11       the people in Guantanamo Bay.

12                  I'd always wanted to attend a Trump rally, but

13       thanks to Trump's awesome policies, I had become busy

14       building two companies without taking out any business loans

15       or using any credit cards.      However, after the yearlong

16       assaults, our country's most sketchy --

17                  THE COURT:    So, sir, I am going to ask you to move

18       along to why you are being detained, which is the --

19                  THE DEFENDANT:     Got you.

20                  THE COURT:    -- what has happened since

21       January 6th.

22                  THE DEFENDANT:     Since January 6th, gotcha.

23                  Give me one second, please.

24                  Since January 6th -- if I could just mention this

25       part, this is about the NSA man who was here, if I can just
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 16 of 104     16


1        address that situation?

2                   THE COURT:    The -- I'm sorry?

3                   THE DEFENDANT:      The NSA -- the National Security

4        Advisor that was here prosecuting me.

5                   THE COURT:    Okay.

6                   THE DEFENDANT:      May I mention that?

7                   THE COURT:    Okay.

8                   THE DEFENDANT:      I know it's probably looked upon,

9        like:   Watch out.    Let's see.

10                  Well, according to my previous full-time counsel,

11       this NSA man filed charges against me ex parte, which means

12       I can't know my charges or defend against them; a clear and

13       new example -- sorry.      I will skip past that because I know

14       the Court doesn't like that stuff.

15                  THE COURT:    He has not filed any charges against

16       you.

17                  THE DEFENDANT:      He hasn't?

18                  THE COURT:    No.

19                  THE DEFENDANT:      Well, then I'm going to skip that

20       part.   Thank you.

21                  Move on to the goal of today.

22                  So the goal of today -- I have been studying law

23       as often as my ADHD brain allows me to.

24                  In the chapter that talked about giving testimony,

25       it shared a criminal defendant should almost never testify.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 17 of 104   17


1        It shared many reasons; but the reason that's most relevant

2        here is that, to the detriment of equal and blind justice,

3        it typically has less value compared to noncriminal

4        defendants.    Professionals, especially government

5        professionals, have more value in testimony compared to a

6        criminal defendant.     Given this information, I plan to, at

7        my second evidentiary hearing, if the Court allows it, to

8        question my adverse witnesses on the government side.

9                     However, similar to how I had surprised all

10       parties in the news I was seeking to self-represent, I,

11       again, have a surprise for all the parties; the goal is to

12       show the lies and the missing context for the prosecution's

13       revocation hearings, their assertions for my dangerousness,

14       and their assertions of my flight risk.

15                    As stated, my testimony would not be highly

16       valued, though I will give it; and this is why I will be

17       requesting to call to the stand someone who is already

18       present in this courtroom and is a professional that works

19       for the government.     This is a person I did not hire

20       personally, but -- her and I are on very different political

21       spectrums.    She has no reason to lie in my favor; and she

22       could lose her entire career if she lied about me, or in

23       general for that matter while under oath.

24                    That testimony should be proved to be very

25       valuable to this Court.      It would even -- it would be even
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 18 of 104       18


1        more of a benefit to its trustworthiness to note

2        Ms. Halverson had no idea I planned this and, therefore, she

3        had no preparations whatsoever.       For someone with something

4        to hide, this would be terribly dangerous; but I have

5        nothing to hide, only things to prove.        And besides

6        Ms. Halverson's testimony, there is evidence available to

7        support the truth of many of my claims.         I understand this

8        will waive my attorney-client privilege on the matters

9        discussed, and I am fine with that.

10                  This is the last page.

11                  I will additionally point to Federal Rules of

12       Evidence Rule 103(c) which states the Court may direct that

13       an offer of proof be made in question and answer form.           I

14       requested this in my motions and additional offers of proof

15       to show all revocation rulings excluded evidence.

16                  My questions are ready to go.        I have studied what

17       I can and can't ask, and understand what questions are

18       necessary and which are not.       Unlike the prosecution at my

19       third revocation hearing, I will not take two hours to

20       question four witnesses about a two-minute phone call I made

21       which I never denied making.       These questions will be to the

22       point, and address key issues regarding context that is

23       missing, and lies.

24                  I wish to ask the Court to please, if it's

25       granted, swear Ms. Halverson in and to please allow Federal
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 19 of 104       19


1        Rules of Evidence Rule 103 to be implemented.          If I may --

2        also before the Court responds -- offer one last thing as a

3        guide -- I already offered that.

4                   And, finally, I ask the Court to allow me to

5        remain under oath while questioning Ms. Halverson should I

6        need to testify or clarify something in agreement or

7        disagreement, although I don't think we should have any

8        issues.   I see this as an efficiency benefit.

9                   And I will stop here to hear the Court's response.

10                  THE COURT:    The motion is denied.

11                  THE DEFENDANT:     The motion is denied.

12                  THE COURT:    I want to be clear why we're here, sir.

13                  THE DEFENDANT:     Yes.

14                  THE COURT:    We had a probation revocation hearing.

15       The government presented sufficient evidence to me.          You

16       thought about testifying; then decided, after you took the

17       evening, not to testify; and then I ruled.

18                  I am willing to allow you to testify.         This is

19       your opportunity if there is any evidence you wish to

20       present from yourself.      But we're not -- we're not getting

21       to hear more witnesses from the government unless the

22       government wishes to put on rebuttal witnesses.

23                  We're not going to be hearing from Ms. Halverson.

24       This is your chance to testify.

25                  THE DEFENDANT:     Okay.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 20 of 104       20


1                    THE COURT:   And it's specifically about the

2        probation -- the release revocation.        January 6th, you can

3        talk all you want at trial if you wish to; but we're talking

4        about those supervised release conditions now.

5                    THE DEFENDANT:    Okay.   I would just note also that

6        I was essentially tricked into doing that.         I was told that

7        we would -- you know, that she would file a revocation to

8        address those lies, and that's why I thought -- you know, I

9        read that her words, essentially, would be worth more than

10       mine; and that's, kind of, why I wanted it; it wasn't to

11       waste the Court's time.      But I can try to address the

12       things -- I didn't think that was going to be denied; but,

13       yeah, I can address it.      So it's going to be less organized,

14       but let's see.

15                   So I was accused of getting another criminal

16       charge of petty larceny at my first revocation hearing.          A

17       big issue with that that wasn't shared with the Court --

18       despite that I was pushing for this to be addressed -- was

19       my continuous pushes to try to get my phone back that the

20       FBI had taken.

21                   I had continuously worried because my tax info- --

22       I am a tiny-houser, a minimalist; so I don't, you know, have

23       a lot of stuff.     I got rid of my stuff for many years to

24       downsize.

25                   On that phone were my business records, my tax
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 21 of 104       21


1        records, customer contacts, and contracts.         With that away,

2        I couldn't file my taxes.      I couldn't, you know, get

3        customers' calls.     And the customer, as noted in the public

4        newspaper, said he had tried to call me while my phone was

5        in the possession of the FBI; and he couldn't get ahold of

6        me.   I understand his position; he probably thought I ran

7        off with his money, and that's essentially what led to the

8        revocation.

9                   Since unfortunately I can't -- I will address the

10       main reason why I think the bond started also.          I mean --

11       well, I know why it started.

12                  The first prosecutor here lied.        And you will

13       recall that I was smiling, that's -- I will note that's a

14       coping mechanism that I have had.        You know, I have suffered

15       a lot of abuse as a child and growing up.         I don't like to

16       show my weaknesses to other people; so I like to smile and

17       act like nothing is being bothered -- and, also, I am, kind

18       of, a little socially awkward due to a couple -- you know, I

19       don't want to say "disorders," but like -- you know, I

20       consider them benefits.      I don't like to get privilege

21       points for, you know, what I suffer and/or don't suffer

22       with.

23                  But I will note that the first lie was that I

24       ditched my vehicle in the middle of a road and -- to my

25       memory -- I don't have the transcript, although I have
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 22 of 104       22


1        requested it.

2                   But to my memory the prosecutor that was there

3        said I ran on foot, after ditching my vehicle in the middle

4        of a road -- and I ran on foot to a shopping mall hotel and

5        was found by the FBI officers trying to shove my phone up a

6        candy vending machine like a crazy person; and that's so far

7        from the truth.     And not only is it so far from the truth,

8        but they had the discovery to see that and yet they still

9        claimed what they said.

10                  If they will look into their discovery, which I

11       got months later -- but I still claimed this to my attorney,

12       that she unfortunately -- I was pushing and I was saying,

13       Hey, please, share this; this is ridiculous.         I am getting

14       all of these crazy restrictions because -- I mean, I

15       understand; I would look at me like I am crazy, why are you

16       doing all of that?     And unfortunately it wasn't spoken up.

17                  I remember specifically.       I asked to speak

18       separately on that phone call, the magistrate judge -- I

19       believe Meriweather, Robin Meriweather; unfortunately, it

20       was not addressed.     And that resulted in the beginning of my

21       harsh conditions which -- you know, I have some minor

22       Asperger's so it's me -- for me, it feels like -- I do not

23       like change.

24                  You will also recall that I was very adamant and

25       very fully tunnel-vision focused on getting my bus.          I was
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 23 of 104        23


1        very upset about my bus if you read the transcripts -- even

2        though I haven't read them.

3                   I remember that was what was on my mind.         I wanted

4        to live on my bus but, instead, because of those flight risk

5        conditions -- I was not only forced to not live in that

6        bus -- which I have lived in, you know, my six RVs and my

7        bus that I have owned for the past four years.          But I was

8        forced to go live with -- you know, she is good now, but we

9        don't connect well.     And she essentially believed what the

10       news was, which was:     Brandon is a terrorist, which is very

11       far from the truth.

12                  I was forced to go live with my mother who had

13       abused me as a child, so that wasn't a very healthy

14       environment.    I didn't like living in an environment where I

15       was treated like a criminal, which I am not; and so that

16       didn't really create for a healthy environment, along with

17       the change.

18                  But the other thing is they also had records to

19       show that my vehicle was found by the FBI at my house.           It

20       was not ditched in the middle of a busy road as they

21       originally said; so that was all made to make me seem like a

22       giant flight risk.

23                  I also did not ever run into a shopping mall

24       hotel.   In fact, when the FBI officer called me -- because

25       he couldn't find me because I was climbing a mountain --
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 24 of 104        24


1        and, also, you can't find my bus, it's not an address.           He

2        said, Hi, I'd like to talk.       After some probing I said,

3        Well, am I going to be arrested?       He said yes.     I asked him

4        for -- if there was a warrant; he said no.

5                    I have a video recording, which I have shown

6        Ms. Halverson, of an attorney.       He described himself as an

7        attorney and a constitutional lawyer saying:         Brandon, be

8        careful; this is unprecedented.       This is early on, so that

9        the stuff was -- very intense stuff was going on.          He said,

10       You do not turn yourself in until you know for a fact this

11       guy has a warrant.     He stated he originally was a state

12       trooper to me.    Later on he identified himself as an FBI

13       officer when I saw him.

14                   So I told him -- I told the constitutional

15       lawyer -- Listen, he said, the state trooper shouldn't be

16       seeking you out.     And this is all on video; this is all

17       recorded.    I've shared it with Ms. Halverson.        That, again,

18       was not shared with the Court.       I've got no record of the

19       law; I have just started reading it.

20                   I believed him.    And I said, oh, yeah, I get it.

21       Also, I believe it was 24 hours prior the supposed man who

22       had stolen a laptop had been suspiciously killed; so I

23       didn't know if I had seen something that I shouldn't have

24       seen.   I didn't know -- I was completely, kind of, freaked

25       out after talking to the attorney.        He said, Don't talk to
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 25 of 104       25


1        them until you have a warrant.

2                   So I changed my mind because I did not know that I

3        had a warrant -- and I didn't go hiding.         In fact, when he

4        called me, I was at -- on top of a mountain to go pray

5        because I was very worried.       It's a mountain I always go to,

6        Camp Pinnacle; that's where I was.        Unfortunately -- but

7        fortunately (sic) -- my bus got stuck in a ditch on the very

8        top; it took three days to get out.

9                   When I talked to him, I said I would voluntarily

10       come and talk to the officer who identified himself as a

11       state trooper.    I'm forgetting his name right now, but he is

12       the signature at the bottom of that page.         And I said I

13       would -- once I get it out, I would come and meet with him

14       to talk with him.     But, after speaking with the lawyer, I

15       got worried; and I said, I want witnesses.

16                  Also, my continuous attempts to try to get the

17       actual story out was inhibited nonstop.         Everything that I

18       said was turned into fake news.       They were twisting things;

19       and I was getting angry.      I was, like, why is nobody

20       actually reporting my actual story.        I wanted the real story

21       out in case something sketchy -- suspicious happened.

22                  And so I went to -- I kept my plans to come off

23       the mountain and go to the Albany Hilton hotel; that's where

24       they found me.    There I talked with the media people.          And I

25       originally told them:      I want you guys to come with me in
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 26 of 104      26


1        case anything weird is going on; and I want you to record me

2        getting arrested.     Again, that was before I was told not to

3        go there.

4                    I had no intentions of running.       And, also, if I

5        was having an intention to run -- the opposite -- people run

6        off to the mountains.      Every time we see a jail break, they

7        run to the mountains.      I was in the mountains; and I can

8        live a long time in the mountains.

9                    I came down from the mountains to the capitol of

10       New York, right off the busiest street in Albany; it's a

11       total, terrible plan; and I wasn't even doing that (sic).           I

12       also parked my vehicles at my old house which is registered.

13       My vehicles were there; I took no bags with me.          I didn't do

14       anything to show that I was looking to run.         And when the

15       FBI officer finally came in, I saw him -- I saw him, and I

16       did not run.    I put my hands behind my back.

17                   And where they got this story of this candy

18       vending machine is -- they twisted it.        My phone was placed

19       on the candy rack next to -- my friend was making the

20       toughest decision of his life, a Kit Kat bar or a Reese's;

21       and he took forever to make that decision.

22                   Then the FBI officer comes in, arrests me; my

23       phone is right there.      It was actually wrapped in tin foil,

24       and that was because the man told me to wrap it in tin foil.

25       I just was get- -- this was an unprecedented situation; I
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 27 of 104       27


1        didn't know what to think.      It was wrapped in tin foil.

2                    But I did not turn off the phone to try to hide

3        from him.    My phone battery was dead because -- if you look

4        at my TikTok videos of me talking about turning myself in --

5        about six continuous times -- continuous videos talking

6        about, like, goodbyes to everybody because I planned on

7        turning myself in, if anyone has seen that; you will see my

8        breath continually is extremely cold; that's because there

9        is no -- the A.C. accessory outlet and the heater were

10       broken.   I could not charge my phone, so it was to conserve

11       my phone so, that way, I could use it later.

12                   It was at that time at the hotel I got a call from

13       the -- from a friend who said, Hey, a bunch of FBI officers

14       are, like, surrounding your house; they are asking if they

15       (sic) have seen you, and now they're taking your bus away.

16                   So I called the attorney.      And he freaked out and

17       said, oh, no; he's, like, the FBI.        So it was -- so the FBI

18       is there.    What you need to do is -- this is very

19       suspicious.    Go to the sheriff's office.

20                   I know it sounds crazy.

21                   He said go to the sheriff's office -- it's all on

22       video.    And he says go there and seek protection possibly

23       and/or find out if they have a warrant.         So that's where we

24       were going, and the media people could attest to that as

25       well -- the French media crew.       And that's where we were
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 28 of 104       28


1        going.   I was not running to escape police; I was not doing

2        that whatsoever.     So, fast forward, that's what led -- got

3        me into those conditions.

4                   I will also state some information that I came

5        across which was that -- I believe you say -- you pronounce

6        his name Tighe Barry; one of the 1100 people from the Brett

7        Kavanaugh hearings.     I saw he also had the same magistrate

8        judge, Robin M. Meriweather, who -- by the way, he had a

9        12-year history of doing the same exact things, of actually

10       obstructing an official proceeding where people were

11       actually present; he planned to do this.

12                  And at his most recent hearing, which I read the

13       appeal on, he ironically tried to push for selective

14       prosecution.    In that situation, he put on a tiara that said

15       "Kava Nope"; stood up -- and despite police asking him not

16       to do that, he started shouting.       When police tried to grab

17       him, he lunged forward injuring people behind him.          And

18       then, landing on people in front of him, officers grabbed

19       him.   He still would not comply, kicking with his arms and

20       legs, until he left.

21                  Unlike my video in TikTok that shows one of my

22       encounters -- all my encounters with police were great --

23       which shows an officer -- when I was worried that I was

24       going too far into the Capitol, I said:         Hey, Officer, I am

25       just a little worried.      Like am I -- where is this statue?
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 29 of 104      29


1        This other officer told me I could go as far as the statues.

2        He said:   Oh, yeah.    It's over -- you go over here, and then

3        he gave a quick history lesson.       My video says that -- I

4        then comment:    Hey, man, thank you.      You are super cool;

5        continue on.

6                     That is the continued theme throughout all of my

7        interactions with the police.       I actually didn't know

8        anything -- any cops were getting attacked, let alone -- as

9        I have seen more recently -- that cops were beating an

10       unconscious Rosanne Boyland through -- you know, on the

11       face; it's a very graphic video I have seen.         A very, very

12       tragic situation going on there.

13                    But I didn't have any problems with the police; I

14       was having a great time.      I have never had problems with the

15       police, even though I have encountered some in my lifetime,

16       you know, some mean officers.       I think there are mostly good

17       officers out there.

18                    Anyhow, Tighe Barry in this case -- to close that

19       situ- -- that story up, is -- they ended up pairing -- his

20       most recent one was for that Kavanaugh interruption -- the

21       violent Kavanaugh interruption -- was Attorney General

22       nominee Jeff Sessions that he also interrupted.          The

23       government said that he had a 12-year extensive history,

24       unlike me.

25                    I have no criminal history.     I have not done --
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 30 of 104     30


1        even that day, I am not charged with any violence.          I am

2        never going to be charged with violence.         They're never

3        going to find a video because it doesn't exist.          I just

4        didn't know what was going on was going on, until I got home

5        and I saw the news; and I said:       Oh, no, I am on CNN; that's

6        not good -- yeah, so.      It also wasn't a very flattering

7        video.

8                    But Tighe Barry ended up getting, with this

9        magistrate judge, six days on a plea deal with time served

10       for three of his previous charges, despite a 12-year

11       history.    And I -- because of the government's lies, so I

12       don't blame it entirely on Ms. Robin Meriweather; I actually

13       thought she was very friendly with my limited interactions

14       with her.    But, despite that, she gave me a $25,000 bond,

15       all of these restrictions that you knew that I was under;

16       and I didn't deal with change well.

17                   What I will note, though, now finally moving

18       forward, that -- those lies they presented in that first

19       magistrate hearing that got me on these situ- -- that got me

20       under such heavy restrictions is -- like I said, I cope with

21       pain by trying to jab at people and say, You are not hurting

22       me; you know, kind of like a vengeful -- kind of like, no.

23       I am not going to back down; in fact, I am going to double

24       down.    And that's exactly what I did.

25                   The government will have their day of trial.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 31 of 104       31


1        They're going to have some videos that show after the event.

2        Oh, look, I am commenting some mean things.         Especially, as

3        this Court has seen, for instance, with the FBI report -- my

4        FBI comments, often email.      I was very upset.      The FBI

5        officer lied.    I would rather wait until trial or at a later

6        point in time when I have the evidence in front of me to

7        present that.    So I don't want to twist my words because I

8        got very little sleep, but I will present that at a later

9        time.

10                    But continuing on, it takes me a long time to

11       adapt to change.     And so what you will notice -- if you get

12       the report without me even seeing it, you see the time

13       periods of call-ins -- right? -- that was a recurring theme

14       in these revocations; it was:       Brandon is not calling in.

15       Eventually, at their last revocation hearing, they cited a

16       55 percent call-in rate.      Well, if you look at January, it's

17       probably under the 10 percent range.        I'd even offer it's

18       probably near 5 percent.      I didn't really read the contract;

19       I was very stressed.

20                    My -- if you were to look at the videotapes, you

21       will see I actually did break character; and I was crying as

22       they were putting an ankle bracelet on me.         I did not like

23       the freedom restrictions; and I quickly gathered my

24       composure.    I don't listen very well in very high-stress

25       situations.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 32 of 104        32


1                     So I didn't know that I was -- I thought it was

2        more, like, a gambling, kind of, situation; like, there is

3        going to be a rare time when you call, and one of those

4        times you have to show up for a drug test.         But then

5        Ms. Kendra Rennie, my probation officer, said:          Hey, I will

6        let you know when you have a drug test.         So then I even

7        thought at the beginning, okay, I don't need to do that.

8        Later on she eventually corrected me, and I started getting

9        better.    But I was, kind of, both protesting and also

10       forgetful and dealing with the stress of this whole

11       situation.

12                    So continuing on.    I will note that the government

13       also, at the revocation hearing, I believe the pretrial

14       services lady, at the what I call revocation -- no, it was

15       the third revocation.      I forget her name, but she is from

16       D.C.   She falsely claimed, I think with other people, that I

17       had both missed and failed a drug test.         I have never failed

18       a drug test; and I am not, like, a druggy.         I am not a

19       druggy.    You know, I didn't bring any drugs to the Capitol.

20                    I am not going to comment on anything inside the

21       Capitol at this point in time; but I am just going to say

22       that, you know, if there was anything it wouldn't have been

23       from me.

24                    Continuing on from there, I have never failed a

25       drug test.    And -- let's see.     First revocation hearing.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 33 of 104      33


1                     Let me just, if I could, just read through the

2        notes; is that okay?

3                     Thank you.

4                     So as February and March came -- you know, from

5        February until March there was a better call-in rate, and it

6        just kept seeing progression.       And I think the key theme

7        here is "progression," even though the consistent theme from

8        the opposition was more and more restrictions.

9                     So rather than, you know, fighting, I kind of

10       related it to -- and it's a very -- not great analogy, but,

11       you know, I am not politically correct.         I feel like I was

12       kind of like a battered-wife-in-training, with the abuser

13       being the prosecution through her abuse in what I consider

14       misconduct.    And yet I still trained myself to deal with the

15       ever-increasing restrictions.       And even more tough was

16       sitting here in court not being able to defend against it.

17       Requesting, please, speak up more fully.         Speak up about

18       these lies.    They are presenting false testimony; please say

19       something.    Nothing, nothing, nothing.      Well -- not

20       "nothing."    But, overall, the big stuff was:       No, no, it's

21       okay.   We're going to wait for a plea deal.        And so that

22       continued on.

23                    Let's see.

24                    I thank the Court for the time, by the way.

25       Thank you.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 34 of 104        34


1                    So I also was going to cite that I respond a lot

2        more positively to positive reinforcement.         I will cite also

3        a report that I did in high school that I semi-vividly

4        remember, which was a study on the Canadian police force's

5        positive policing.     The positive policing, from my memory,

6        had -- I don't remember the statistics; but it had a way

7        more astronomical positive impact than, say, I don't know,

8        the normal policing.     So what they did was -- they would,

9        like, essentially give rewards for good behavior, like -- I

10       don't remember the things.      But, essentially, I respond

11       personally, and most people do -- pets, children, even

12       humans -- they typically respond a lot better to positive

13       reinforcement.

14                   I will credit Ms. Halverson.      It was -- because of

15       her, she was like the very -- even compared to my mother; I

16       really only got positive reinforcement from Ms. Halverson.

17                   One example of that is when I had found out that

18       this drug test had to involve me peeing in front of a

19       stranger.    It's no -- you know, it's nothing -- it's not a

20       surprise to the Court; they have known through some

21       voicemails I was not fond of that.        And she talked me into

22       it.   I said, at first, I am not doing it; I am not doing it.

23       She talked me into it; I went to the drug test.          And that's

24       a continuous theme.

25                   I also would like to note that I don't have
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 35 of 104       35


1        contacts.    And I am very legally blind, so I have been

2        struggling to see, and I have got some astigmatism.

3        The jail will not accept my contacts.

4                    Also, wrestling in the gym.      I was a little

5        troublemaker in high school.       I probably -- honestly, would

6        have probably ended up in jail; it's very ironic.          I would

7        have probably ended up in jail or, you know, in some extreme

8        situations, or failing out of school, if it wasn't for my

9        uncle coming forward and getting me involved in wrestling.

10       And ever since then, fitness and nutrition and sports was a

11       great way for me to, kind of, deal with my stress, deal with

12       my disabilities.     And with that gone, it was -- that was the

13       first time in many, many years I had to cope with this

14       lethargic lifestyle.     It's very, very tough.

15                   I will also mention, at the second revocation

16       hearing, the government complained that four days had gone

17       by, right after I was here, in which I didn't call in for

18       the drug test; that is correct.       I did not do that.     And I

19       will say that it was very disheartening to hear that my

20       already tough restrictions of 9 p-        -- it was either at 9

21       p.m. or 6 p.m., but now you are not even allowed to leave.

22                   And I'll also note -- this is good stuff.

23                   Ms. Rennie -- though the complaint was I was not

24       working, there are a couple of things that are very out of

25       context for that.     Number one, it's a dead season; we don't
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 36 of 104        36


1        say that a teacher is "unemployed" when it's summertime.           We

2        just say -- they're clearly just not in season.          Similar to

3        my business, the chimney business, it was a dead season.

4                    As it started to come out, though, I still had

5        other problems which were -- I was kicked off of all social

6        media for being associated with this group, which took --

7        and then, as a result of the fake news stuff twisting

8        everything, I lost 85 percent of my income from most of

9        my -- my five business referral contracts, so -- from other

10       companies; they canceled it.       They said:    I'm sorry, we

11       don't want to get involved.       We are scared about cancel

12       culture.    We are scared to be associated right now; we're

13       going to back off.

14                   On top of that, though, I explained to Ms. Rennie

15       that I was not one to really pay for advertising.          I was

16       more of an in-person, Hey, I'd like to sell you something

17       kind of salesman -- a soft salesman, I'll add.          And she

18       said:   No, you can only go out for work -- like for work;

19       you can't go out and market.       So there went my opportunity.

20       She said:    Go apply other places.      I said, Well, I'd really

21       like to work my business.      I don't want to go -- you know,

22       this is why I built my business, so I wouldn't have to go

23       work a minimum wage job.      I like what I do.     I was inhibited

24       by doing that.

25                   So all of these measures led to those four-day,
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 37 of 104       37


1        kind of, like depression.      Depressed people, as we all know,

2        they become lethargic; they don't -- they, kind of, lack on

3        their responsibilities.      They don't make calls even to their

4        loved ones sometimes, let alone keep up with their

5        responsibilities.     So I know that's not an excuse that the

6        Court would accept, but I am just trying to be honest with

7        that situation.

8                   I will note, though, that it was -- like I

9        mentioned, a continuous increase.        And those four days were

10       the last four days that I ever missed a phone call to the

11       Court; again, never missing a drug test.

12                  Now, they also mentioned I had been late two

13       times; they cited to two times.       But, again, almost

14       everything that they said was either an outright lie or out

15       of context.    I had gone to the gym -- this is prior to that

16       revoca- -- to my total time restriction; and I was at Planet

17       Fitness.   Now, I don't think it's totally uncommon for

18       people to lock their keys inside their vehicles, especially

19       somebody like me with ADHD.       It happened once.

20                  I locked my keys inside the vehicle.         I

21       immediately called -- I immediately called Kendra.          And I

22       immediately also picked up when an emergency line guy called

23       me.   And I was, I believe -- to my memory, I know I was

24       under 45 minutes late; I believe I was 15 minutes.          I was

25       only 5 minutes down the road.       I was not trying to run.     I
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 38 of 104          38


1        was not trying to, you know, stick a finger up at my

2        probation officer.     Despite that I feel like she does -- she

3        did that to me many times, I didn't do that.

4                   The second time they alleged in -- I believe it

5        was the second or third revocation hearing -- they said, oh,

6        Brandon also did not show up to -- he was late again, and he

7        was at a bar.    And he was probably -- I think they -- I

8        mean, they talked to me this way.        But I think they alluded

9        to I was getting drunk instead of going home.          This is not

10       true.   I see it, kind of, similarly to them -- I mean, this

11       is a restaurant, a beautiful restaurant, in Saratoga

12       Springs; beautiful indoor and outdoor seating overlooking

13       the Saratoga Lake, a very beautiful lake; also a very

14       historical city, very beautiful.       But I will note that it

15       serves alcohol, but it's a restaurant.

16                  And I feel like it's a similar analog- -- it's a

17       similar metaphor to say, like, McDonald's -- you know, they

18       sell toys, it doesn't make it a toy store.         McDonald's sells

19       ice cream, it doesn't make it an ice scream parlor.          They

20       are a burger joint, just as this place was a restaurant.            I

21       will also note that this was out of my control and was two

22       times out of, what, 6 months times 30 -- so it was 6, 12 --

23       180 days -- 180 days I had two times that I was late where

24       they actually complained about it.        So I am not going to say

25       I wasn't, like, a couple of minutes late here and there; but
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 39 of 104        39


1        that was the only time where I was, like, Hey, you are

2        really running late.

3                     They also falsely alleged that I did not call any

4        emergency lines; not only did I call, but Ms. Rennie knew

5        that I called.    She has screenshots, and I had those

6        screenshots that I sent to her showing two numbers.          And if

7        the government were to bring up those screenshots or

8        Ms. Halverson -- because I also sent those photos to

9        Ms. Halverson -- if we were to call those numbers right now

10       in court, they would both call -- they would both go to

11       probation lines.     I left a voicemail.     And that screenshot

12       shows I left a voicemail on one line.

13                    But to add to it, I also immediately picked up,

14       when an emergency line -- when a man from the emergency

15       after hours -- whatever it's called -- he called me; and I

16       picked up.    I continually talked to him despite his

17       allegations of:     You are at a bar; you are at this; you are

18       at that.   Come on, tell me the truth.

19                    I was, like, sir, my friend just totalled his car

20       last week.    He is having car problems because he is

21       borrowing his mother's car.       And he also, to Ms. Rennie,

22       said -- I think it was either in an affidavit or just, like,

23       spoke with her and said, yes, this is the situation.             And so

24       somehow Ms. Rennie still showed up in court and alluded or

25       reported that I didn't call.       She had no rec- -- you know,
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 40 of 104      40


1        she didn't remember any of this.       And I stayed on that phone

2        with that man until I got home.       Far from a -- you know, far

3        from a man that's trying to escape or, again, showing low

4        disregard.    Though, I will note, there are times, yes, that

5        I was showing disregard.

6                     But, again, I think the theme here is growth.        And

7        especially before I got moved into C2B, I realized there

8        were about -- there were many people who had been in the

9        jail 30-something times; it's like a game for them,

10       unfortunately.    I feel very sorry for them.       Yet they've

11       still -- despite the fears of the government and especially

12       the way higher statistical fears of them doing their crimes

13       again -- and especially violent crimes, unlike me -- they

14       are given a chance to get out; they're not held

15       indefinitely.

16                    And I just saw the Texas shooter -- I am not

17       saying we should allow that; but I am saying it's just, kind

18       of, a slap in the face continuously, seeing this Texas

19       shooter shoot four people and then get out on bond.

20                    The woman, I think, from D.C. who maybe you

21       recall -- I saw on the news -- she ran over her baby on a

22       drug thing and then threw it in the dumpster; she is

23       released.

24                    I think it's ridiculous.     Along with also

25       seeing that it's not -- you know, I think it's selective
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 41 of 104      41


1        prosecution both from the prosecutor and in a mix of, kind

2        of, like a cultural -- not a "cultural" -- a social kind of

3        mob rule kind of way.

4                     So, obviously, I warned (sic) that this missing

5        phone was going to be a problem.        I was told that this -- I

6        couldn't get it.     Well, just a couple -- well, less than a

7        month or so of reading the law I actually found out that we

8        could have done it.       I was told that we would have to sign a

9        contract stating you guys can sue me -- you guys can come

10       after me for any other crime that you find on any of my

11       phones.   And I was told you probably shouldn't do that; so I

12       said all right, fine.

13                    Meanwhile, though, I also had the IRS coming after

14       me saying:    You didn't file.     I can't file; I am very sorry.

15       So I had all of these issues going against me, and yet we

16       still couldn't file.       So I think the technical term is

17       "prejudicial."    I think that phone not coming back was

18       prejudicial right into my first revocation hearing, which is

19       very unfortunate -- and yet continued to lead down a

20       continual restriction -- a continual path of restrictions.

21                    Forgive me.    I, again, thank you.    I hope your

22       patience is not --

23                    THE COURT:    All right.   Well, let's come to the

24       conclusion here, Mr. Fellows.

25                    THE DEFENDANT:    Yeah.    Yeah.   I know.   There was a
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 42 of 104     42


1        lot.   There was a lot of stuff.

2                     Also, I'd like to note another reason why I

3        didn't -- oh, this was not mentioned.        I had a full workweek

4        schedule for the first time at my third revocation hearing.

5        It was noted that -- it wasn't noted that I had a full

6        workweek scheduled.     I finally had did it -- I had

7        scheduled.    That's because Ms. Rennie -- upon a number of

8        appeals but, finally, she caved.       She said:    All right; I

9        will let you go out and market, and that's when I started

10       landing jobs.    That was the inhibiting factor that was

11       stopping me from landing these jobs.

12                    I will also note that phone situation which is

13       probably, I would say, if I were a judge probably the most

14       troubling situation.     I would like to read an actual -- if I

15       could just find that, because that actually was a complete

16       lie from the -- well, first, before I read that, I will

17       mention what happened with Ms. Rennie.

18                    Ms. Rennie knew that I was having phone problems.

19       That screenshot was sent to Ms. Rennie three days prior to

20       any situation whatsoever.      It said, Hey, I am going to miss

21       a call-in today.     I am just letting you know, like, my phone

22       is not operating; I don't understand why.         Despite my low

23       funds, which were -- I had no reason to buy a phone on low

24       funds.   I bought a brand new phone and it had arrived the

25       day after I was arrested.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 43 of 104          43


1                     Now, I -- it was argued in here that, oh, he had

2        the number, and he should have known because of this area

3        code.   Well, no.    I Googled the number to try to find

4        Ms. Rennie's number because -- two things happened.

5                     She complained of me because I was tired.           And,

6        also, I will note studies show that it's way more dangerous

7        to drive while tired; and it wasn't because of a

8        thunderstorm.    I was because I was trying to get off the

9        cycle of a lethargic lifestyle and sleep cycle, not getting

10       any sunlight or exercise.

11                    So Ms. Rennie sat there and she yelled at me and

12       said:   No, you have got to turn around; you cannot go to

13       your work.    So I was very upset; and, yes, I did question

14       kind of rudely.     But, seriously, I said, you know, exactly

15       what she said.    I said:    Are your hormones okay?

16       Understandable -- understandably disrespectful.          But I

17       listened to her rules.      She said:    You can't go anywhere

18       because you are sick.

19                    She called her supervisor, and then she demanded I

20       show up to right -- into downtown Albany within, like, 45

21       minutes.   I tried to appeal to Ms. Rennie, and I didn't have

22       her phone number though.      I could only receive the incoming

23       calls at the time.     I knew that it was time sensitive

24       because I knew I had to leave almost immediately, so I tried

25       to call her.    And obviously I couldn't find her number.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 44 of 104       44


1                    So I did what most people do, right?        I don't

2        have -- those phone books are kind of outdated now.          I

3        Googled the number.     Gave me every little sign that showed

4        it would be Ms. Rennie.      And exact -- if you read the exact

5        testimony of the mother who -- I didn't know it was the

6        mother.   I just was asking for Ms. Rennie, but I noticed

7        something was off with the voice.        When I noticed it, I

8        left.   I didn't block my number; I didn't say anything mean.

9        I had no idea that this person would say, Hey, you should

10       look into this number and figure out who called.          I just

11       left it at that and said, fine, I will go down to the

12       office.

13                   I went down to the office.      When I had gotten out,

14       Ms. Halverson had sent me a message stating, Hey, the

15       government thinks you did this.       I quickly let Ms. --       I

16       tried to alleviate the fears that Ms. Rennie was having and

17       explaining the situation; and they asked me to come in the

18       next day.    That next day I, yet again, came in, canceled my

19       work and followed the rules.       I sat there for hours,

20       listened to everything they had to say.

21                   I really need to mention this -- the most

22       troubling thing which I think the Court stated -- I just

23       need to find it, which was regarding the previous judge

24       because I feel like it will definitely give the Court

25       some -- a much needed context on that, which I believe was
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 45 of 104     45


1        part 3.

2                    Yes.    All right.   So page 13, and then I am good.

3        I found it.

4                    I will also note, as I mentioned, I am off with

5        social norms.      I thought -- I thought that because it was a

6        Zoom call -- court -- I didn't have to dress up as fancy, so

7        I didn't.

8                    I will also note -- I am not trying to throw

9        anybody under the bus; but previously, a year before -- I

10       have a bad habit with girlfriends, and my good clothes have

11       been burned.    So I had to go out and buy a new suit; it was

12       a very nice suit.     I bought it for this court, yeah -- and

13       so I wore it.      Despite low funds, I listened to the Court's

14       advice on that.

15                   I also tried to control my facial expressions.

16       But this is the exact thing that led to that situation that

17       the prosecution brought up which had a lot of lies with it.

18                   So let's see.    So if this Court will remember --

19       if you will remember, Judge McFadden, you seemed angry and

20       displeased with my smiling in court.        More specifically

21       with -- you were saying -- yes; I don't know where that

22       went, so...    But you were saying that you were displeased

23       with my smiling in this court.

24                   And I am -- you know, Ms. Halverson can attest.

25       She's always questioned:      How do you have so much proof of
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 46 of 104        46


1        things?   Well, because the first time that I ever had an

2        incident with the court I got saved thanks to an awesome,

3        awesome officer who, kind of, shaped, my, like, PTSD of

4        recording so many situations -- Detective Barnes of

5        Schenectady, New York -- in which I had a charge against me;

6        and I was kind of worried.      It seems like it had a very good

7        chance of succeeding; even though I was, like, hey, there is

8        video evidence to substantiate my claims against this.           It

9        didn't come out for months until, finally, the video came

10       out and the man said, Hey, this person clearly lied about

11       you.   What would you like to do?      And I said I would like to

12       forgive them.    He tried telling me, hey, I see this happen

13       all the time with women; they lie about men.         I think you

14       should do something more serious than just give her a

15       restraining order.     I said, no, that's okay.      That man

16       helped shape a lot of things that helped save me, I think,

17       in both this situation, and the overall case.

18                  But later on, with another -- again, not trying to

19       throw anybody under the bus.       But a girl that suffered with

20       some ups and downs -- and I am not saying I haven't

21       either -- but, yeah.     So I had a situation which, of course,

22       the government didn't mention the two previous police

23       reports on that.     They had mentioned, of course, the one

24       that was missing context and didn't actually go through the

25       court.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 47 of 104        47


1                   The first police report, I will briefly note, was

2        this person started tipping over my motorcycles on my

3        property and started screaming obscenities and screaming

4        that she was going to kill herself because I had asked her

5        to leave my property, and that I did not want to see her for

6        issues that I, again, will not throw her under the bus for.

7                   And when I heard that she was going to potentially

8        harm herself, I tried to hold -- you know, I held onto her

9        keys and said, no, you are not going to do this.          She said,

10       Give me my keys or else I am going to call the police.           I

11       said go ahead and call the police.        She didn't know that I

12       was recording that situation.       So when officers got there,

13       she gave them a crazy story; I just simply showed the

14       officer the video; taken care of.

15                  Second time she comes back, even though officers

16       have told her not to come there.       Again, she -- they asked

17       me, Would you like to press charges?        She came in here, she

18       damaged your stuff.     I said, No, just don't let her in here.

19                  So she -- the third time I did not have my phone.

20       She said -- and that's exactly what happened.          I was getting

21       hit in the vehicle with her; I tried to escape the

22       situation, as I try to do with abusive situations.          I

23       escaped.   And she -- of course, this time I did not have

24       video evidence to substantiate it.        In New York, it's very

25       easy to get these orders; and it was a "refrain from," not a
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 48 of 104     48


1        full "stay away."

2                     This person, despite being fearful of me, showed

3        up to my church that I had been attending for years, parked

4        her vehicle next to me -- parked in front of me.          And, also,

5        that refrain from -- oh, so this is what the prosecution

6        mentioned.

7                     They mentioned that at that church, at one of

8        those times, I had followed this ex-girlfriend.          And if they

9        actually go back and check into the police records, they

10       will see that I called the police to report that she had

11       taken my keys.    She had taken my truck keys that had been

12       missing for a while and dangled them, and said:          Stop coming

13       to this church; this church is mine.        So I said no.    I said:

14       If you leave here, I am going to call the police; that's

15       exactly what I did.     I didn't harm her.      I waited for

16       police.   They unfortunately sided with her, took me away;

17       and that was an unfortunate situation.

18                    That leads to the judge situation.      This judge

19       situation -- if I can read here, because it's kind of a --

20       kind of an embarrassing situation as well.

21                    But I recorded this conversation with

22       Ms. Halverson too, so she actually knew of this situation.

23       I asked her -- and you'll have to forgive me.          I am just

24       being honest here, so I hope that kind of goes somewhere

25       because it really looks bad.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 49 of 104     49


1                     I asked her if I should try and get in contact

2        with Judge McFadden's family so I could get a new judge.

3        She couldn't believe what she (sic) had just asked.          She

4        asked me why in the world I would do that.

5                     I explained how I once was told that if you are

6        unhappy with your judge, you can claim to know his or her

7        family or contact their family, and New York State had to

8        give you a new one.     I continued because I am wondering if

9        that law or loophole exists in D.C. like it does in

10       New York, I said to Ms. Halverson.        Ms. Halverson then said,

11       Brandon, if you did that anywhere you would get in trouble.

12       That's not true, I challenged.       I did it before, then forgot

13       about it.    And when I remembered I told the court clerk --

14       which I will mention, they said that the court clerk had

15       found out.    I told the court clerk.      I wasn't trying to hide

16       anything.    I didn't know I did anything wrong.        I previously

17       had not known.    Yeah -- and it worked, I mentioned to her.

18       I got a new judge.

19                    Ms. Halverson questioned curiously, How did the

20       conversation with the clerk go?       I answered I called because

21       I had just come across the missed court date reminder and

22       worried I would be in trouble, so I called to make sure I

23       wasn't.

24                    By the way, this judge -- very similarly, he did

25       not like that I was smiling, which -- again, I smile when I
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 50 of 104         50


1        am feeling awkward and, you know, not in a great situation,

2        and he took it the wrong way; and I was worried.          I was,

3        like, this is not good.      So that's what led to this.

4                   They said -- this clerk said that I wasn't on the

5        schedule; I did not have a court date because of COVID.            I

6        informed her of my plans to go to Florida for a few months,

7        and she wanted to be sure before I left that the Court could

8        still have -- still had a valid address and phone number to

9        reach me at.    And I am hoping that there is a recorded line

10       because I would love for the prosecution to challenge me on

11       that.

12                  When she read off the unfamiliar number, I

13       confusingly said I don't recognize that number; and she then

14       began to input my actual phone number.        But I interrupted

15       when I remembered why that number was there and who it was

16       from.   The clerk asked me why I put the judge's wife's

17       number in there.     I told her I was intimidated by the judge

18       because he seemed angry and displeased that I was smiling.

19       So I Googled his wife's number and put it in there on my

20       contact information to take advantage of what I thought was

21       a loophole that I read about online.        And I also mentioned I

22       was no longer afraid of him; and I would like to keep him

23       because I had finally gotten the video evidence that I

24       needed.

25                  She then displeasing informed me she had to give
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 51 of 104       51


1        me a new judge, and that my Florida trip would be ruined;

2        and I had to go meet him in the next few weeks.

3        Ms. Halverson then asked if I got in trouble for this.           I

4        shared I didn't go down to (sic) -- go to Florida, but I

5        didn't get in trouble.      I think they were just mad I found a

6        loophole, I said.     She responded, You most certainly did not

7        find a loophole, Brandon.      Well, then why did it work like

8        the others said it would, I challenged?         She said, I don't

9        know, Brandon, but you could have gotten arrested.          And I

10       promise you, if you do that to Judge McFadden, you will be

11       arrested.

12                   And this is towards the end.

13                   Well, I first want to research into it because it

14       seems like he hates me now, before I have even had a chance

15       to show him the facts in my case, let alone speak; to which

16       Ms. Halverson replied, no, Brandon, it is illegal; there is

17       no loophole.    I promise you it's illegal.       Promise me you

18       won't do that; to which I responded all right, I promise.

19       And I listened to her advice.       I did that.

20                   I am just making sure I am still good to just do

21       an overview, real quick -- if there is anything else

22       missing?

23                   THE COURT:   All right.    All right.    Let's come to

24       the end.

25                   THE DEFENDANT:    Thank you.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 52 of 104     52


1                    So let's see.

2                    Ms. Halverson also -- another problematic thing

3        is, according to Ms. Halverson, I am the only one facing an

4        obstruction charge in that room.       And according to her, the

5        prosecution has also made mention of this; so I think that's

6        kind of interesting.

7                    She also, kind of, shared that it probably was

8        possibly for punishment, for me speaking out at one of my

9        news interviews after arrest.

10                   Looking -- anything additional?

11                   She also mentioned if I went to trial I might be

12       facing additional enhancements which I, kind of, feel like

13       is a push to not go to trial, even though I am pretty

14       confident of it.

15                   I also want to mention the CCTV footage that I

16       have yet to receive; it's been nine months.         I think I've

17       spent a total of two hours on discovery before I was

18       arrested.    This being a huge case, I think that's kind of

19       problematic.    But I have continually asked for the CCTV

20       footage and to find that officer that I spoke to who gave me

21       the rules for the day that I had followed.

22                   And that CCTV footage has not been provided to me;

23       but, also, Ms. Halverson has said she has not yet seen the

24       officer in there.     I am totally willing to say -- I testify

25       that that is going to be shown, that there will be, before I
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 53 of 104     53


1        go -- continue on towards Jeff Merkley's office, that there

2        is an officer that I talked to who gives me directions and

3        rules to follow which I completely followed; so I am waiting

4        for that to come out.

5                     So, overall, I mean -- I think the mere fact of,

6        like, why I was here with the magistrate hearing, leading

7        all the way up to the lies at each and every hearing since

8        then, has shown that there is -- that they have, kind of,

9        maliciously done this to keep me in here.

10                    I feel like they, kind of, have -- essentially

11       have been licking their chops, like, he is going to be less

12       likely to defend his case.      I also note I did not want to go

13       pro se; I think it's a stupid decision.         I only did so

14       because I felt like I needed to get out in order to get --

15       in order to both rescue my life in many different aspects;

16       but, also, I wanted to see my family.        I also wanted to be

17       able to gather evidence for this case.

18                    This has been a very long time inside that jail.

19       As I have stated, there's been lots of ill treatment that

20       does not get dealt with -- is not dealt on the other people

21       that are not Jan 6-ers.      And I know that if they weren't

22       able to lie, I think a lot of these decisions were

23       prejudicial to me getting revoked, especially at the very

24       beginning.

25                    I would at least like the opportunity to at least
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 54 of 104       54


1        show the Court, you know, through positive reinforcement --

2        I have been in here for a couple of months.         I would like to

3        show the Court and also help build my case and show them,

4        hey, I can actually follow the rules.        And, also, I was not

5        anywhere near having a relationship with my God.          Before I

6        got in here I was, kind of, dealing with my anger and

7        unforgiveness in negative ways.

8                   I just -- I think it's unfair.        I would really,

9        really ask the Court to -- if not even today -- I would

10       actually prefer not to leave today.        I'd prefer to wait a

11       couple of weeks because we have a couple -- I don't want to

12       go into detail, but I would like to stay and help a couple

13       of other people before I leave the jail with some

14       situations.    And I would like to be able to prove myself.

15                  I think the Court -- if they wanted, and I push --

16       because I am closing here.      If my testimony, as the law

17       books read, is not really taken with as much seriousness as,

18       for instance, the government official, I would ask that, you

19       know, the government allow me, at a future time, to be able

20       to substantiate these claims with Ms. Halverson and/or allow

21       me to even get a temporary release or -- or a motion that I

22       have written -- a laptop with internet access to be able to

23       try to build up my case.

24                  I am legally blind.      I am just trying to learn

25       law; I didn't want to do this.       This is real -- I saw it as
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 55 of 104       55


1        an inhibiting factor.      I felt like my back was against the

2        wall.   I have been mistreated this entire time.

3                   And -- I mean, I could go on more, but I know

4        that -- I feel like I am testing the Court's patience.           So I

5        would like to be able to bring up more stuff at a future

6        time, but -- and especially with somebody more -- somebody

7        else besides me to substantiate these claims, if I can't do

8        these other things that I have requested.         So, I guess, for

9        now that's pretty much how I will wrap it up.

10                  THE COURT:    All right.    Ms. Halverson?

11                  I'm sorry.    Ms. Furst.

12                  All right.    We'll take a two-minute break.

13                  Step down with the marshal, sir.

14                  (Whereupon, a recess was taken.)

15                  THE COURT:    All right.    Mr. Fellows, if you could

16       re-take the stand and answer Ms. Furst's questions.

17                               CROSS-EXAMINATION

18       BY MS. FURST:

19       Q.   So, Mr. Fellows, what you are doing is explaining all of

20       the things that probation cited against you in their

21       petitions to revoke your release; is that correct?

22       A.   I do not believe I was able to cite all of it because I

23       felt some tension with -- perhaps, like testing the Court's

24       patience; but, I'd say, yeah, mostly, that was my goal.

25       Q.   And you admitted that you didn't call in when you should
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 56 of 104         56


1        have all the time, correct?

2        A.   Correct.

3        Q.   You admitted that you missed some drug tests, correct?

4        A.   No.    That was incorrect.

5        Q.   You admitted that you did put down the New York judge's

6        wife's number on the paperwork because you wanted to get rid

7        of that judge, correct?

8        A.   Yes.   I did not have any intention, though, to break any

9        laws; I thought it was a loophole.

10       Q.   But you did it, correct?

11       A.   Yes.

12       Q.   And that's the same reason you Googled Kendra Rennie's

13       number --

14       A.   100 percent --

15       Q.   -- her family member; isn't that correct?

16       A.   Absolutely not.      And you guys should know that.         You

17       guys --

18                    MS. FURST:    Judge, could you direct the witness

19       just to answer the question?

20                    THE COURT:    Yes.   If you could -- you had an

21       opportunity to testify, sir.       If you could answer

22       Ms. Furst's questions.

23       BY MS. FURST:

24       Q.   So you Googled Kendra Rennie's name rather than calling

25       the probation office, correct?       Yes or no?
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 57 of 104     57


1                    THE DEFENDANT:    Judge.

2        A.   Repeat the question, please.

3        Q.   You Googled Kendra Rennie's name rather than calling the

4        probation office; yes or no?

5        A.   Yes.   Because --

6        Q.   Yes or no?

7        A.   Because there were problems with my phone, and you

8        guys --

9        Q.   You had been in contact with Ms. Rennie earlier that

10       day, correct?

11       A.   Yes.   But, again, you're missing very large context.

12                   THE COURT:   All right.    You had an opportunity to

13       present that; now it's her turn to ask the questions.

14                   THE DEFENDANT:    I'm sorry, Judge.     I just don't

15       like the games.

16       BY MS. FURST:

17       Q.   And up until June 15th you were on release, correct?

18       A.   Yes.

19       Q.   You had different conditions; but you were able to go

20       about living your life, going to work, following nutrition,

21       and the other things you like to do, correct?

22       A.   Incorrect.

23       Q.   You were arrested on June 15th; is that right?

24       A.   Yes, ma'am.

25       Q.   And you were here for the third revocation hearing
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 58 of 104   58


1        because you canceled your mental health evaluation, correct?

2        A.   Yes, ma'am, and rescheduled.

3        Q.   And Ms. Rennie learned about it only when she called you

4        about your work schedule, correct?

5        A.   Give me a moment to think, please.

6                   I am not exactly sure on that.

7                   I feel like it's a "no."       I don't know.

8        Q.   You did not cancel the mental health evaluation and then

9        call her immediately, did you?

10       A.   Not immediately, no.

11       Q.   You did not call her at all about it, did you?

12       A.   As I stated, I don't know.

13                  I am erring more towards the side of "I think so,"

14       but I am not sure.

15       Q.   And you decided that going to work was more important

16       than going to the mental health evaluation, correct?

17       A.   No, ma'am.

18       Q.   You told Ms. Rennie that you didn't sleep well because

19       of the storms the night before; is that correct?

20       A.   No, ma'am; that was a partial reason.

21       Q.   That was a partial reason.      So she did not lie to the

22       Court when she said you told her the storms disrupted your

23       sleep, did she?

24       A.   Missing large amounts of context would be, by

25       definition, lying.     Lying by omission.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 59 of 104     59


1        Q.   All right.    Why didn't you Google -- I'm sorry.

2                      Why didn't you call Ms. Rennie at the probation

3        office?

4        A.   Why didn't I?

5        Q.   Uh-hmm.    On June 14th.

6        A.   I have tried many times to contact Ms. Rennie, as

7        you-all -- this Court will note.       I had many voicemails with

8        the -- when I tried to call.       Call the office, she's almost

9        never picked up.     I tried to contact her cell phone number.

10                     As stated, though, I didn't have her number on

11       there; I had only had received calls for the day which, I

12       guess, then would also answer your last question which was,

13       I didn't contact her on my own just yet.

14       Q.   Right.    You didn't call her -- you didn't email her; you

15       didn't tell her you canceled the appointment, correct?

16       A.   Correct.    Now that my memory has come back, yes.

17       Q.   All right.    And the reason your bond was revoked was

18       because you did not go to the mental health evaluation,

19       correct?

20       A.   One of the reasons, yes; I do believe that's the reason.

21       Q.   And the other reason that the government alleged was

22       that you were a danger to the community because of all of

23       your activities leading up to that day, on June 15th?

24       A.   If I remember the exact quote that this judge -- this

25       Court had stated -- it was that he did not find beyond a
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 60 of 104       60


1        reasonable doubt -- or by clear and convincing evidence that

2        I was a danger to society; but that I was headstrong,

3        impulsive, and going to do what you are going to do.             I

4        believe that is almost a direct quote.

5        Q.    From the judge?

6        A.    Yes, ma'am.

7        Q.    But that wasn't the allegation, was it?

8        A.    The al- -- I am confused by your question.

9        Q.    Are you aware that probation wrote a report asking the

10       judge to issue a warrant?

11       A.    Yes.   I was made aware of that.

12       Q.    Did you see that report?

13       A.    It's been a while ago; but I think it was shared with

14       me.   I don't know about physically, but it was shared with

15       me.

16       Q.    And the allegations including canceling the appointment

17       was also that you were a danger, correct?

18       A.    From them, yes.

19       Q.    All right.    You said that you had advice of counsel

20       early on when FBI was trying to find you in the very

21       beginning, correct?

22       A.    Yes, ma'am.

23       Q.    Do you remember that attorney's name?

24       A.    I don't.   But I have friends, and Ms. Halverson has a

25       video of that conversation that happened while I was with a
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 61 of 104         61


1        French media crew.      I know he is from New York; he calls

2        himself a constitutional lawyer; and he said he also has a

3        radio show.

4        Q.   So you were talking to the attorney while being filmed

5        by a French crew?

6        A.   No.   They -- my two friends were there, which I won't

7        mention their names -- but my two friends were there.            And

8        they were interrupting to bring me the news of what was

9        going on and what this man was sharing; and that's how I got

10       the news, while there were things to do.         Also, prior to

11       showing up to the hotel I had been given instructions by him

12       as well.

13       Q.   Had you hired this attorney?

14       A.   No.   I had not.

15       Q.   All right.    So he was not your attorney, you were not

16       his client?

17       A.   No.   But he did say, I give you -- I would follow this

18       advice, here's my credentials; and I believed him.

19       Q.   You mentioned earlier in your testimony you talked to

20       somebody named "Zach" who had knocked out a window during

21       the Capitol riot; is that correct?

22       A.   Yes, ma'am.

23       Q.   Who is "Zach"?

24       A.   I don't know his last name, but he was brought to us for

25       only a small period because, unfortunately, some people in
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 62 of 104       62


1        the pod -- I don't want to say anything negative; but they

2        let their -- their, kind of, hatred sometimes for Antifa to

3        get the best of them; but, overall, he got along well with

4        the pod, and especially with me.       He seemed like he at least

5        was coming around to being, you know, welcomed, and treated

6        very well.

7        Q.   So Zach was someone who had been arrested --

8        A.   Yes, ma'am.    I believe he --

9        Q.   -- for the Capitol riot; is that correct?

10       A.   Yes, ma'am.

11       Q.   He told you he was an Antifa member --

12       A.   Yes, ma'am.

13       Q.   -- is that correct?

14       A.   Yes, ma'am.

15       Q.   Now, you mentioned a "Tighe Barry."        Is that the person

16       who had a 12-year history?

17       A.   According to the appeal that I read, it was either 11 or

18       12 years, Tighe Barry, B-A-R-R-Y, out of the District of

19       Columbia; under Code Pink, if you use that as a citation.

20       Q.   What is his first name?      Spell it.

21       A.   Very tough, T-I -- I am going to guess, T-I-G-E-T-H-E

22       (sic).   It was a case that originally happened in 2018 with

23       the Brett Kavanaugh hearings.       And Judge Meriweather -- I

24       believe I am saying that properly -- Meriweather ruled on

25       the plea deal about November; I believe it was November 19th
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 63 of 104    63


1        of 2019.

2        Q.   So let me get this straight.      Was this Tighe Barry a

3        person charged with anything to do with the Capitol riots?

4        A.   Not from January 6, but he was at the Capitol.

5        Q.   He interrupted Brett Kavanaugh's session when they were

6        talking to him and trying to confirm him?

7        A.   Yes, ma'am.

8        Q.   Okay.   I just wanted to get that straight.

9                     You also said that you are not a "druggy," and:     I

10       didn't bring anything into the Capitol; is that correct?

11       A.   Yes, ma'am.

12       Q.   But you are aware that you admitted, on numerous

13       occasions, to CNN and other news outlets, that you smoked

14       marijuana in Senator Merkley's office?

15       A.   I believe it was marijuana that I did smoke.

16       Q.   And you admitted that you went into the Capitol?

17       A.   Yes, ma'am.

18       Q.   And now you tell us, for the first time, there was an

19       officer who gave you the rules of the day?

20       A.   I was sharing this with Ms. Halverson for a long time.

21       Q.   Well, why don't you share some more about that with us.

22       Who was this officer?

23                    THE DEFENDANT:   Judge, I would like to just ask a

24       question.

25                    From my understanding of -- my limited
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 64 of 104   64


1        understanding of reading the law books, it would seem as

2        if -- I guess this would be construed as an objection.

3                    I think, from what I have read, that she's only

4        able to ask me direct things that I have examined or given

5        testimony to.    And seeing as how I didn't comment on those

6        things, I would like to save them for trial.

7                    I would like to hear what your response is.

8                    THE COURT:   Denied.

9                    You brought it up; it's fair game.

10                   THE DEFENDANT:    Okay.

11                   THE COURT:   You need to answer her question.

12                   THE DEFENDANT:    Would you please repeat the

13       question?

14       BY MS. FURST:

15       Q.   You are telling us today -- or at least the prosecution

16       and the Court are learning that there was an officer that

17       talked with you and gave you the rules of the day when you

18       went into the Capitol; is that what you said?

19       A.   Yes, ma'am.

20       Q.   Where was this officer when you spoke with him?

21       A.   About, probably, 50 feet inside past the window that I

22       had entered through.     And he was -- yet I noticed him right

23       as the crowd began opening up.        And then I was a little

24       suspicious that we were now seemingly being allowed to

25       continue our march inside.      And I did not want to get in
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 65 of 104         65


1        trouble, so I asked the officer, Hey, am I going to get in

2        trouble by going this way?      He stated no, as long as you

3        don't break anything, steal anything, go into any areas that

4        are being guarded by police, and you stop at the statues.

5                     And, I'm sorry, follow curfew.

6        Q.   Follow what?

7        A.   The curfew; the 6:00 p.m. curfew that was given.

8        Q.   This officer said there would be no trouble if you did

9        what again?

10       A.   That -- not in order.     But follow the 6 p.m. curfew.          Do

11       not attack anybody or steal anything, break anything.            Do

12       not go -- you can go as far as the statues; and don't go

13       into any areas that any officers are guarding.

14       Q.   Did you approach this officer or did this officer

15       approach you?

16       A.   I verbally got his attention.       My attention was directed

17       towards him in CCTV footage when it actually does show --

18       should show an officer, kind of, turn and address me as I am

19       asking him questions.      This was shortly after I was on a

20       broken desk -- I believe it was a broken desk -- waving a

21       flag.

22       Q.   Okay.    Let me back up because you are confusing me.

23                    You came in through -- the Capitol through a

24       broken window, correct?

25       A.   Yes, ma'am.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 66 of 104      66


1        Q.     There were several officers in the area, correct?

2        A.     Yes.   I believe making a "U" opposite from my view.

3        Q.     All right.   Put us at the scene.

4                      You come in the window.    Where is the officer; to

5        your left, ahead of you, to the right?

6        A.     I didn't -- I didn't pay attention.      I had been up for

7        about 48 hours at that time, but -- so I had my contacts

8        off.

9                      But I can kind of, right now -- as I can see you,

10       I can make out, kind of, who you are in comparison to the

11       other people in the room.       I can make out the officers and I

12       can make out the protesters.       I did not specifically look

13       for him or keep an eye on him.       It was just -- he happened

14       to -- when I saw a change in the environment, I happened to

15       look upon him and ask his advice so, that way, I would not

16       get in trouble.     Because it seemed as if we could go in this

17       area and would not get in trouble, despite that it was from

18       a window.

19       Q.     All right.   So the area that you came into was a small

20       area, correct?

21       A.     I would say it was probably -- I think it's probably

22       similar to the size of this room.

23       Q.     There were hundreds of people there, correct?

24       A.     I would -- I think so.    Yes.   I think it was probably a

25       couple hundred people.      Maybe under a hundred people, maybe
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 67 of 104       67


1        80.

2        Q.     So that area that you came into is where you talked with

3        this police officer?

4        A.     Yes, ma'am.

5        Q.     But you don't remember where in that area this officer

6        was?

7        A.     No.    On the CCTV footage that I have yet to see, I will

8        enter.       I stand -- because I was a little suspicious about

9        what was going on.      I still was uneasy; like, this is very

10       weird that they have let us in here, and they are not doing

11       anything.      But, you know, I wanted to witness history, and I

12       wanted to know what was going on; I did not trust the fake

13       news.

14                      So I wanted to show the crowd -- in case there had

15       been some violent people in the crowd, I wanted to step on

16       top of the desk and show them, at the very least, Hey, I am

17       not one of those people; I am waving a flag, that's all I'm

18       doing.       And kind of near a corner in case anything did

19       happen so I could either back away or make a beeline for the

20       window.

21       Q.     Is that the desk that was, sort of, up against the wall

22       opposite the door?

23       A.     I don't believe it was up against anything.       I believe

24       it was probably within ten feet of a wall.

25       Q.     It was broken down?
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 68 of 104     68


1        A.   Yes.    Yes.

2        Q.   As if someone had broken it or crushed it?

3        A.   Pushed it over, yeah.

4        Q.   Okay.   So it's on the floor, and you stood on that desk?

5        A.   Yes.    I wanted the cops to be sure that I was not --

6        one, if there were going to be any people trying to attack

7        police, I wanted them to know I am just waving my flag, so...

8        Q.   And that's when you talked with the officer?

9        A.   Shortly after.    So, to my memory, I was waving the flag

10       keeping consistent eye contact.       Again, this has been

11       months; so let it be tested when the CCTV footage comes out

12       that I have yet to see.

13                    But, to my memory, I was trying to maintain a

14       consistent eye contact and body focus; like, if this were

15       the desk that I was on and that were the window, I was

16       trying to maintain constant eye contact, also keeping in

17       mind there is a corner that I can try and lean back --

18       Q.   Where was the officer?     I don't care about the rest.

19       A.   Okay.   So looking at this, all of a sudden I realized

20       now there is no longer a police presence here.          It seems

21       like people are calmly walking down this way.          I was

22       confused.

23                    I turned, probably, to around where Judge McFadden

24       is, or maybe to right around in this location (gesturing),

25       and I began speaking to him.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 69 of 104   69


1        Q.   So to your left?

2        A.   Yes, ma'am.

3        Q.   And then, after you spoke with him, you went down the

4        hall, and you went into Senator Merkley's office?

5        A.   Yes, ma'am.

6                   It was already open.      It was not -- he said that I

7        could go -- don't go anywhere that anyone is guarding,

8        don't -- and I followed all the rules.

9        Q.   So who told you you could climb in a broken window?

10       A.   That was the crowd.

11                  And, according to Ms. Halverson, she's looked

12       currently -- and she said that it looks as if I go directly

13       in without pausing.     And despite her claims, I know that a

14       longer video clip and a zoomed-in version will show --

15       because I remember vividly, I was not going to go in unless

16       I felt it was safe, and I wasn't going to get in trouble.

17       Q.   That wasn't my question.

18                  What Capitol police officer or police officer told

19       you it was okay to climb in a broken window?

20       A.   At first it wasn't a police officer --

21       Q.   What officer told you it was okay to climb in a broken

22       window?

23       A.   I would say the groups over -- the police officers, when

24       I did see them, when I had approached and I had been enticed

25       to take a closer look by the crowd, that officers, as a
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 70 of 104       70


1        whole -- their actions were very different than what I had

2        seen prior to a couple of actual violent people trying to

3        cause a problem, and they quickly got what they were, kind

4        of, pursuing.

5        Q.   So you are saying because the officers didn't come up to

6        you and become violent, you thought it was okay to go into a

7        broken window at the Capitol?

8        A.   Yes.   It seemed like -- yes.     It seemed like it was very

9        similar to what I had witnessed with all of the other

10       protests at the Capitol that I have seen.

11       Q.   And you had seen violence earlier, correct?

12       A.   Yes, ma'am.    From a few select people, yes.

13       Q.   And you saw people climbing up the building and knocking

14       down barriers, correct?

15       A.   I never saw barriers.     It was actually a surprise to me

16       there were any barriers when I later watched the news.

17                   MS. FURST:   Okay.

18                   Your Honor, may I have a minute?

19                   THE COURT:   You may.

20       BY MS. FURST:

21       Q.   Just to make it clear, you understand the reason you

22       were revoked -- and you agree -- that you did not go to the

23       mental health evaluation?

24       A.   Could you repeat the question?       I'm sorry.    I'm sorry.

25       Q.   You understand the reason you were revoked was because
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 71 of 104    71


1        you canceled your mental health hearing, correct?

2        A.   I believe that was one of the reasons.

3        Q.   And that the Court found that you would not obey the

4        conditions of release were you to be released?

5        A.   That was the Court's conclusion.

6                     MS. FURST:   Your Honor, that's all I have.

7                     THE COURT:   All right.   Mr. Fellows, you have an

8        opportunity to present any evidence to rebut now that

9        cross-examination.

10                                     REDIRECT

11                    THE DEFENDANT:   I unfortunately don't have

12       discovery.    And, unfortunately, not being able to call up a

13       witness to some of my claims, like Ms. Halverson, I think I

14       am very limited.

15                    I would like the opportunity to do that in the

16       future, and especially start to accelerate the discovery

17       process as this Court did mention on the 7th -- I think it

18       was the 5th --

19                    THE COURT:   Sir, right now, this is your

20       opportunity to testify.

21                    Do you have any testimony that you want to --

22       anything else you want me to know?

23                    THE DEFENDANT:   Yes.

24                    So I would just like to note that I was in the

25       crowd that day.     They started screaming:      They're letting us
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 72 of 104    72


1        in, they're letting us in; that is what drew my attention to

2        the window.

3                   I started -- and the video will show I am going to

4        be poking my head in -- and when it does come out

5        unedited -- and I am going to be checking it out, looking

6        around, trying to see if what these people were claiming is

7        true; because that's definitely not what they were

8        claiming -- the select, I'd say, five people that I had

9        previously seen open up a door and go in.         They did not have

10       a fun time.    And I felt like they had -- they had learned

11       their lesson; they stayed out.

12                  Over here, though, it seemed like the police

13       were -- you know, everybody knows most police officers tend

14       to side with the -- I consider the, kind of, support of law

15       and order that Trump initiated versus, you know, what the

16       Biden administration seemingly was pushing, which was defund

17       police.   So it seemed like these police officers, kind of --

18       you know, kind of, sympathized with us and also said, hey,

19       we understand there is this man that -- you know, to my

20       knowledge also, I will note I wasn't there to obstruct a

21       proceeding.

22                  The crowd had previously note -- had mentioned on

23       loudspeakers:    Mike Pence certified the election; that is

24       shown on my TikTok video that I -- as I'm walking through;

25       commenting, yeah, he already did it.        So I am not -- I am
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 73 of 104         73


1        not freaking out -- even though I am upset about it, I am

2        not freaking out about it.

3                     I am just in there seemingly at, you know, a

4        welcomed temporary invite by police.        I followed the rules.

5        And you will also see on the TikTok, which the government

6        has seen, I am on my way out even; I was thanking the police

7        officers, wishing them a good day, joking with them.             And

8        outside I took photos with them.       I didn't attack them.

9                     I even -- Ms. Halverson has noted, too, there is a

10       video inside of Mr. Merkley's office.        I spoke against a man

11       trying to steal a painting on the Senate impeachment trial

12       of Donald Trump which I was partially featured on.          There is

13       a man who I had never heard of named "Baked Alaska."

14                    MS. FURST:   Your Honor, if I might object; this is

15       beyond the scope.

16                    THE COURT:   I agree.

17                    Anything else you want to say relating to her

18       cross-examination?

19                    THE DEFENDANT:   Yes.   Just time and time again,

20       probation and the attorneys have tried to subject the full

21       context truth, which is very much needed, through their

22       constant revocation hearings never presenting the truth; it

23       was a recurring theme, it wasn't an accident.

24                    Especially the biggest one being the very

25       beginning.    They had to feel like they didn't have a strong
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 74 of 104           74


1        case in which they lied and/or didn't find -- and/or didn't

2        find that the truth which was -- that I didn't ditch my

3        vehicle, run on foot, and try to hide my phone.          I also

4        didn't destroy any evidence; I kept it.         I openly talked to

5        media because I had felt like I didn't --

6                     THE COURT:   Sir, this sounds like argument.         I am

7        going to give you that opportunity.

8                     Do you have any more testimony you want to make,

9        any facts?

10                    THE DEFENDANT:   Testimony, sorry.

11                    Could I have, like the prosecution had, two

12       minutes?   Is that okay?

13                    THE COURT:   Yes.

14                    THE DEFENDANT:   Thank you.    Sorry.   I am not good

15       with disorganization -- with my plans.

16                    I feel slightly awkward doing this because I don't

17       feel like necessarily hurting people's feelings that I am

18       uncertain of -- uncertain of that had potentially may have

19       been supportive of me.      But I do think that upon reading --

20       I read that raising a claim of ineffective assistance of

21       counsel -- not for me, but prior to this situation -- all of

22       the times that false testimony was allowed through, all of

23       the times that the full context wasn't shown, the videos

24       even showing that I only listened to someone else's

25       advice -- I think that that was prejudicial to me, time and
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 75 of 104         75


1        time again.

2                   I think if the truth was issued I would have had

3        less restrictions, less to be upset about; and I'd prefer

4        to, like, kind of raise that issue at a later time.

5                   But I would like to not -- I understand that the

6        Court has made its decision in the past, as the prosecution

7        has noted; but I have been very well behaved at jail --

8                   THE COURT:    This sounds like argument, which is

9        just fine because I am going to give you ten minutes.            You

10       can tell me anything you want.        This is how we're doing

11       this, Mr. Fellows.

12                  We are not continuing this on for days.

13                  THE DEFENDANT:     Yes.

14                  THE COURT:    You can have ten minutes to argue to

15       me -- you can say anything you want -- for why I should

16       reconsider my bond termination.

17                  Ms. Furst will then have five minutes, which is

18       not fair to her; but that's what we're going to do; and you

19       will have five minutes to respond to her.

20                  THE DEFENDANT:     Okay.

21                  THE COURT:    Your time starts now.

22                  THE DEFENDANT:     Okay.

23                  I would like to offer -- testify that, again, my

24       phone -- that's an argument.

25                  THE COURT:    Go ahead.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 76 of 104       76


1                    What do you want to tell me?

2                    THE DEFENDANT:    Okay.   That phone, again, was --

3        and I think that was a clear example, as the prosecution was

4        trying to just get me to answer something partially; I feel

5        like that's been a consistent theme, is that they don't want

6        me giving the full truth.      And I have been trying to push

7        everybody to tell the full truth about these situations.

8                    I haven't been afraid of the full truth.        I have

9        tried to push it, if that can be seen by me going to the

10       media.   I personally -- you know, I didn't do anything

11       violent, and I am being tried without bond.

12                   These -- if this was such a strong case, I don't

13       understand why they would have had to make all of these

14       false claims, such as -- even now, you know, oh, you missed

15       a drug appointment.     No, I didn't.     I never failed a drug

16       appointment.    I was late and written up for it two times.

17                   This is new.    The lawyer -- what is it -- the

18       blond supervisor whose name I am forgetting at the probation

19       office -- also alleged, through her testimony at the third

20       revocation hearing, that she had to try to talk me out of

21       coming in with a key knife.       I didn't pay any attention to

22       the fact that I have had a key knife; it's what I use for

23       work.    I just had made a comment that, oh, you guys kind of

24       missed that the last couple of times.        I was like -- so I

25       went out to go bring it out.       The mere fact that they tried
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 77 of 104           77


1        to make a situation out of that is unfortunate.

2                   I will also note that I have a weird sense of very

3        politically incorrect comedy/coping mechanisms, as I have

4        stated; that the phone calls that this Court, if I remember

5        correctly, said found to be disturbing -- the two of them --

6        one of the "roasted red pepper" comments to the blond

7        supervisor, which -- I like nutrition facts -- and the other

8        one to Ms. Rennie.

9                   In my view, they said -- along with the fake news,

10       they said I was trying to allude to my performance; I wasn't

11       doing that.    I was just alluding to the fact that, you know,

12       that they were going to essentially see what they already

13       see, which was my -- have already seen, which was my way of

14       coping.   Like, I am unhappy that I have to do this.         I am

15       also unhappy that I forgot my mask, and you guys are trying

16       to tell me to go home 40 minutes this way, 40 minutes back,

17       when Ms. Rennie is not allowing me to market my business

18       after all of the stuff I've suffered.

19                  I mean, I didn't attack anybody.        I didn't bring

20       any weapons inside.     I didn't -- I was very -- you know, I

21       was kind to police; I stopped crimes from happening.             I did

22       not run from police, according -- despite their claims.

23                  And I -- oh, this is big.       Every time -- every

24       third revocation, Ms. Halverson said:        You are probably

25       going to be revoked; you are probably going to be arrested.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 78 of 104         78


1        And yet, despite low funds, I came down here, time and time

2        again -- and with my own money, and I showed up expecting to

3        be taken away.    It happened again on the second time.          And

4        the third time she said:      You are really going to go; you

5        are probably going to get revoked.        I didn't run.    I never

6        ran.    I've always shown up, even when I thought I was

7        revoked.   I am not a flight risk -- 100 percent not a flight

8        risk, and definitely not a danger.

9                     If anything, after all of this abuse, and I never

10       retaliated -- I never -- even in that day where you could

11       argue we numerously outnumbered police, I did not agree to

12       that.   Even with -- there was a person that started getting

13       attacked on the Capitol grounds for -- a man that started

14       calling him Antifa.     I stopped the attack, and I told him

15       please run.

16                    They are going to allege that I tried climbing up

17       a wall, and I was helping people do that.         Well, there was

18       an incident in England that I recall studying about, years

19       ago at -- I believe it was a soccer game; and the crowd got

20       too packed.    And that staircase, which was ten feet or so

21       right next to the wall -- it's not like you are climbing a

22       wall that would have never able to be climbed, you just go

23       over to the right; but it looked very dangerous to climb up

24       that wall.    I thought it would be helpful to get up there.

25       I saw no trespassing signs.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 79 of 104          79


1                    In Albany, New York, you are able to go -- where I

2        am from, you are able to go on the Capitol grounds at any

3        time; it's a beautiful building.       Just like this -- I was

4        amazed at the beauty of this building.        I have never been

5        here.    I saw no trespassing signs, no barriers.        It was my

6        surprise -- and the second I left, I shared with -- I didn't

7        know it was CNN; but I shared with CNN who I was because I

8        didn't think there was anything that I had really done

9        wrong.

10                   Later on -- I agree I am impulsive; but I never

11       was intending to do any harm.       I didn't do that.     Even if

12       we're in a power position.      So let alone, when I am not in a

13       power position, when that incident -- I believe it was the

14       Chrestman factors that chief -- I think it was Chief Judge

15       Howell cited that -- something along -- alluding to:             Is

16       this likely to happen again?       This -- even when it happened

17       I was not a violent person.

18                   To my knowledge, I am a person with the least

19       amount of charges being held, and I understand why; but it

20       wasn't a truthful way that led me there.

21                   The Court now has a better idea of the actual

22       truths that led me there.      And even I have read some intense

23       cases of people using baseball bats against police, unlike

24       me -- I have read -- at this exact Capitol Building.             I've

25       read about people planning and causing -- I think it was
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 80 of 104        80


1        Jackson or Taylor -- these people are -- were very intense

2        in their day.    They had very intense planning; I didn't have

3        any of that.    So I will just -- yeah, I guess I will state

4        that.

5                   I would like an opportunity to at least show the

6        Court that I can actually follow some sort of guidelines.            I

7        think it's very important to be able to help prepare for my

8        case especially -- especially right now; I would like an

9        opportunity at least.

10                  THE COURT:    All right.    Thank you, sir.

11                  THE DEFENDANT:     Thank you.    Should I --

12                  THE COURT:    Ms. Furst.

13                  I think it's best for you to just stay there.         I

14       will give you the opportunity to have the last word after I

15       hear from Ms. Furst.

16                  MS. FURST:    Your Honor, first of all, as the Court

17       noted, under the statutes and the law, he was not -- this

18       defendant was not entitled to have his detention hearing

19       reopened; however, I understand why you did that.          You gave

20       him the opportunity to testify.       And what he has shown this

21       Court is that he needs to remain in custody.

22                  Although you did not find him a danger before,

23       Your Honor, I submit by his own words he has shown himself a

24       danger.   He has shown that he is the victim.        Everybody else

25       is wrong, and he is the only person who really understands
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 81 of 104        81


1        what is going on.

2                     The women that he harassed, it was all their

3        fault.   He didn't like the judge in New York, so he tried to

4        get rid of that judge in New York by contacting or using the

5        judge's wife's phone number in order to try to get rid of

6        the judge.    He tried to do the same thing, Your Honor, with

7        Ms. Rennie.    He denies it; but, Your Honor, it's a clear

8        pattern.

9                     And Your Honor, he tried -- he didn't do it with

10       you, but he tried thinking about it -- to contact your

11       family because he didn't want you on the case.          If we get a

12       new judge, then he has another chance.        And this is a

13       consistent pattern that shows dangerousness, Your Honor.

14                    There is nothing new that's been presented here

15       other than assuring the Court that the defendant believes he

16       is not a criminal; everyone is lying about what he did, and

17       that he will be exonerated.       None of those are reasons to

18       let this man out of detention.       He needs to remain in

19       detention, and I ask the Court to continue detention.

20                    THE COURT:   Thank you, Ms. Furst.

21                    Mr. Fellows, you have the last word.

22                    THE DEFENDANT:   Thank you.    Thank you.

23                    I have read lots of -- you know, I say lots -- it

24       would probably be laughable to the lawyers in the room; but

25       I have read lots of cases in which people -- especially even
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 82 of 104       82


1        in this case, let alone out in the real world -- are

2        released.    And I do not find -- I am not the judge; but I

3        have read it has to be -- I think it was by clear and

4        convincing evidence.

5                    Considering all of the cases that I have read,

6        especially in this case, I don't find me making calls that

7        are debatable about, hey, what were the intentions?          It's

8        not 100 percent that my intentions were to harass the -- or,

9        as they claimed, sexually harass these people.          I had -- I

10       don't mean to insult them, I just have no interest in them.

11       I was upset with them.      I don't like people that treat me

12       negatively, and so I didn't intend for that.

13                   Now, I have shown that I am not afraid of sharing

14       the truth even if it damages me because I am hoping that

15       that shows I do take ownership that, hey, I have done this.

16       I am not trying to hide the fact that I have done things

17       that damage me, such as what I did with the Court.          I

18       offered it as a form of context to understand that I am --

19       I, unfortunately, am not only impulsive, but I trust things

20       a little too much -- trust people a little too much.

21                   So as I, for instance, thought there was a

22       loophole, I thought that that would be a good way -- not to

23       actually injure them.      And, again, I brought it up.      I

24       didn't try to intimidate them.       And I even requested -- if

25       you find the record, you will see I requested to keep him.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 83 of 104          83


1        I was just worried.     When I am worried I don't really make

2        the most understandable decisions; but I never make

3        purposefully illegal decisions.

4                   I am not a danger.      I have shown up to this court

5        every time.    At any point in time, as people said at the

6        third revocation hearing, I could have cut off an ankle

7        bracelet and gone running around and been a nuisance to

8        society, as many people are with our crime rates right now;

9        and yet I have never had that.       That's a 27 -- as of

10       yesterday, a 27 and 1/2 year record of not doing that.            365

11       times 27.5, whatever that number is -- zero days of doing

12       these things; that shows the record.        This is not a repeat

13       offense; this is not a violent offense.

14                  This is -- also, I have read that people's

15       disabilities should be taken into account, which I am trying

16       to get the information for that to be presented here.            And

17       so I was on the 504 plan for a while, which is a slow

18       learning situation.     Despite my successes, I am a slow

19       learner in things, especially in social situations -- which

20       a lot of these are brand new social situations that I have

21       never encountered before, and especially with such -- I

22       consider voracious intensity.       And yet I had a path of

23       growth; it was not getting worse.        It was not alluding to --

24       I was going to be -- like, it was about to snap.          I was

25       following more and more intense rules as it went on, calling
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 84 of 104        84


1        more frequently.

2                   Never passed -- sorry always passing a drug test.

3        I showed up.    I am not fighting people in the jail.        I have

4        been peaceful to even the people before I was in there that

5        were offering to stab me.      I've prayed with people in there.

6        I have tried to help people in there, just as I did

7        January 6th.

8                   I had no idea some of the intense stuff was going

9        on; it was my surprise when I got back that day.          And,

10       yes -- but what I am not saying is that I am not claiming

11       responsibility for showing up.       What I am claiming is it's

12       entrapment by estoppel.      And I am not angry at these police

13       for it; I don't think they intended -- personally, I don't

14       think they intended for this.       I think perhaps -- I don't

15       know what was going through their heads.

16                  But I have seen some of the records; it seems like

17       some of them had been told to do these things, and I was

18       unaware of the situation.      I didn't see trespassing signs.

19       People also said, "It's our house" -- not just in chants,

20       but, hey, it's the people's house.        Knowing the Declaration

21       of Independence, I had wondered, Am I seeing something

22       historic here?    I wanted to witness it.

23                  I was not going to be a violent partaker in it

24       because, even when I am not close to God -- which I am close

25       to God now; but even when I am not close to God, I am not
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 85 of 104        85


1        going to injure people over my beliefs, and I didn't do it

2        that day.    There are so many people that do do violent

3        things that are always released -- if not held in jail and

4        then released.    I have been in jail for a long time.           I have

5        gone nine months -- where Tighe Barry actually did violent

6        things with a continuous history with the same judge -- the

7        same magistrate judge; and he was given six days of time

8        served for three other incidents -- that incident, and two

9        other incidents; and time served for, I believe, his 12

10       total hours.    So he didn't spend six days in jail.

11                   I have had my life ruined because of this,

12       entirely ruined.     And I am just looking to prove to the

13       Court that, you know, I can at least make a showing of, hey,

14       there is growth here.      I think -- I didn't show that -- I am

15       almost done.    I'm sorry.

16                   I didn't show that I was getting worse and worse,

17       as I stated.    And, you know, I can't show the Court that I

18       am trustworthy if I don't get given a chance, you know.

19       When I was a kid, you get sent to timeout -- not forever;

20       you eventually get a chance to go out.        That's really all I

21       am seeking.

22                   If it's instance -- I prefer it not to be intense.

23       But if it's intense, you will see me following it just as I

24       was towards the end.     I didn't purposefully -- to end this,

25       I purposefully did not miss that therapy session.
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 86 of 104       86


1        Ms. Rennie said she didn't expect me to show up.          But

2        Ms. Halverson would attest -- if she would have come to the

3        stand, she would have attested that this was the first time

4        that I ever signed something away and agreed to something

5        and didn't call her to complain about it -- a new

6        restriction.    Because I have always wanted therapy to deal

7        with the abuse of many people that have dealt with me, but I

8        either was too busy or couldn't pay for it; I was looking

9        forward to it.

10                  I didn't even pay attention to the lines below

11       that Ms. Halverson had a problem with which was speech

12       issues, and I still agreed to it.        And I didn't swear --

13       ever since signing that, even though Ms. Halverson didn't

14       sign it, I was looking forward to it; and I didn't get a

15       second chance to do it.      I called in sick.     And I still --

16       it wasn't work was more important, it was also on schedule,

17       and it was also another court requirement.         I had just been

18       allowed to finally work as I normally do.

19                  So I think that's all I have to say right now.

20                  THE COURT:    All right.    Thank you, sir.

21                  You may go back to your seat.

22                  THE DEFENDANT:     Thank you.

23                  THE COURT:    All right.    I have considered the

24       motion from defense to reopen the bond determination.

25                  I have considered the testimony from Mr. Fellows,
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 87 of 104      87


1        and arguments from him and the government.

2                    I have allowed him to testify.       I don't think he

3        was entitled to do so; but given his stated desire before to

4        testify, I did allow him to do that.        I am not going to

5        allow him to introduce further evidence.         This was what he

6        had been seeking originally.       And having considered his

7        evidence and arguments from him and the government, I am

8        denying the motion to reconsider.

9                    I think -- you know, Mr. Fellows, I gave you

10       chances.   Like I said, I have never given somebody three

11       chances -- three motions for revocation.         You got chance

12       after chance.    I understand how you may not have gotten

13       along with your various probation officers.         I understand

14       that, you know, some of the conditions might have felt

15       unfair.    I understand that it would have been a lot nicer if

16       you were getting positive reinforcement, not negative

17       reinforcement; but you are charged with a federal felony.

18                   This is not some sort of community college or --

19       you know, where we give people pats on the back.          You are

20       facing very serious charges.       I'd say most people in this

21       court who face federal felonies are in custody pending

22       trial, but not everybody.

23                   And, you know, you bring up the January 6th cases.

24       There are -- I have not automatically held everybody who are

25       facing assaultive conduct.      By the same token, I have not
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 88 of 104            88


1        released everybody who has nonassaultive conduct.

2                   The D.C. Circuit has upheld my bail determination

3        in revoking the custody of Mr. Hale-Cusanelli who is facing

4        essentially identical charges to you and, also, had no or

5        very little criminal record; and I have to look at all of

6        the factors under the Bail Reform Act.

7                   And here what speaks most saliently and loudly is

8        your conduct in post arrest, pretrial status where you

9        repeatedly failed to follow the conditions of release.             I

10       have considered your explanations; and I think Ms. Furst is

11       right, that these are excuses.

12                  I observed your credibility on the stand.             I have

13       considered what you have to say, and I am not convinced.

14       You say when you are worried, you don't make understandable

15       decisions; I think that's right, that also makes me very

16       concerned about releasing you at this point.

17                  You have admitted to incredible lapses in judgment

18       here on the stand, not least of which was seeking to

19       disqualify a New York state judge.        Whether you knew it was

20       illegal or not is kind of beside the point; the law says

21       ignorance of the law is no excuse.        You have admitted to

22       what was probably obstruction of justice in that case; and

23       you have admitted to considering obstruction of justice in

24       this case, trying to have me disbarred or -- disqualified.

25       And only Ms. Halverson's very wise advice to you has kept
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 89 of 104         89


1        you from being in much more significant trouble than you are

2        currently in.

3                   I think those were harassing phone calls that you

4        made to the probation officers.       And you say that it's not

5        100 percent sure what you were doing; I don't need to find

6        by "100 percent sure."      I do find by clear and convincing

7        evidence that you were harassing them; that you engaged in a

8        pattern of behavior that shows contempt, as I said, to the

9        criminal justice system, to the Court.        And I just have no

10       confidence, as I did before, that you would follow my orders

11       if I allowed you to be on release.        So I am denying your

12       motion.

13                  I will see you all on November 29th.

14                  THE DEFENDANT:     Your Honor, may I hand you motions

15       because I don't -- I can't send them really in an efficient

16       way before you end -- hand you motions?

17                  THE COURT:    What's the motion?

18                  THE DEFENDANT:     There is -- to help me build my

19       case.   The one -- well, I guess that one isn't needed.          But

20       the other one is for a motion for discovery, a laptop to

21       help type, internet -- to be able to search for discovery --

22       additional exhibits and discovery for my case, like the

23       prosecution has; different things that would help me build

24       my case.

25                  THE COURT:    All right.    You can give them to
     Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 90 of 104          90


1        Ms. Halverson, and I will direct Ms. Halverson to file them

2        on the record.

3                   Thanks, folks.     See you in November.

4                   MS. FURST:    Your Honor.      I'm sorry.     I had wanted

5        to speak with the defendant afterwards.

6                   THE COURT:    Yes.    Thanks for reminding me.

7        Yes, you will be allowed to do that.

8                   MS. FURST:    Thank you, Your Honor.

9                   THE COURT:    Thank you.

10
                    (Whereupon, the proceeding concludes, 5:17 p.m.)
11
                                          INDEX
12
         WITNESS                     DIRECT       CROSS   REDIRECT
13
         BRANDON FELLOWS             11            55        71
14

15
                                      CERTIFICATE
16

17                 I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby
         certify that the foregoing constitutes a true and accurate
18       transcript of my stenographic notes, and is a full, true,
         and complete transcript of the proceedings to the best of my
19       ability.

20
                  This certificate shall be considered null and void
21       if the transcript is disassembled and/or photocopied in any
         manner by any party without authorization of the signatory
22       below.

23
             Dated this 9th day of November, 2021.
24
             /s/ Elizabeth Saint-Loth, RPR, FCRR
25           Official Court Reporter
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 91 of 104                                                            91



            $              365 [1] - 83:10              53:17, 53:22, 54:14,     advice [7] - 45:14,        60:4, 85:15
                           3:12 [1] - 1:5               54:19, 54:22, 55:5,       51:19, 60:19, 61:18,     alone [5] - 29:8, 37:4,
                                                        55:22, 57:19, 64:4,       66:15, 74:25, 88:25       51:15, 79:12, 82:1
$25,000 [1] - 30:14                                     71:12, 78:22, 79:1,
                                       4                                         advise [1] - 7:17         amazed [1] - 79:4
$80 [1] - 15:10                                         79:2, 80:7, 89:21        advised [1] - 3:6         Amendment [3] -
                                                       above-mentioned [1]       advisements [1] -          3:13, 8:10, 10:14
             /             40 [2] - 77:16               - 14:18                   3:25                     AMERICA [1] - 1:3
                           45 [2] - 37:24, 43:20       absolutely [1] - 56:16    Advisor [1] - 16:4        America [1] - 2:3
                           48 [1] - 66:7               abuse [4] - 21:15,        affidavit [1] - 39:22     amount [1] - 79:19
/s [1] - 90:24
                                                        33:13, 78:9, 86:7        afraid [3] - 50:22,       amounts [1] - 58:24
                                       5               abused [1] - 23:13         76:8, 82:13              analog [1] - 38:16
            1                                          abuser [1] - 33:12        afternoon [5] - 2:7,      analogy [1] - 33:10
                           5 [2] - 31:18, 37:25        abusive [1] - 47:22        2:9, 2:10, 2:12, 2:15    anger [1] - 54:6
1 [1] - 14:24              5-hour [2] - 13:22,         accelerate [1] - 71:16    afterwards [2] - 7:13,    angry [4] - 25:19,
1.8 [1] - 14:21             14:22                      accept [2] - 35:3, 37:6    90:5                      45:19, 50:18, 84:12
1/2 [1] - 83:10            50 [1] - 64:21              access [2] - 14:6,        agencies [1] - 13:24      ankle [2] - 31:22, 83:6
10 [1] - 31:17             504 [1] - 83:17              54:22                    aggravated [1] - 13:23    answer [7] - 18:13,
100 [5] - 56:14, 78:7,     55 [2] - 31:16, 90:13       accessory [1] - 27:9      ago [2] - 60:13, 78:19     55:16, 56:19, 56:21,
 82:8, 89:5, 89:6          5:17 [1] - 90:10            accident [1] - 73:23      agree [6] - 5:16, 11:7,    59:12, 64:11, 76:4
103 [1] - 19:1             5th [1] - 71:18             according [6] - 16:10,     70:22, 73:16, 78:11,     answered [1] - 49:20
103(c [1] - 18:12                                       52:3, 52:4, 62:17,        79:10                    Antifa [4] - 14:3, 62:2,
11 [2] - 62:17, 90:13                                   69:11, 77:22             agreed [2] - 86:4,         62:11, 78:14
                                       6               account [2] - 5:3,         86:12                    anyhow [1] - 29:18
1100 [1] - 28:6
12 [4] - 1:5, 38:22,                                    83:15                    agreement [1] - 19:6      appeal [3] - 28:13,
 62:18, 85:9               6 [6] - 14:11, 35:21,       accurate [1] - 90:17      ahead [4] - 12:13,         43:21, 62:17
12-year [4] - 28:9,         38:22, 63:4, 65:10         accused [1] - 20:15        47:11, 66:5, 75:25       appeals [1] - 42:8
 29:23, 30:10, 62:16       6-ers [2] - 15:7, 53:21     act [2] - 5:11, 21:17     ahold [1] - 21:5          APPEARANCES [1] -
13 [1] - 45:2              625 [1] - 1:19              Act [2] - 4:13, 88:6      aided [1] - 1:24           1:11
14th [1] - 59:5            67052 [1] - 1:14            Action [1] - 1:3          al [1] - 60:8             apply [1] - 36:20
15 [1] - 37:24             6:00 [1] - 65:7             actions [1] - 70:1        Alaska [1] - 73:13        appointment [4] -
15th [3] - 57:17, 57:23,   6th [11] - 10:12, 10:18,    activities [1] - 59:23    Albany [4] - 25:23,        59:15, 60:16, 76:15,
 59:23                      12:6, 15:1, 15:3,          actual [6] - 25:17,        26:10, 43:20, 79:1        76:16
180 [2] - 38:23             15:21, 15:22, 15:24,        25:20, 42:14, 50:14,     alcohol [1] - 38:15       approach [2] - 65:14,
19th [1] - 62:25            20:2, 84:7, 87:23           70:2, 79:21              allegation [1] - 60:7      65:15
                                                       adamant [1] - 22:24       allegations [2] -         approached [1] -
            2                          7               adapt [1] - 31:11          39:17, 60:16              69:24
                                                       add [4] - 14:4, 14:5,     allege [1] - 78:16        approaching [1] - 9:9
                                                        36:17, 39:13             alleged [4] - 38:4,       appropriate [1] - 11:9
20004 [1] - 1:19           71 [1] - 90:13
                                                       additional [5] - 10:4,     39:3, 59:21, 76:19       area [7] - 43:2, 66:1,
2018 [1] - 62:22           7th [1] - 71:17
                                                        18:14, 52:10, 52:12,     alleviate [1] - 44:16      66:17, 66:19, 66:20,
2019 [1] - 63:1                                         89:22                    allow [12] - 7:10, 8:4,    67:2, 67:5
202 [1] - 1:20                         8               additionally [2] - 6:9,    9:4, 9:11, 18:25,        areas [3] - 10:23, 65:3,
2021 [2] - 1:5, 90:23                                   18:11                     19:4, 19:18, 40:17,       65:13
208-7500 [1] - 1:20        80 [1] - 67:1               address [9] - 16:1,        54:19, 54:20, 87:4,      argue [5] - 4:20, 6:23,
21-83 [2] - 1:3, 2:3       85 [1] - 36:8                18:22, 20:8, 20:11,       87:5                      75:14, 78:11
24 [1] - 24:21                                          20:13, 21:9, 24:1,       allowed [8] - 6:9,        argued [1] - 43:1
269-6481 [1] - 1:15                                     50:8, 65:18               35:21, 64:24, 74:22,     argument [3] - 74:6,
27 [2] - 83:9, 83:10
                                       9
                                                       addressed [2] - 20:18,     86:18, 87:2, 89:11,       75:8, 75:24
27.5 [1] - 83:11                                        22:20                     90:7                     arguments [2] - 87:1,
29th [1] - 89:13           9 [2] - 35:20               ADHD [2] - 16:23,         allowing [2] - 11:9,       87:7
                           9/11 [1] - 15:4              37:19                     77:17                    arms [1] - 28:19
            3              9th [1] - 90:23             administration [2] -      allows [2] - 16:23,       arrest [2] - 52:9, 88:8
                                                        15:8, 72:16               17:7                     arrested [9] - 24:3,
3 [1] - 45:1
                                       A               admitted [8] - 55:25,     allude [1] - 77:10         26:2, 42:25, 51:9,
                                                        56:3, 56:5, 63:12,       alluded [2] - 38:8,        51:11, 52:18, 57:23,
30 [1] - 38:22
                                                        63:16, 88:17, 88:21,      39:24                     62:7, 77:25
30-something [1] -         A.C [1] - 27:9
                                                        88:23                    alluding [3] - 77:11,     arrests [1] - 26:22
 40:9                      ability [5] - 4:23, 5:21,
                                                       advantage [1] - 50:20      79:15, 83:23             arrived [1] - 42:24
301 [1] - 1:14              6:13, 14:8, 90:19
                                                       adverse [1] - 17:8        almost [6] - 16:25,       arts [1] - 6:14
316 [1] - 1:15             able [17] - 5:8, 33:16,
                                                       advertising [1] - 36:15    37:13, 43:24, 59:8,      Ashli [1] - 14:2
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 92 of 104                                                            92



aspects [1] - 53:15        48:25                      77:23                       70:13, 79:3, 79:4         10:14, 25:21, 26:1,
Asperger's [1] - 22:22    bags [1] - 26:13           biggest [1] - 73:24         built [1] - 36:22          29:18, 46:17, 51:15,
assault [1] - 13:21       bail [1] - 88:2            billion [2] - 14:21,        bunch [1] - 27:13          52:18, 53:12, 53:17,
assaultive [1] - 87:25    Bail [2] - 4:12, 88:6       15:10                      burger [1] - 38:20         54:3, 54:23, 62:22,
assaults [1] - 15:16      Baked [1] - 73:13          bit [3] - 3:23, 6:1,        burned [1] - 45:11         67:14, 67:18, 74:1,
assertions [2] - 17:13,   balancing [1] - 5:11        12:24                      bus [11] - 22:25, 23:1,    76:12, 80:8, 81:11,
 17:14                    bar [4] - 3:3, 26:20,      blame [1] - 30:12            23:4, 23:6, 23:7,         82:1, 82:6, 88:22,
assistance [1] - 74:20     38:7, 39:17               blind [3] - 17:2, 35:1,      24:1, 25:7, 27:15,        88:24, 89:19, 89:22,
associated [2] - 36:6,    Barnes [1] - 46:4           54:24                       45:9, 46:19, 47:6         89:24
 36:12                    barriers [4] - 70:14,      block [1] - 44:8            busiest [1] - 26:10       Case [1] - 2:3
assuring [1] - 81:15       70:15, 70:16, 79:5        blond [2] - 76:18, 77:6     business [8] - 15:14,     cases [4] - 79:23,
astigmatism [1] - 35:2    Barry [7] - 28:6, 29:18,   body [1] - 68:14             20:25, 36:3, 36:9,        81:25, 82:5, 87:23
astronomical [1] -         30:8, 62:15, 62:18,       bond [15] - 2:17, 7:5,       36:21, 36:22, 77:17      causing [1] - 79:25
 34:7                      63:2, 85:5                 7:6, 7:9, 7:20, 11:23,     businesses [2] -          caution [1] - 12:23
attack [5] - 65:11,       BARRY [1] - 62:18           11:24, 12:8, 21:10,         13:14, 14:17             cautioning [1] - 8:24
 68:6, 73:8, 77:19,       baseball [1] - 79:23        30:14, 40:19, 59:17,       busy [3] - 15:13,         caved [1] - 42:8
 78:14                    bats [1] - 79:23            75:16, 76:11, 86:24         23:20, 86:8              CCTV [6] - 52:15,
attacked [2] - 29:8,      battered [1] - 33:12       books [3] - 44:2,           buy [2] - 42:23, 45:11     52:19, 52:22, 65:17,
 78:13                    battered-wife-in-           54:17, 64:1                BY [5] - 55:18, 56:23,     67:7, 68:11
attacks [1] - 14:15        training [1] - 33:12      borrowing [1] - 39:21        57:16, 64:14, 70:20      cell [1] - 59:9
attempts [1] - 25:16      battery [1] - 27:3         bothered [1] - 21:17                                  certain [1] - 13:8
attend [1] - 15:12        Bay [1] - 15:11            bottom [1] - 25:12                     C              certainly [4] - 5:3,
attending [1] - 48:3      beating [1] - 29:9         bought [2] - 42:24,                                    5:16, 7:18, 51:6
attention [7] - 13:16,    beautiful [5] - 38:11,      45:12                                                CERTIFICATE [1] -
                                                                                 C2B [1] - 40:7             90:15
 65:16, 66:6, 72:1,        38:12, 38:13, 38:14,      Boyland [1] - 29:10
                                                                                 call-in [3] - 31:16,      certificate [1] - 90:20
 76:21, 86:10              79:3                      bracelet [2] - 31:22,
                                                                                  33:5, 42:21              certified [1] - 72:23
attest [3] - 27:24,       beauty [1] - 79:4           83:7
                                                                                 call-ins [1] - 31:13      certify [1] - 90:17
 45:24, 86:2              become [3] - 15:13,        brain [1] - 16:23
                                                                                 calmly [1] - 68:21        challenge [2] - 10:14,
attested [1] - 86:3        37:2, 70:6                brand [2] - 42:24,
                                                                                 Camp [1] - 25:6            50:10
Attorney [3] - 1:13,      beeline [1] - 67:19         83:20
                                                                                 Canadian [1] - 34:4       challenged [2] -
 13:19, 29:21             BEFORE [1] - 1:9           Brandon [10] - 2:4,
                                                      2:11, 23:10, 24:7,         cancel [2] - 36:11,        49:12, 51:8
attorney [14] - 2:25,     began [4] - 13:16,
                                                      31:14, 38:6, 49:11,         58:8                     chance [10] - 19:24,
 4:3, 7:22, 9:1, 9:2,      50:14, 64:23, 68:25
                                                      51:7, 51:9, 51:16          canceled [5] - 36:10,      40:14, 46:7, 51:14,
 18:8, 22:11, 24:6,       beginning [6] - 12:21,
                                                     BRANDON [3] - 1:5,           44:18, 58:1, 59:15,       81:12, 85:18, 85:20,
 24:7, 24:25, 27:16,       22:20, 32:7, 53:24,
                                                      1:17, 90:13                 71:1                      86:15, 87:11, 87:12
 61:4, 61:13, 61:15        60:21, 73:25
                                                     break [6] - 26:6,           canceling [1] - 60:16     chances [2] - 87:10,
attorney's [1] - 60:23    begun [1] - 13:23
                                                      31:21, 55:12, 56:8,        candy [3] - 22:6,          87:11
attorney-client [1] -     behaved [1] - 75:7
                                                      65:3, 65:11                 26:17, 26:19             change [5] - 22:23,
 18:8                     behavior [2] - 34:9,
                                                     breath [1] - 27:8           cannot [2] - 4:7, 43:12    23:17, 30:16, 31:11,
attorneys [3] - 2:20,      89:8
                                                     Brett [3] - 28:6, 62:23,    capitol [1] - 26:9         66:14
 8:14, 73:20              behind [2] - 26:16,
                                                      63:5                       Capitol [17] - 28:24,     changed [1] - 25:2
authorization [1] -        28:17
                                                     briefing [1] - 10:4          32:19, 32:21, 61:21,     chants [1] - 84:19
 90:21                    beliefs [1] - 85:1
                                                     briefly [4] - 3:10, 5:19,    62:9, 63:3, 63:4,        chapter [1] - 16:24
automatically [1] -       believes [1] - 81:15
                                                      5:24, 47:1                  63:10, 63:16, 64:18,     character [1] - 31:21
 87:24                    below [2] - 86:10,
                                                                                  65:23, 69:18, 70:7,      characterization [1] -
available [1] - 18:6       90:22                     bring [8] - 32:19, 39:7,
                                                                                  70:10, 78:13, 79:2,       6:8
Ave [1] - 1:19            benefit [2] - 18:1, 19:8    55:5, 61:8, 63:10,
                                                                                  79:24                    charge [4] - 20:16,
aware [3] - 60:9,         benefits [1] - 21:20        76:25, 77:19, 87:23
                                                                                 car [3] - 39:19, 39:20,    27:10, 46:5, 52:4
 60:11, 63:12             beside [1] - 88:20         broad [1] - 6:19
                                                                                  39:21                    charged [4] - 30:1,
awesome [3] - 15:13,      best [4] - 2:17, 62:3,     broke [1] - 14:2
                                                                                 CARA [1] - 1:18            30:2, 63:3, 87:17
 46:2, 46:3                80:13, 90:18              broken [10] - 27:10,
                                                                                 Cara [1] - 2:13           charges [11] - 5:2, 8:6,
awkward [3] - 21:18,      better [4] - 32:9, 33:5,    65:20, 65:24, 67:25,
                                                      68:2, 69:9, 69:19,         cara_halverson@fd.         10:18, 16:11, 16:12,
 50:1, 74:16               34:12, 79:21
                                                      69:21, 70:7                 org [1] - 1:20            16:15, 30:10, 47:17,
                          between [1] - 12:3
                                                     brought [4] - 45:17,        cards [1] - 15:15          79:19, 87:20, 88:4
           B              beyond [2] - 59:25,
                                                                                 care [2] - 47:14, 68:18
                           73:15                      61:24, 64:9, 82:23                                   check [2] - 2:19, 48:9
                                                     build [4] - 54:3, 54:23,    career [1] - 17:22        checked [1] - 14:23
                          Bible [1] - 14:5
Babbitt [1] - 14:2                                    89:18, 89:23               careful [1] - 24:8        checking [1] - 72:5
                          Biden [2] - 15:7, 72:16
baby [1] - 40:21                                     Building [1] - 79:24        case [31] - 3:12, 4:13,   chief [1] - 79:14
                          big [3] - 20:17, 33:20,
bad [3] - 8:5, 45:10,                                building [4] - 15:14,        4:14, 4:18, 6:24,        Chief [1] - 79:14
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 93 of 104                                                           93



child [2] - 21:15, 23:13    77:3                     conserve [1] - 27:10      convincing [3] - 60:1,      54:15, 58:22, 59:7,
children [1] - 34:11       coming [8] - 6:24,        consider [5] - 4:1,        82:4, 89:6                 59:25, 64:16, 71:3,
chimney [1] - 36:3          8:22, 35:9, 41:13,        21:20, 33:13, 72:14,     cool [1] - 29:4             71:17, 75:6, 77:4,
choose [1] - 10:21          41:17, 48:12, 62:5,       83:22                    cope [2] - 30:20, 35:13     79:21, 80:6, 80:16,
chops [1] - 53:11           76:21                    considered [6] -          coping [2] - 21:14,         80:21, 81:15, 81:19,
Chrestman [1] - 79:14      comment [4] - 29:4,        86:23, 86:25, 87:6,       77:14                      82:17, 85:13, 85:17,
Christ [1] - 14:5           32:20, 64:5, 76:23        88:10, 88:13, 90:20      cops [3] - 29:8, 29:9,      89:9, 90:25
church [5] - 14:6,         commenting [2] -          considering [2] - 82:5,    68:5                      COURT [65] - 1:1, 1:9,
 48:3, 48:7, 48:13          31:2, 72:25               88:23                    corner [2] - 67:18,         2:9, 2:12, 2:15, 3:10,
Circuit [1] - 88:2         comments [3] - 10:16,     consistent [5] - 33:7,     68:17                      4:11, 5:1, 5:16, 5:25,
citation [1] - 62:19        31:4, 77:6                68:10, 68:14, 76:5,      correct [36] - 3:16,        6:16, 6:20, 6:22, 7:3,
cite [3] - 34:1, 34:2,     common [1] - 14:12         81:13                     12:20, 33:11, 35:18,       9:7, 9:14, 9:18, 9:21,
 55:22                     community [2] -           constant [2] - 68:16,      55:21, 56:1, 56:2,         10:7, 10:10, 11:2,
cited [4] - 31:15,          59:22, 87:18              73:22                     56:3, 56:7, 56:10,         11:5, 11:12, 11:15,
 37:13, 55:20, 79:15       companies [2] -           constitutes [1] - 90:17    56:15, 56:25, 57:10,       11:19, 12:13, 13:11,
cities [1] - 13:14          15:14, 36:10             Constitution [1] - 6:6     57:17, 57:21, 58:1,        15:17, 15:20, 16:2,
citizens [2] - 13:13,      compare [1] - 14:21       constitutional [4] -       58:4, 58:16, 58:19,        16:5, 16:7, 16:15,
 14:16                     compared [3] - 17:3,       14:16, 24:7, 24:14,       59:15, 59:16, 59:19,       16:18, 19:10, 19:12,
                            17:5, 34:15               61:2                      60:17, 60:21, 61:21,       19:14, 20:1, 41:23,
city [1] - 38:14
                           comparison [1] -          construed [2] - 2:17,      62:9, 62:13, 63:10,        51:23, 55:10, 55:15,
claim [3] - 15:4, 49:6,
                            66:10                     64:2                      65:24, 66:1, 66:20,        56:20, 57:12, 64:8,
 74:20
                           complain [1] - 86:5       consulted [1] - 4:2        66:23, 70:11, 70:14,       64:11, 70:19, 71:7,
claimed [4] - 22:9,
                           complained [3] -          contact [11] - 49:1,       71:1                       71:19, 73:16, 74:6,
 22:11, 32:16, 82:9
                            35:16, 38:24, 43:5        49:7, 50:20, 57:9,       corrected [1] - 32:8        74:13, 75:8, 75:14,
claiming [4] - 72:6,
                           complaint [1] - 35:23      59:6, 59:9, 59:13,       correctly [1] - 77:5        75:21, 75:25, 80:10,
 72:8, 84:10, 84:11
                           complete [2] - 42:15,      68:10, 68:14, 68:16,     correlations [1] - 13:7     80:12, 81:20, 86:20,
claims [8] - 18:7, 46:8,
                            90:18                     81:10                    costs [1] - 14:20           86:23, 89:17, 89:25,
 54:20, 55:7, 69:13,
                                                     contacting [1] - 81:4     counsel [5] - 2:14,         90:6, 90:9
 71:13, 76:14, 77:22       completed [1] - 7:5
                                                     contacts [4] - 21:1,       10:15, 16:10, 60:19,      Court's [7] - 13:6,
clarify [1] - 19:6         completely [2] -
                                                      35:1, 35:3, 66:7          74:21                      19:9, 20:11, 45:13,
clear [8] - 16:12,          24:24, 53:3
                                                     contempt [1] - 89:8       Counsel [1] - 1:18          55:4, 55:23, 71:5
 19:12, 60:1, 70:21,       compliance [2] - 8:18,
                                                     context [13] - 6:12,      country [2] - 6:6,         courtroom [1] - 17:18
 76:3, 81:7, 82:3,          10:12
                                                      13:6, 17:12, 18:22,       13:18                     COURTROOM [1] -
 89:6                      comply [1] - 28:19
                                                      35:25, 37:15, 44:25,     country's [1] - 15:16       2:2
clearly [2] - 36:2,        composure [1] - 31:24
                                                      46:24, 57:11, 58:24,     countrywide [1] -          COVID [1] - 50:5
 46:10                     computer [1] - 1:24
                                                      73:21, 74:23, 82:18       13:21                     crazy [5] - 22:6, 22:14,
clerk [6] - 49:13,         computer-aided [1] -
                                                     continual [2] - 41:20     couple [11] - 21:18,        22:15, 27:20, 47:13
 49:14, 49:15, 49:20,       1:24
                                                     continually [3] - 27:8,    35:24, 38:25, 41:6,       cream [1] - 38:19
 50:4, 50:16               concerned [2] - 5:13,
                                                      39:16, 52:19              54:2, 54:11, 54:12,       create [1] - 23:16
client [4] - 4:9, 6:2,      88:16
                                                     continue [4] - 29:5,       66:25, 70:2, 76:24        created [1] - 14:6
 18:8, 61:16               concludes [1] - 90:10
                                                      53:1, 64:25, 81:19       course [3] - 46:21,        credentials [1] - 61:18
climb [4] - 69:9, 69:19,   conclusion [2] -
                                                     continued [4] - 29:6,      46:23, 47:23              credibility [1] - 88:12
 69:21, 78:23               41:24, 71:5
                           conditions [9] - 10:12,    33:22, 41:19, 49:8       court [20] - 6:25, 8:20,   credit [2] - 15:15,
climbed [1] - 78:22
                            20:4, 22:21, 23:5,       continuing [4] - 31:10,    9:13, 33:16, 39:10,        34:14
climbing [4] - 23:25,
                            28:3, 57:19, 71:4,        32:12, 32:24, 75:12       39:24, 45:6, 45:12,       crew [3] - 27:25, 61:1,
 70:13, 78:16, 78:21
                            87:14, 88:9              continuous [8] -           45:20, 45:23, 46:2,        61:5
clip [1] - 69:14
                           conduct [4] - 6:13,        13:17, 20:19, 25:16,      46:25, 49:13, 49:14,      crime [2] - 41:10, 83:8
close [4] - 29:18,
                            87:25, 88:1, 88:8         27:5, 34:24, 37:9,        49:15, 49:21, 50:5,       crimes [3] - 40:12,
 84:24, 84:25
                           confidence [1] - 89:10     85:6                      83:4, 86:17, 87:21         40:13, 77:21
closer [1] - 69:25
                           confident [1] - 52:14     continuously [2] -        Court [54] - 1:22, 1:22,   criminal [9] - 6:7,
closing [1] - 54:16
                           confirm [1] - 63:6         20:21, 40:18              3:2, 3:12, 3:24, 5:11,     16:25, 17:6, 20:15,
clothes [1] - 45:10
                                                     contract [2] - 31:18,      5:12, 5:14, 9:10,          23:15, 29:25, 81:16,
CNN [4] - 30:5, 63:13,     confused [2] - 60:8,
                                                      41:9                      10:4, 12:20, 13:3,         88:5, 89:9
 79:7                       68:22
                                                     contracts [2] - 21:1,      16:14, 17:7, 17:25,       Criminal [2] - 1:3, 2:3
Code [1] - 62:19           confusing [1] - 65:22
                                                      36:9                      18:12, 18:24, 19:2,       CROSS [2] - 55:17,
code [1] - 43:3            confusingly [1] -
                                                     control [2] - 38:21,       19:4, 20:17, 24:18,        90:12
cold [1] - 27:8             50:13
                                                      45:15                     31:3, 33:24, 34:20,       cross [6] - 6:13, 7:12,
college [1] - 87:18        connect [1] - 23:9
                                                     conversation [3] -         37:6, 37:11, 44:22,        10:21, 11:17, 71:9,
COLUMBIA [1] - 1:1         connection [1] - 4:12
                                                      48:21, 49:20, 60:25       44:24, 45:18, 50:7,        73:18
Columbia [1] - 62:19       consequences [1] -
                                                     convinced [1] - 88:13      54:1, 54:3, 54:9,         CROSS-
comedy/coping [1] -         5:15
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 94 of 104                                                             94



 EXAMINATION [1] -          dealt [3] - 53:20, 86:7    67:16, 67:21, 68:4,        40:5                       46:21, 62:17, 67:19,
 55:17                      debatable [1] - 82:7       68:15                     disrespectful [1] -         86:8
cross-examination [4]       decide [1] - 10:17        despite [16] - 14:8,        43:16                     election [1] - 72:23
 - 6:13, 10:21, 71:9,       decided [2] - 19:16,       20:18, 28:15, 30:10,      disrupted [1] - 58:22      Elizabeth [2] - 1:22,
 73:18                       58:15                     30:14, 38:2, 39:16,       District [1] - 62:18        90:24
cross-examine [2] -         decision [6] - 7:25,       40:11, 42:22, 45:13,      DISTRICT [3] - 1:1,        ELIZABETH [1] -
 7:12, 11:17                 26:20, 26:21, 53:13,      48:2, 66:17, 69:13,        1:1, 1:9                   90:17
crowd [9] - 14:9,            75:6                      77:22, 78:1, 83:18        disturbing [1] - 77:5      email [2] - 31:4, 59:14
 64:23, 67:14, 67:15,       decisions [4] - 53:22,    destroy [1] - 74:4         ditch [2] - 25:7, 74:2     Email [2] - 1:15, 1:20
 69:10, 69:25, 71:25,        83:2, 83:3, 88:15        destroyed [1] - 13:14      ditched [2] - 21:24,       embarrassing [1] -
 72:22, 78:19               Declaration [1] - 84:20   destructive [1] - 14:12     23:20                      48:20
crowd's [1] - 14:8          defend [3] - 16:12,       detail [1] - 54:12         ditching [1] - 22:3        emergency [4] -
crushed [1] - 68:2           33:16, 53:12             detained [1] - 15:18       DOJ [1] - 1:13              37:22, 39:4, 39:14
crying [1] - 31:21          defendant [13] - 3:12,    Detective [1] - 46:4       DOJ-USAO [1] - 1:13        emotions [2] - 12:25,
cultural [2] - 41:2          4:18, 4:19, 4:21,        detention [4] - 80:18,     domestic [1] - 14:17        13:7
culture [1] - 36:12          4:24, 5:14, 6:4, 7:19,    81:18, 81:19              Donald [1] - 73:12         encountered [2] -
curfew [5] - 14:11,          16:25, 17:6, 80:18,      determination [2] -        done [7] - 29:25, 41:8,     29:15, 83:21
 65:5, 65:7, 65:10           81:15, 90:5               86:24, 88:2                53:9, 79:8, 82:15,        encounters [2] - 28:22
curiously [1] - 49:19       Defendant [1] - 1:6       detriment [1] - 17:2        82:16, 85:15              encourage [1] - 10:22
Cusanelli [1] - 88:3        DEFENDANT [42] -          different [7] - 3:23,      door [2] - 67:22, 72:9     encouraging [1] -
custody [3] - 80:21,         1:17, 2:10, 9:5, 9:8,     4:6, 17:20, 53:15,        double [1] - 30:23          14:14
 87:21, 88:3                 11:1, 11:14, 11:18,       57:19, 70:1, 89:23        doubt [1] - 60:1           encroach [1] - 5:21
customer [2] - 21:1,         11:21, 12:15, 13:12,     direct [7] - 9:22, 13:7,   down [17] - 3:18, 26:9,    end [7] - 8:8, 51:12,
 21:3                        15:19, 15:22, 16:3,       18:12, 56:18, 60:4,        30:23, 30:24, 37:25,       51:24, 85:24, 89:16
customers' [1] - 21:3        16:6, 16:8, 16:17,        64:4, 90:1                 41:19, 44:11, 44:13,      ended [4] - 29:19,
cut [1] - 83:6               16:19, 19:11, 19:13,     DIRECT [2] - 11:20,         51:4, 55:13, 56:5,         30:8, 35:6, 35:7
cycle [2] - 43:9             19:25, 20:5, 41:25,       90:12                      67:25, 68:21, 69:3,       engaged [1] - 89:7
                             51:25, 57:1, 57:14,      directed [1] - 65:16        70:14, 78:1               England [1] - 78:18
                             63:23, 64:10, 64:12,     directing [1] - 9:23
            D                                                                    downplayed [1] -           enhancement [1] - 8:7
                             71:11, 71:23, 73:19,     directions [1] - 53:2       13:21                     enhancements [1] -
                             74:10, 74:14, 75:13,     directly [2] - 10:18,      downs [1] - 46:20           52:12
D.C [7] - 1:6, 8:9, 14:1,    75:20, 75:22, 76:2,       69:12                     downsize [1] - 20:24       enter [1] - 67:8
 32:16, 40:20, 49:9,         80:11, 81:22, 86:22,     disabilities [2] -         downtown [1] - 43:20       entered [1] - 64:22
 88:2                        89:14, 89:18              35:12, 83:15              drawbacks [1] - 10:24      enticed [1] - 69:24
damage [1] - 82:17          defendant's [2] - 2:17,   disagreement [1] -         dress [1] - 45:6           entire [2] - 17:22, 55:2
damaged [1] - 47:18          3:18                      19:7                      drew [1] - 72:1            entirely [2] - 30:12,
damages [3] - 14:21,        defendants [2] - 6:7,     disassembled [1] -         drive [1] - 43:7            85:12
 14:23, 82:14                17:4                      90:21                     drug [15] - 4:18, 32:4,    entitled [2] - 80:18,
danger [7] - 59:22,         Defender [1] - 1:18       disbarred [1] - 88:24       32:6, 32:17, 32:18,        87:3
 60:2, 60:17, 78:8,         defense [3] - 3:1, 9:2,   discouraged [2] -           32:25, 34:18, 34:23,      entrapment [1] - 84:12
 80:22, 80:24, 83:4          86:24                     7:22, 9:2                  35:18, 37:11, 40:22,      environment [4] -
dangerous [3] - 18:4,       definitely [3] - 44:24,   discovery [8] - 22:8,       56:3, 76:15, 84:2          23:14, 23:16, 66:14
 43:6, 78:23                 72:7, 78:8                22:10, 52:17, 71:12,      druggy [3] - 32:18,        equal [1] - 17:2
dangerousness [2] -         definition [1] - 58:25     71:16, 89:20, 89:21,       32:19, 63:9               equivalent [1] - 13:3
 17:13, 81:13               defund [1] - 72:16         89:22                     drugs [2] - 4:19, 32:19    erring [1] - 58:13
dangled [1] - 48:12         demanded [1] - 43:19      discussed [1] - 18:9       drunk [1] - 38:9           escape [3] - 28:1,
date [2] - 49:21, 50:5      democrat [2] - 13:17,     disheartening [1] -        due [1] - 21:18             40:3, 47:21
Dated [1] - 90:23            13:19                     35:19                     dumpster [1] - 40:22       escaped [1] - 47:23
days [12] - 25:8, 30:9,     denied [5] - 18:21,       disorders [1] - 21:19      during [1] - 61:20         especially [17] - 17:4,
 35:16, 37:9, 37:10,         19:10, 19:11, 20:12,     disorganization [1] -      duty [2] - 3:2, 3:4         31:2, 37:18, 40:7,
 38:23, 42:19, 75:12,        64:8                      74:15                                                 40:11, 40:13, 53:23,
 83:11, 85:7, 85:10         denies [1] - 81:7         displeased [3] - 45:20,
DC [1] - 1:19               denying [2] - 87:8,
                                                                                            E                55:6, 62:4, 71:16,
                                                       45:22, 50:18                                          73:24, 80:8, 81:25,
dead [3] - 27:3, 35:25,      89:11                    displeasing [1] -                                      82:6, 83:19, 83:21
 36:3                       depressed [1] - 37:1       50:25                     early [2] - 24:8, 60:20    essentially [9] - 20:6,
deal [8] - 30:9, 30:16,     depression [1] - 37:1     disputing [1] - 4:12       easy [1] - 47:25            20:9, 21:7, 23:9,
 33:14, 33:21, 35:11,       DEPUTY [1] - 2:2          disqualified [1] -         efficiency [1] - 19:8       34:9, 34:10, 53:10,
 62:25, 86:6                described [1] - 24:6       88:24                     efficient [1] - 89:15       77:12, 88:4
dealing [2] - 32:10,        desire [1] - 87:3         disqualify [1] - 88:19     either [9] - 2:25, 8:15,   estoppel [1] - 84:12
 54:6                       desk [6] - 65:20,         disregard [2] - 40:4,       35:20, 37:14, 39:22,      ethical [2] - 3:2, 3:4
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 95 of 104                                                                95



evaluation [5] - 58:1,      45:15                         33:5                      floor [1] - 68:4           friend [3] - 26:19,
 58:8, 58:16, 59:18,       extensive [1] - 29:23        Federal [3] - 1:18,         Florida [3] - 50:6,          27:13, 39:19
 70:23                     extent [2] - 8:16, 10:11       18:11, 18:25                51:1, 51:4               friendly [1] - 30:13
evening [1] - 19:17        extreme [1] - 35:7           federal [2] - 87:17,        focus [2] - 12:7, 68:14    friends [3] - 60:24,
event [2] - 14:22, 31:1    extremely [1] - 27:8           87:21                     focused [1] - 22:25          61:6, 61:7
events [1] - 13:9          eye [4] - 66:13, 68:10,      feelings [1] - 74:17        focusing [1] - 12:7        front [4] - 28:18, 31:6,
eventually [3] - 31:15,     68:14, 68:16                feet [3] - 64:21, 67:24,    foil [3] - 26:23, 26:24,     34:18, 48:4
 32:8, 85:20                                              78:20                       27:1                     full [10] - 16:10, 42:3,
ever-increasing [1] -                  F                Fellows [20] - 2:4,         folks [1] - 90:3             42:5, 48:1, 73:20,
 33:15                                                    2:11, 2:12, 2:21, 3:3,    follow [10] - 12:16,         74:23, 76:6, 76:7,
Evidence [2] - 18:12,                                     3:23, 5:20, 7:6, 7:17,      53:3, 54:4, 61:17,         76:8, 90:18
 19:1                      face [3] - 29:11, 40:18,       7:19, 10:10, 11:13,                                  full-time [1] - 16:10
                                                                                      65:5, 65:6, 65:10,
                             87:21                        41:24, 55:15, 55:19,                                 fully [4] - 13:15, 14:9,
evidence [23] - 4:16,                                                                 80:6, 88:9, 89:10
 6:15, 7:2, 7:6, 7:13,     faces [1] - 5:2                71:7, 75:11, 81:21,                                    22:25, 33:17
                                                                                    followed [7] - 14:10,
 10:5, 12:2, 18:6,         facial [1] - 45:15             86:25, 87:9                 44:19, 48:8, 52:21,      fun [1] - 72:10
 18:15, 19:15, 19:19,      facing [5] - 52:3,           FELLOWS [3] - 1:5,            53:3, 69:8, 73:4         funded [1] - 14:17
 31:6, 46:8, 47:24,          52:12, 87:20, 87:25,         1:17, 90:13               following [3] - 57:20,     funds [4] - 42:23,
 50:23, 53:17, 60:1,         88:3                       Fellows' [1] - 10:3           83:25, 85:23               42:24, 45:13, 78:1
 71:8, 74:4, 82:4,         fact [9] - 23:24, 24:10,     felonies [1] - 87:21        fond [1] - 34:21           Furst [13] - 2:8, 2:9,
 87:5, 87:7, 89:7            25:3, 30:23, 53:5,         felony [1] - 87:17                                       2:22, 3:10, 10:8,
                                                                                    foot [3] - 22:3, 22:4,
evidentiary [3] -            76:22, 76:25, 77:11,       felt [7] - 53:14, 55:1,                                  11:5, 11:16, 55:11,
                                                                                      74:3
 11:25, 12:3, 17:7           82:16                        55:23, 69:16, 72:10,                                   75:17, 80:12, 80:15,
                                                                                    footage [6] - 52:15,
ex [2] - 16:11, 48:8       factor [2] - 42:10, 55:1       74:5, 87:14                                            81:20, 88:10
                                                                                      52:20, 52:22, 65:17,
ex-girlfriend [1] - 48:8   factors [2] - 79:14,         few [3] - 50:6, 51:2,         67:7, 68:11              FURST [23] - 1:12, 2:7,
exact [6] - 28:9, 44:4,      88:6                         70:12                                                  2:23, 3:16, 4:14, 5:6,
                                                                                    FOR [3] - 1:1, 1:12,
 45:16, 59:24, 79:24       facts [3] - 51:15, 74:9,     Fifth [3] - 3:13, 8:10,       1:17                       9:9, 9:16, 9:19, 10:9,
exactly [5] - 30:24,         77:7                         10:13                                                  11:6, 55:18, 56:18,
                                                                                    force's [1] - 34:4
 43:14, 47:20, 48:15,      failed [5] - 32:17,          fighting [2] - 33:9,                                     56:23, 57:16, 64:14,
                                                                                    forced [3] - 23:5, 23:8,
 58:6                        32:24, 76:15, 88:9           84:3                                                   70:17, 70:20, 71:6,
                                                                                      23:12
examination [4] -          failing [1] - 35:8           figure [2] - 12:17,                                      73:14, 80:16, 90:4,
                                                                                    foregoing [1] - 90:17
 6:13, 10:21, 71:9,        fair [4] - 6:4, 6:5, 64:9,     44:10                                                  90:8
                                                                                    forever [2] - 26:21,
 73:18                       75:18                      file [6] - 20:7, 21:2,                                 Furst's [2] - 55:16,
                                                                                      85:19
EXAMINATION [2] -          fake [4] - 25:18, 36:7,        41:14, 41:16, 90:1                                     56:22
                                                                                    forget [2] - 9:10, 32:15
 11:20, 55:17                67:12, 77:9                filed [2] - 16:11, 16:15                               future [3] - 54:19,
                                                                                    forgetful [1] - 32:10
examine [2] - 7:12,        false [4] - 5:5, 33:18,      filing [1] - 7:7                                         55:5, 71:16
                                                                                    forgetting [2] - 25:11,
 11:17                       74:22, 76:14               filmed [1] - 61:4             76:18
                           falsely [2] - 32:16,
examined [1] - 64:4                                     finally [8] - 19:4,         forgive [3] - 41:21,                  G
example [3] - 16:13,         39:3                         26:15, 30:17, 42:6,         46:12, 48:23
 34:17, 76:3               family [6] - 49:2, 49:7,       42:8, 46:9, 50:23,        forgot [2] - 49:12,
                             53:16, 56:15, 81:11                                                               gambling [1] - 32:2
excluded [1] - 18:15                                      86:18                       77:15
                           fancy [1] - 45:6                                                                    game [3] - 40:9, 64:9,
excuse [2] - 37:5,                                      fine [4] - 18:9, 41:12,     form [2] - 18:13, 82:18
                           far [8] - 22:6, 22:7,                                                                78:19
 88:21                                                    44:11, 75:9               fortunately [1] - 25:7
                             23:11, 28:24, 29:1,                                                               games [1] - 57:15
excuses [1] - 88:11                                     finger [1] - 38:1           forward [7] - 2:5, 28:2,
                             40:2, 65:12                                                                       gaslighting [1] - 15:3
exercise [1] - 43:10                                    first [19] - 12:15,           28:17, 30:18, 35:9,
                           fast [1] - 28:2                                                                     gather [1] - 53:17
exhibits [1] - 89:22                                      20:16, 21:12, 21:23,        86:9, 86:14
                           fault [1] - 81:3                                                                    gathered [2] - 4:17,
exist [1] - 30:3                                          30:18, 32:25, 34:22,      four [7] - 18:20, 23:7,
                           favor [1] - 17:21                                                                    31:23
exists [2] - 3:19, 49:9                                   35:13, 41:18, 42:4,         35:16, 36:25, 37:9,
                           FBI [16] - 13:24, 20:20,       42:16, 46:1, 47:1,                                   General [1] - 29:21
exonerated [1] - 81:17                                                                37:10, 40:19
                             21:5, 22:5, 23:19,           51:13, 62:20, 63:18,                                 general [2] - 6:19,
expect [3] - 7:4, 7:11,                                                             four-day [1] - 36:25
                             23:24, 24:12, 26:15,         69:20, 80:16, 86:3                                    17:23
 86:1                                                                               frankly [3] - 8:1, 8:5,
                             26:22, 27:13, 27:17,       fitness [1] - 35:10                                    Generals [1] - 13:20
expecting [1] - 78:2                                                                  8:20
                             31:3, 31:4, 60:20          Fitness [1] - 37:17                                    generous [1] - 7:9
experienced [1] - 9:2                                                               Franks [1] - 4:20
                           FCRR [3] - 1:22,             five [4] - 36:9, 72:8,                                 gesturing [1] - 68:24
explain [1] - 4:21                                                                  freaked [2] - 24:24,
                             90:17, 90:24                 75:17, 75:19                                         giant [1] - 23:22
explained [2] - 36:14,                                                                27:16
                           fear [1] - 3:20              flag [4] - 65:21, 67:17,                               girl [1] - 46:19
 49:5                                                                               freaking [2] - 73:1,
                           fearful [2] - 6:10, 48:2       68:7, 68:9                                           girlfriend [1] - 48:8
explaining [2] - 44:17,                                                               73:2
                           fears [3] - 40:11,           flattering [1] - 30:6                                  girlfriends [1] - 45:10
 55:19                                                                              freedom [1] - 31:23
                             40:12, 44:16               flight [5] - 17:14, 23:4,                              given [10] - 12:4, 17:6,
explanations [1] -                                                                  French [3] - 27:25,
                           featured [1] - 73:12           23:22, 78:7                                           40:14, 61:11, 64:4,
 88:10                                                                                61:1, 61:5
                           February [2] - 33:4,         flipping [1] - 12:25                                    65:7, 85:7, 85:18,
expressions [1] -                                                                   frequently [1] - 84:1
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 96 of 104                                                             96



 87:3, 87:10                                           19:23, 20:16, 28:12,      HONORABLE [1] - 1:9        incoming [1] - 43:22
                                      H
goal [4] - 16:21, 16:22,                               30:19, 31:15, 32:13,      hope [2] - 41:21, 48:24    incorrect [3] - 56:4,
 17:11, 55:24                                          32:25, 35:16, 38:5,       hoping [2] - 50:9,           57:22, 77:3
goals [1] - 12:18          habit [1] - 45:10           41:18, 42:4, 53:6,         82:14                     increase [1] - 37:9
God [4] - 54:5, 84:24,     Hale [1] - 88:3             53:7, 57:25, 71:1,        hormones [1] - 43:15       increasing [1] - 33:15
 84:25                     Hale-Cusanelli [1] -        76:20, 80:18, 83:6        hotel [5] - 22:4, 23:24,   incredible [1] - 88:17
goodbyes [1] - 27:6         88:3                      hearings [4] - 17:13,       25:23, 27:12, 61:11       incrimination [1] -
Google [1] - 59:1          hall [1] - 69:4             28:7, 62:23, 73:22        hours [7] - 18:19,           3:14
Googled [6] - 43:3,        Halverson [42] - 2:13,     heater [1] - 27:9           24:21, 39:15, 44:19,      indefinitely [1] - 40:15
 44:3, 50:19, 56:12,        2:15, 4:2, 5:17, 9:1,     heavy [1] - 30:20           52:17, 66:7, 85:10        Independence [1] -
 56:24, 57:3                9:12, 9:22, 10:22,        held [5] - 40:14, 47:8,    house [6] - 4:18,            84:21
gotcha [1] - 15:22          11:2, 18:2, 18:25,         79:19, 85:3, 87:24         23:19, 26:12, 27:14,      independently [1] -
government [33] - 2:6,      19:5, 19:23, 24:6,        helmet [1] - 14:3           84:19, 84:20                5:8
 3:1, 4:9, 4:17, 5:2,       24:17, 34:14, 34:16,      help [8] - 9:24, 54:3,     houser [1] - 20:22         INDEX [1] - 90:11
 6:2, 6:11, 7:11, 7:12,     39:8, 39:9, 44:14,         54:12, 80:7, 84:6,        Howell [1] - 79:15         index [1] - 12:9
 7:14, 10:16, 13:14,        45:24, 48:22, 49:10,       89:18, 89:21, 89:23       huge [1] - 52:18           Indiana [1] - 1:19
 14:16, 17:4, 17:8,         49:19, 51:3, 51:16,       helped [2] - 46:16         humans [1] - 34:12         indoor [1] - 38:12
 17:19, 19:15, 19:21,       52:2, 52:3, 52:23,        helpful [1] - 78:24        hundred [2] - 66:25        ineffective [1] - 74:20
 19:22, 29:23, 30:25,       55:10, 60:24, 63:20,      helping [1] - 78:17        hundreds [1] - 66:23       info [1] - 20:21
 32:12, 35:16, 39:7,        69:11, 71:13, 73:9,       hereby [1] - 90:17         hurting [2] - 30:21,       information [4] - 17:6,
 40:11, 44:15, 46:22,       77:24, 86:2, 86:11,       herself [2] - 47:4, 47:8    74:17                       28:4, 50:20, 83:16
 54:18, 54:19, 59:21,       86:13, 90:1               Hi [1] - 24:2                                         informed [2] - 50:6,
 73:5, 87:1, 87:7          halverson [1] - 54:20
                           HALVERSON [9] -
                                                      hide [6] - 18:4, 18:5,                 I                50:25
government's [3] -                                     27:2, 49:15, 74:3,                                   inherent [1] - 6:5
 3:8, 10:3, 30:11           1:18, 2:13, 5:19, 6:1,     82:16                                                inhibited [2] - 25:17,
governors [1] - 13:20       6:18, 6:21, 6:23,         hiding [1] - 25:3          ice [2] - 38:19
                                                                                                              36:23
grab [1] - 28:16            9:23, 11:4                                           idea [8] - 8:5, 9:3,
                                                      high [3] - 31:24, 34:3,                               inhibiting [2] - 42:10,
grabbed [1] - 28:18        Halverson's [2] - 18:6,     35:5                        9:14, 9:24, 18:2,
                                                                                                              55:1
grant [1] - 13:10           88:25                                                  44:9, 79:21, 84:8
                                                      high-stress [1] - 31:24                               initiated [1] - 72:15
granted [1] - 18:25        hamper [1] - 6:12                                     identical [1] - 88:4
                                                      higher [1] - 40:12                                    injure [2] - 82:23, 85:1
graphic [1] - 29:11        hamstringing [1] - 4:8                                identified [2] - 24:12,
                                                      highly [1] - 17:15                                    injuring [1] - 28:17
great [5] - 28:22,         hand [2] - 89:14, 89:16                                 25:10
                                                      Hilton [1] - 25:23                                    input [1] - 50:14
 29:14, 33:10, 35:11,      hands [1] - 26:16                                     identify [1] - 2:5
                                                      himself [6] - 3:19,                                   inside [8] - 32:20,
 50:1                      happy [1] - 7:25            24:6, 24:12, 25:10,       ignorance [1] - 88:21
                                                                                                              37:18, 37:20, 53:18,
grounds [2] - 78:13,       harass [2] - 82:8, 82:9     61:2, 80:23               ignored [1] - 13:21
                                                                                                              64:21, 64:25, 73:10,
 79:2                      harassed [1] - 81:2        hire [1] - 17:19           ill [1] - 53:19
                                                                                                              77:20
group [1] - 36:6           harassing [2] - 89:3,      hired [1] - 61:13          illegal [4] - 51:16,
                                                                                                            insists [1] - 15:8
groups [1] - 69:23          89:7                      historic [1] - 84:22         51:17, 83:3, 88:20
                                                                                                            instance [4] - 31:3,
growing [1] - 21:15        harm [3] - 47:8, 48:15,    historical [1] - 38:14     imagine [1] - 7:12
                                                                                                              54:18, 82:21, 85:22
growth [3] - 40:6,          79:11                                                immediately [7] -
                                                      history [8] - 28:9,                                   instead [2] - 23:4,
 83:23, 85:14              harsh [1] - 22:21           29:3, 29:23, 29:25,         37:21, 37:22, 39:13,
                                                                                                              38:9
Guantanamo [1] -           hates [1] - 51:14           30:11, 62:16, 67:11,        43:24, 58:9, 58:10
                                                                                                            instruct [1] - 9:25
 15:11                     hatred [1] - 62:2           85:6                      impact [1] - 34:7
                                                                                                            instructions [1] -
guarded [1] - 65:4         head [1] - 72:4            hit [1] - 47:21            impeachment [1] -
                                                                                                              61:11
guarding [2] - 65:13,      heads [1] - 84:15          hmm [1] - 59:5               73:11
                                                                                                            insult [1] - 82:10
 69:7                      headstrong [1] - 60:2      hold [2] - 7:6, 47:8       implemented [1] -
                                                                                                            insurrection [1] -
guess [9] - 4:11, 7:16,    health [6] - 58:1, 58:8,   home [4] - 30:4, 38:9,       19:1
                                                                                                              14:18
 8:12, 55:8, 59:12,         58:16, 59:18, 70:23,       40:2, 77:16               important [3] - 58:15,
                                                                                                            insurrections [1] -
 62:21, 64:2, 80:3,         71:1                      honest [4] - 3:2, 3:25,      80:7, 86:16
                                                                                                              14:20
 89:19                     healthy [2] - 23:13,        37:6, 48:24               impulsive [3] - 60:3,
                                                                                                            intend [2] - 8:14,
guide [1] - 19:3            23:16                     honestly [1] - 35:5          79:10, 82:19
                                                                                                              82:12
guidelines [1] - 80:6      hear [6] - 11:13, 19:9,    Honor [28] - 2:2, 2:7,     in-person [1] - 36:16
                                                                                                            intended [2] - 84:13,
guy [2] - 24:11, 37:22      19:21, 35:19, 64:7,        2:23, 2:24, 3:17,         incident [5] - 13:22,
                                                                                                              84:14
guys [8] - 25:25, 41:9,     80:15                      3:22, 4:14, 4:23, 5:6,      46:2, 78:18, 79:13,
                                                                                                            intending [1] - 79:11
 56:16, 56:17, 57:8,       heard [2] - 47:7, 73:13     5:7, 9:5, 9:9, 9:25,        85:8
                                                                                                            intense [8] - 24:9,
 76:23, 77:15              hearing [32] - 2:18,        10:9, 11:4, 11:6,         incidents [2] - 85:8,
                                                                                                              79:22, 80:1, 80:2,
gym [2] - 35:4, 37:15       3:15, 4:23, 7:1, 7:5,      70:18, 71:6, 73:14,         85:9
                                                                                                              83:25, 84:8, 85:22,
                            7:10, 7:20, 11:23,         80:16, 80:23, 81:6,       included [1] - 14:10
                                                                                                              85:23
                            11:24, 11:25, 12:4,        81:7, 81:9, 81:13,        including [1] - 60:16
                                                                                                            intensity [1] - 83:22
                            17:7, 18:19, 19:14,        89:14, 90:4, 90:8         income [1] - 36:8
                                                                                                            intention [2] - 26:5,
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 97 of 104                                                             97



  56:8                     joint [1] - 38:20           24:24, 30:22, 32:2,         76:17                      63:25, 71:14
intentions [3] - 26:4,     joking [1] - 73:7           32:9, 33:9, 33:12,        lawyers [1] - 81:24        line [4] - 37:22, 39:12,
  82:7, 82:8               JUDGE [1] - 1:9             35:11, 36:17, 37:1,       lead [1] - 41:19             39:14, 50:9
interactions [2] - 29:7,   Judge [8] - 2:10,           37:2, 38:10, 40:17,       leading [3] - 13:9,        lines [3] - 39:4, 39:11,
  30:13                      45:19, 49:2, 51:10,       41:1, 41:2, 41:3,           53:6, 59:23                86:10
interest [1] - 82:10         57:14, 62:23, 68:23,      43:14, 44:2, 46:3,        leads [1] - 48:18          Listen [1] - 24:15
interesting [1] - 52:6       79:14                     46:6, 48:19, 48:20,       lean [1] - 68:17           listen [1] - 31:24
internet [2] - 54:22,      judge [28] - 22:18,         48:24, 52:6, 52:7,        learn [1] - 54:24          listened [5] - 43:17,
  89:21                      28:8, 30:9, 42:13,        52:12, 52:18, 53:8,       learned [2] - 58:3,          44:20, 45:13, 51:19,
interrupted [3] -            44:23, 48:18, 49:2,       53:10, 54:6, 62:2,          72:10                      74:24
  29:22, 50:14, 63:5         49:6, 49:18, 49:24,       65:18, 66:9, 66:10,       learner [1] - 83:19        live [5] - 23:4, 23:5,
interrupting [1] - 61:8      50:17, 51:1, 56:7,        67:18, 70:3, 72:14,       learning [2] - 64:16,        23:8, 23:12, 26:8
interruption [2] -           56:18, 57:1, 59:24,       72:17, 72:18, 75:4,         83:18                    lived [1] - 23:6
  29:20, 29:21               60:5, 60:10, 63:23,       76:23, 77:21, 88:20       least [11] - 10:20,        lives [1] - 14:21
interviews [1] - 52:9        81:3, 81:4, 81:6,        Kit [1] - 26:20              53:25, 62:4, 64:15,      living [2] - 23:14,
intimidate [1] - 82:24       81:12, 82:2, 85:6,       knife [2] - 76:21, 76:22     67:16, 79:18, 80:5,        57:20
intimidated [1] - 50:17      85:7, 88:19              knocked [1] - 61:20          80:9, 85:13, 88:18       loans [1] - 15:14
intro [1] - 12:22          judge's [3] - 50:16,       knocking [1] - 70:13       leave [6] - 35:21,         location [1] - 68:24
introduce [1] - 87:5         56:5, 81:5               knowing [1] - 84:20          43:24, 47:5, 48:14,      lock [1] - 37:18
introducing [1] -          judgment [1] - 88:17       knowledge [3] - 15:1,        54:10, 54:13             locked [1] - 37:20
  10:16                    jumped [1] - 14:2           72:20, 79:18              led [8] - 8:17, 21:7,      look [11] - 22:10,
investigate [1] - 5:10     June [4] - 57:17,          known [3] - 34:20,           28:2, 36:25, 45:16,        22:15, 27:3, 31:2,
invite [1] - 73:4            57:23, 59:5, 59:23        43:2, 49:17                 50:3, 79:20, 79:22         31:16, 31:20, 44:10,
involve [1] - 34:18        justice [5] - 8:7, 17:2,   knows [1] - 72:13          left [9] - 28:20, 39:11,     66:12, 66:15, 69:25,
involved [2] - 35:9,         88:22, 88:23, 89:9       KS [1] - 1:14                39:12, 44:8, 44:11,        88:5
  36:11                                                                            50:7, 66:5, 69:1,        looked [3] - 16:8,
ironic [1] - 35:6                     K                          L                 79:6                       69:11, 78:23
ironically [1] - 28:13                                                           leftist [2] - 13:17,       looking [10] - 3:10,
IRS [1] - 41:13                                                                    13:20                      12:1, 12:21, 26:14,
                           Kat [1] - 26:20            labeled [1] - 14:12
issue [6] - 5:21, 6:8,                                                           legal [2] - 6:14, 6:15       52:10, 68:19, 72:5,
                           Kava [1] - 28:15           lack [1] - 37:2
  7:8, 20:17, 60:10,                                                             legally [2] - 35:1,          85:12, 86:8, 86:14
                           Kavanaugh [4] - 28:7,      lady [1] - 32:14
  75:4                                                                             54:24                    looks [2] - 48:25,
                            29:20, 29:21, 62:23       Lake [1] - 38:13
issued [1] - 75:2                                                                legs [1] - 28:20             69:12
                           Kavanaugh's [1] -          lake [1] - 38:13
issues [7] - 5:18, 8:17,                                                         less [8] - 14:23, 17:3,    loophole [7] - 49:9,
                            63:5                      landing [3] - 28:18,
  18:22, 19:8, 41:15,                                                              20:13, 41:6, 53:11,        50:21, 51:6, 51:7,
                           keep [5] - 37:4, 50:22,      42:10, 42:11
  47:6, 86:12                                                                      75:3                       51:17, 56:9, 82:22
                            53:9, 66:13, 82:25        lapses [1] - 88:17
                                                                                 lesson [2] - 29:3,         lose [1] - 17:22
                           keeping [2] - 68:10,       laptop [3] - 24:22,
           J                                                                       72:11                    loss [1] - 7:16
                            68:16                       54:22, 89:20
                                                                                 lethargic [3] - 35:14,     lost [2] - 12:17, 36:8
                           Kendra [5] - 32:5,         larceny [1] - 20:16
                                                                                   37:2, 43:9               LOTH [1] - 90:17
jab [1] - 30:21             37:21, 56:12, 56:24,      large [2] - 57:11,
                                                                                 letting [3] - 42:21,       Loth [2] - 1:22, 90:24
Jackson [1] - 80:1          57:3                        58:24
                                                                                   71:25, 72:1              loudly [1] - 88:7
jail [16] - 8:9, 14:2,     kept [4] - 25:22, 33:6,    last [13] - 14:1, 14:11,
                                                                                 licking [1] - 53:11        loudspeakers [1] -
  14:7, 15:10, 26:6,        74:4, 88:25                 14:23, 18:10, 19:2,
                                                                                 lie [7] - 17:21, 21:23,      72:23
  35:3, 35:6, 35:7,        key [4] - 18:22, 33:6,       31:15, 37:10, 39:20,
                                                                                   37:14, 42:16, 46:13,     love [2] - 14:13, 50:10
  40:9, 53:18, 54:13,       76:21, 76:22                59:12, 61:24, 76:24,
                                                                                   53:22, 58:21             loved [1] - 37:4
  75:7, 84:3, 85:3,        keys [6] - 37:18,            80:14, 81:21
                                                                                 lied [5] - 17:22, 21:12,   low [5] - 40:3, 42:22,
  85:4, 85:10               37:20, 47:9, 47:10,       last-minute [1] - 14:11
                                                                                   31:5, 46:10, 74:1          42:23, 45:13, 78:1
Jan [2] - 15:7, 53:21       48:11                     late [7] - 37:12, 37:24,
                                                                                 lies [8] - 17:12, 18:23,   lunged [1] - 28:17
January [13] - 10:12,      kicked [1] - 36:5            38:6, 38:23, 38:25,
                                                                                   20:8, 30:11, 30:18,      lying [3] - 58:25, 81:16
  10:18, 12:6, 15:1,       kicking [1] - 28:19          39:2, 76:16
                                                                                   33:18, 45:17, 53:7
  15:3, 15:21, 15:22,      kid [1] - 85:19            laughable [1] - 81:24
                                                                                 life [4] - 26:20, 53:15,              M
  15:24, 20:2, 31:16,      kill [1] - 47:4            law [12] - 11:8, 16:22,
                                                                                   57:20, 85:11
  63:4, 84:7, 87:23        killed [1] - 24:22           24:19, 41:7, 49:9,
                                                                                 lifestyle [2] - 35:14,
Jeff [2] - 29:22, 53:1     kind [61] - 4:3, 6:8,        54:16, 54:25, 64:1,                                 ma'am [20] - 57:24,
                                                                                   43:9
Jesus [1] - 12:24           7:1, 10:23, 11:25,          72:14, 80:17, 88:20,                                 58:2, 58:17, 58:20,
                                                                                 lifetime [1] - 29:15
Jesus's [1] - 12:25         12:1, 12:9, 12:10,          88:21                                                60:6, 60:22, 61:22,
                                                                                 lightly [2] - 12:5, 12:6
jettison [1] - 3:13         12:11, 12:16, 12:19,      laws [1] - 56:9                                        62:8, 62:10, 62:12,
                                                                                 likely [3] - 8:8, 53:12,
job [1] - 36:23             12:21, 12:24, 12:25,      lawyer [5] - 24:7,                                     62:14, 63:7, 63:11,
                                                                                   79:16
jobs [2] - 42:10, 42:11     13:4, 20:10, 21:17,         24:15, 25:14, 61:2,                                  63:17, 64:19, 65:25,
                                                                                 limited [3] - 30:13,
       Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 98 of 104                                                         98



 67:4, 69:2, 69:5,        member [5] - 3:1, 3:3,    moment [2] - 6:11,         73:13                    normally [1] - 86:18
 70:12                     14:3, 56:15, 62:11        58:5                     names [1] - 61:7          norms [1] - 45:5
machine [3] - 1:24,       memory [7] - 21:25,       MONA [1] - 1:12           National [1] - 16:3       North [1] - 1:14
 22:6, 26:18               22:2, 34:5, 37:23,       Mona [1] - 2:8            near [3] - 31:18, 54:5,   note [24] - 18:1, 20:5,
mad [1] - 51:5             59:16, 68:9, 68:13       mona.furst@usdoj.          67:18                     21:13, 21:23, 30:17,
magistrate [6] - 22:18,   men [1] - 46:13            gov [1] - 1:15           necessarily [1] - 74:17    32:12, 34:25, 35:22,
 28:7, 30:9, 30:19,       mental [6] - 58:1,        money [2] - 21:7, 78:2    necessary [1] - 18:18      37:8, 38:14, 38:21,
 53:6, 85:7                58:8, 58:16, 59:18,      month [1] - 41:7          need [9] - 8:21, 9:16,     40:4, 42:2, 42:12,
Main [1] - 1:14            70:23, 71:1              months [8] - 22:11,        19:6, 27:18, 32:7,        43:6, 45:4, 45:8,
main [1] - 21:10          mention [11] - 15:24,      38:22, 46:9, 50:6,        44:21, 44:23, 64:11,      47:1, 53:12, 59:7,
maintain [2] - 68:13,      16:6, 35:15, 42:17,       52:16, 54:2, 68:11,       89:5                      71:24, 72:20, 72:22,
 68:16                     44:21, 46:22, 49:14,      85:5                     needed [5] - 44:25,        77:2
majority [1] - 14:9        52:5, 52:15, 61:7,       most [17] - 7:8, 8:17,     50:24, 53:14, 73:21,     noted [6] - 21:3, 42:5,
maliciously [1] - 53:9     71:17                     8:24, 15:16, 17:1,        89:19                     73:9, 75:7, 80:17
mall [2] - 22:4, 23:23    mentioned [15] -           28:12, 29:20, 34:11,     needs [3] - 5:12,         notes [2] - 33:2, 90:18
man [17] - 14:1, 15:25,    14:18, 14:25, 37:9,       36:8, 42:13, 44:1,        80:21, 81:18             nothing [8] - 18:5,
 16:11, 24:21, 26:24,      37:12, 42:3, 45:4,        44:21, 51:6, 72:13,      negative [3] - 54:7,       21:17, 33:19, 33:20,
 29:4, 39:14, 40:2,        46:23, 48:6, 48:7,        83:2, 87:20, 88:7         62:1, 87:16               34:19, 81:14
 40:3, 46:10, 46:15,       49:17, 50:21, 52:11,     mostly [3] - 14:13,       negatively [1] - 82:12    notice [2] - 14:11,
 61:9, 72:19, 73:10,       61:19, 62:15, 72:22       29:16, 55:24             never [25] - 7:19,         31:11
 73:13, 78:13, 81:18      mere [2] - 53:5, 76:25    mother [4] - 23:12,        16:25, 18:21, 29:14,     noticed [3] - 44:6,
manner [1] - 90:21        Meriweather [6] -          34:15, 44:5, 44:6         30:2, 32:17, 32:24,       44:7, 64:22
March [2] - 33:4, 33:5     22:19, 28:8, 30:12,      mother's [1] - 39:21       37:11, 59:9, 70:15,      November [5] - 62:25,
march [1] - 64:25          62:23, 62:24             motion [15] - 2:17,        73:13, 73:22, 76:15,      89:13, 90:3, 90:23
marijuana [2] - 63:14,    Merkley's [4] - 53:1,      3:20, 4:4, 4:15, 4:20,    78:5, 78:9, 78:10,       NSA [3] - 15:25, 16:3,
 63:15                     63:14, 69:4, 73:10        7:9, 8:1, 19:10,          78:22, 79:4, 79:10,       16:11
market [3] - 36:19,       message [1] - 44:14        19:11, 54:21, 86:24,      83:2, 83:9, 83:21,       nuisance [1] - 83:7
 42:9, 77:17              metaphor [1] - 38:17       87:8, 89:12, 89:17,       84:2, 87:10              null [1] - 90:20
marshal [1] - 55:13       middle [3] - 21:24,        89:20                    New [11] - 26:10, 46:5,   number [23] - 35:25,
marshals [1] - 9:11        22:3, 23:20              motions [4] - 18:14,       47:24, 49:7, 49:10,       42:7, 43:2, 43:3,
mask [2] - 5:23, 77:15    might [3] - 52:11,         87:11, 89:14, 89:16       56:5, 61:1, 79:1,         43:4, 43:22, 43:25,
massive [1] - 14:8         73:14, 87:14             motorcycles [1] - 47:2     81:3, 81:4, 88:19         44:3, 44:8, 44:10,
materially [1] - 15:9     Mike [1] - 72:23          mountain [4] - 23:25,     new [12] - 16:13,          50:8, 50:12, 50:13,
matter [1] - 17:23        mind [3] - 23:3, 25:2,     25:4, 25:5, 25:23         42:24, 45:11, 49:2,       50:14, 50:15, 50:17,
matters [2] - 10:18,       68:17                    mountains [5] - 26:6,      49:8, 49:18, 51:1,        50:19, 56:6, 56:13,
 18:8                     mine [2] - 20:10, 48:13    26:7, 26:8, 26:9          76:17, 81:12, 81:14,      59:9, 59:10, 81:5,
mayors [1] - 13:20        minimalist [1] - 20:22    move [3] - 13:5, 15:17,    83:20, 86:5               83:11
McDonald's [2] -          minimum [1] - 36:23        16:21                    news [13] - 17:10,        numbers [2] - 39:6,
 38:17, 38:18             minor [1] - 22:21         moved [1] - 40:7           23:10, 25:18, 30:5,       39:9
McFadden [3] - 45:19,     minute [4] - 14:11,       moving [1] - 30:17         36:7, 40:21, 52:9,       numerous [1] - 63:12
 51:10, 68:23              18:20, 55:12, 70:18      MS [30] - 2:7, 2:13,       61:8, 61:10, 63:13,      numerously [1] -
MCFADDEN [1] - 1:9        minutes [12] - 37:24,      2:23, 3:16, 4:14, 5:6,    67:13, 70:16, 77:9        78:11
McFadden's [1] - 49:2      37:25, 38:25, 43:21,      5:19, 6:1, 6:18, 6:21,   newspaper [1] - 21:4      nutrition [3] - 35:10,
mean [12] - 5:1, 21:10,    74:12, 75:9, 75:14,       6:23, 9:9, 9:16, 9:19,   next [7] - 13:5, 26:19,    57:20, 77:7
 22:14, 29:16, 31:2,       75:17, 75:19, 77:16       9:23, 10:9, 11:4,         44:18, 48:4, 51:2,       NW [1] - 1:19
 38:8, 38:10, 44:8,       mischaracterization        11:6, 55:18, 56:18,       78:21
 53:5, 55:3, 77:19,        [1] - 6:2                 56:23, 57:16, 64:14,     nice [1] - 45:12                     O
 82:10                    misconduct [1] -           70:17, 70:20, 71:6,      nicer [1] - 87:15
means [1] - 16:11          33:14                     73:14, 80:16, 90:4,      night [1] - 58:19
                                                     90:8                     nine [2] - 52:16, 85:5    oath [2] - 17:23, 19:5
meanwhile [1] - 41:13     miss [2] - 42:20, 85:25
                                                    murdered [1] - 13:13      nobody [1] - 25:19        obey [1] - 71:3
measures [1] - 36:25      missed [6] - 32:17,
                                                                              nominee [1] - 29:22       object [1] - 73:14
mechanism [1] -            37:10, 49:21, 56:3,
                                                                                                        objection [3] - 10:15,
 21:14                     76:14, 76:24                        N              nonassaultive [1] -
                                                                                                         11:10, 64:2
mechanisms [1] -          missing [9] - 17:12,                                 88:1
                                                                              noncriminal [1] - 17:3    obscenities [1] - 47:3
 77:3                      18:23, 37:11, 41:4,
                                                    name [10] - 14:1,                                   observed [1] - 88:12
media [8] - 13:20,         46:24, 48:12, 51:22,                               nondestructive [1] -
                                                     25:11, 28:6, 32:15,                                obstruct [1] - 72:20
 25:24, 27:24, 27:25,      57:11, 58:24                                        14:10
                                                     56:24, 57:3, 60:23,                                obstructing [1] -
 36:6, 61:1, 74:5,        mistreated [1] - 55:2                               none [1] - 81:17
                                                     61:24, 62:20, 76:18                                 28:10
 76:10                    mix [1] - 41:1                                      nonstop [1] - 25:17
                                                    named [2] - 61:20,                                  obstruction [4] - 8:7,
meet [2] - 25:13, 51:2    mob [1] - 41:3                                      normal [1] - 34:8
        Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 99 of 104                                                            99



 52:4, 88:22, 88:23         10:19, 64:23             pain [1] - 30:21            83:14, 84:20               50:6, 74:15
obviously [4] - 7:22,      openly [1] - 74:4         painting [1] - 73:11       pepper [1] - 77:6          plea [3] - 30:9, 33:21,
 9:1, 41:4, 43:25          operating [1] - 42:22     pairing [1] - 29:19        percent [10] - 14:24,       62:25
occasions [1] - 63:13      opinion [1] - 3:18        paperwork [1] - 56:6        31:16, 31:17, 31:18,      pod [2] - 62:1, 62:4
October [1] - 1:5          opportunity [14] -        parked [3] - 26:12,         36:8, 56:14, 78:7,        point [9] - 8:10, 14:24,
OF [3] - 1:1, 1:3, 1:8      11:16, 19:19, 36:19,      48:3, 48:4                 82:8, 89:5, 89:6           18:11, 18:22, 31:6,
offense [2] - 83:13         53:25, 56:21, 57:12,     parlor [1] - 38:19         performance [1] -           32:21, 83:5, 88:16,
offer [4] - 18:13, 19:2,    71:8, 71:15, 71:20,      part [3] - 15:25, 16:20,    77:10                      88:20
 31:17, 75:23               74:7, 80:5, 80:9,         45:1                      perhaps [2] - 55:23,       points [1] - 21:21
offered [2] - 19:3,         80:14, 80:20             partaker [1] - 84:23        84:14                     poking [1] - 72:4
 82:18                     opposite [3] - 26:5,      parte [1] - 16:11          period [1] - 61:25         police [36] - 14:9,
offering [1] - 84:5         66:2, 67:22              partial [2] - 58:20,       periods [1] - 31:13         28:1, 28:15, 28:16,
offers [1] - 18:14         opposition [3] - 14:11,    58:21                     perjury [4] - 5:2, 5:8,     28:22, 29:7, 29:13,
office [13] - 27:19,        15:4, 33:8               partially [2] - 73:12,      5:9, 8:6                   29:15, 34:4, 46:22,
 27:21, 44:12, 44:13,      opposition's [1] -         76:4                      person [13] - 17:19,        47:1, 47:10, 47:11,
 53:1, 56:25, 57:4,         14:24                    particular [2] - 10:2,      22:6, 36:16, 44:9,         48:9, 48:10, 48:14,
 59:3, 59:8, 63:14,        orally [1] - 9:19          10:5                       46:10, 47:2, 48:2,         48:16, 65:4, 67:3,
 69:4, 73:10, 76:19        orchestrated [1] -        parties [4] - 2:5,          62:15, 63:3, 78:12,        68:7, 68:20, 69:18,
Office [1] - 1:13           14:15                     14:19, 17:10, 17:11        79:17, 79:18, 80:25        69:20, 69:23, 72:12,
officer [33] - 23:24,      order [8] - 9:11, 9:16,   party [1] - 90:21          personally [6] - 11:24,     72:13, 72:17, 73:4,
 24:13, 25:10, 26:15,       46:15, 53:14, 53:15,     passed [1] - 84:2           13:25, 17:20, 34:11,       73:6, 77:21, 77:22,
 26:22, 28:23, 29:1,        65:10, 72:15, 81:5       passing [1] - 84:2          76:10, 84:13               78:11, 79:23, 84:12
 31:5, 32:5, 38:2,         orders [2] - 47:25,       past [6] - 3:7, 3:17,      petitions [1] - 55:21      policies [1] - 15:13
 46:3, 47:14, 52:20,        89:10                     16:13, 23:7, 64:21,       pets [1] - 34:11           policing [3] - 34:5,
 52:24, 53:2, 63:19,       organized [1] - 20:13      75:6                      petty [1] - 20:16           34:8
 63:22, 64:16, 64:20,      originally [5] - 23:21,   path [2] - 41:20, 83:22    Pharisees [1] - 13:2       political [1] - 17:20
 65:1, 65:8, 65:14,         24:11, 25:25, 62:22,     patience [3] - 41:22,      phone [34] - 18:20,        politically [2] - 33:11,
 65:18, 66:4, 67:3,         87:6                      55:4, 55:24                20:19, 20:25, 21:4,        77:3
 67:5, 68:8, 68:18,        otherwise [1] - 12:11     pats [1] - 87:19            22:5, 22:18, 26:18,       politicians [1] - 13:19
 69:18, 69:20, 69:21       outcome [1] - 7:24        pattern [3] - 81:8,         26:23, 27:2, 27:3,        politics [1] - 13:16
Officer [1] - 28:24        outdated [1] - 44:2        81:13, 89:8                27:10, 27:11, 37:10,      Portland [2] - 13:16,
officers [18] - 22:5,      outdoor [1] - 38:12       pausing [1] - 69:13         40:1, 41:5, 41:17,         15:1
 27:13, 28:18, 29:16,      outlet [1] - 27:9         pay [6] - 13:16, 36:15,     42:12, 42:18, 42:21,      position [3] - 21:6,
 29:17, 47:12, 47:15,      outlets [2] - 13:20,       66:6, 76:21, 86:8,         42:23, 42:24, 43:22,       79:12, 79:13
 65:13, 66:1, 66:11,        63:13                     86:10                      44:2, 47:19, 50:8,        positive [8] - 34:2,
 69:23, 69:25, 70:5,       outnumbered [1] -         peaceful [3] - 14:10,       50:14, 57:7, 59:9,         34:5, 34:7, 34:12,
 72:13, 72:17, 73:7,        78:11                     14:13, 84:4                74:3, 75:24, 76:2,         34:16, 54:1, 87:16
 87:13, 89:4               outright [2] - 14:14,     peeing [1] - 34:18          77:4, 81:5, 89:3          positively [1] - 34:2
official [3] - 28:10,       37:14                    Pence [1] - 72:23          phones [1] - 41:11         possession [1] - 21:5
 54:18, 90:25              outside [1] - 73:8        pending [1] - 87:21        photocopied [1] -          possibly [2] - 27:22,
Official [1] - 1:22        overall [4] - 33:20,      people [54] - 8:24,         90:21                      52:8
often [2] - 16:23, 31:4     46:17, 53:5, 62:3         15:11, 21:16, 25:24,      photos [2] - 39:8, 73:8    post [1] - 88:8
old [1] - 26:12            overlooking [1] -          26:5, 27:24, 28:6,        physically [1] - 60:14     potential [2] - 5:2,
omission [1] - 58:25        38:12                     28:10, 28:17, 28:18,      picked [4] - 37:22,         10:24
once [4] - 14:22,          overpower [1] - 14:9       30:21, 32:16, 34:11,       39:13, 39:16, 59:9        potentially [3] - 10:1,
 25:13, 37:19, 49:5        overview [1] - 51:21       37:1, 37:18, 40:8,        Pink [1] - 62:19            47:7, 74:18
one [27] - 8:20, 13:22,    own [4] - 6:2, 59:13,      40:19, 44:1, 53:20,       Pinnacle [1] - 25:6        power [2] - 79:12,
 15:23, 19:2, 28:6,         78:2, 80:23               54:13, 61:25, 66:11,      place [1] - 38:20           79:13
 28:21, 29:20, 32:3,       owned [1] - 23:7           66:23, 66:25, 67:15,      placed [1] - 26:18         pray [1] - 25:4
 34:17, 35:25, 36:15,      ownership [1] - 82:15      67:17, 68:6, 68:21,       places [1] - 36:20         prayed [1] - 84:5
 39:12, 46:23, 48:7,                                  70:2, 70:12, 70:13,       plagued [1] - 13:18        prefer [4] - 54:10,
 49:8, 52:3, 52:8,                                                              plan [4] - 10:11, 17:6,     75:3, 85:22
 59:20, 67:17, 68:6,
                                      P               72:6, 72:8, 78:17,
                                                      79:23, 79:25, 80:1,        26:11, 83:17              prejudicial [4] - 41:17,
 71:2, 73:24, 77:6,                                   81:25, 82:9, 82:11,       Planet [1] - 37:16          41:18, 53:23, 74:25
 77:8, 89:19, 89:20        p.m [7] - 1:5, 14:11,      82:20, 83:5, 83:8,        planned [4] - 12:12,       preparations [1] -
ones [1] - 37:4             35:21, 65:7, 65:10,       84:3, 84:4, 84:5,          18:2, 27:6, 28:11          18:3
online [1] - 50:21          90:10                     84:6, 84:19, 85:1,        planning [6] - 8:16,       prepare [2] - 11:24,
open [5] - 2:21, 8:5,      packed [1] - 78:20         85:2, 86:7, 87:19,         9:21, 9:23, 12:11,         80:7
 8:6, 69:6, 72:9           page [3] - 18:10,          87:20                      79:25, 80:2               prepared [1] - 11:25
opening [3] - 10:13,        25:12, 45:2              people's [3] - 74:17,      plans [4] - 7:14, 25:22,   presence [1] - 68:20
       Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 100 of 104                                                           100



present [8] - 15:5,         18:14, 45:25             quickly [3] - 31:23,        19:22                      22:17, 23:3, 34:4,
 17:18, 19:20, 28:11,      proper [1] - 6:13          44:15, 70:3               rec [1] - 39:25             34:6, 34:10, 40:1,
 31:7, 31:8, 57:13,        properly [1] - 62:24      quite [2] - 8:8, 8:15      receive [2] - 43:22,        45:18, 45:19, 59:24,
 71:8                      property [2] - 47:3,      quote [2] - 59:24, 60:4     52:16                      60:23, 67:5, 69:15,
presented [4] - 19:15,      47:5                                                received [1] - 59:11        77:4
 30:18, 81:14, 83:16       prosecuting [1] - 16:4               R               recent [2] - 28:12,        remembered [2] -
presenting [2] - 33:18,    prosecution [13] -                                    29:20                      49:13, 50:15
 73:22                      18:18, 28:14, 33:13,                                recently [1] - 29:9        reminder [1] - 49:21
press [1] - 47:17           41:1, 45:17, 48:5,       race [1] - 12:1                                       reminding [1] - 90:6
                                                                                recess [1] - 55:14
pretrial [4] - 8:17,        50:10, 52:5, 64:15,      rack [1] - 26:19                                      Rennie [24] - 32:5,
                                                                                recognize [1] - 50:13
 8:18, 32:13, 88:8          74:11, 75:6, 76:3,       radio [1] - 61:3                                       35:23, 36:14, 39:4,
                                                                                reconsider [2] - 75:16,
pretty [2] - 52:13, 55:9    89:23                    raise [1] - 75:4            87:8                       39:21, 39:24, 42:7,
prevent [1] - 4:16         prosecution's [1] -       raising [1] - 74:20        record [10] - 2:6, 11:7,    42:17, 42:18, 42:19,
previous [4] - 16:10,       17:12                    rally [1] - 15:12           11:11, 24:18, 26:1,        43:11, 43:21, 44:4,
 30:10, 44:23, 46:22       prosecutor [3] -          ran [5] - 21:6, 22:3,       82:25, 83:10, 83:12,       44:6, 44:16, 57:9,
previously [4] - 45:9,      21:12, 22:2, 41:1         22:4, 40:21, 78:6          88:5, 90:2                 58:3, 58:18, 59:2,
 49:16, 72:9, 72:22        prosecutors [1] -         range [1] - 31:17          recorded [3] - 24:17,       59:6, 77:8, 77:17,
privilege [2] - 18:8,       13:19                    rare [1] - 32:3             48:21, 50:9                81:7, 86:1
 21:20                     protect [1] - 4:10        rate [2] - 31:16, 33:5     recording [3] - 24:5,      Rennie's [4] - 43:4,
pro [5] - 3:5, 3:22,       protecting [1] - 3:8      rates [1] - 83:8            46:4, 47:12                56:12, 56:24, 57:3
 4:13, 4:14, 53:13         protection [2] - 5:5,     rather [5] - 6:7, 31:5,    records [5] - 20:25,       reopen [3] - 2:17, 7:9,
Pro [1] - 1:17              27:22                     33:9, 56:24, 57:3          21:1, 23:18, 48:9,         86:24
probation [14] - 19:14,    protesters [1] - 66:12    re [1] - 55:16              84:16                     reopened [2] - 8:2,
 20:2, 32:5, 38:2,         protesting [1] - 32:9     re-take [1] - 55:16        recurring [2] - 31:13,      80:19
 39:11, 55:20, 56:25,      protests [1] - 70:10      reach [2] - 7:1, 50:9       73:23                     reopening [1] - 11:8
 57:4, 59:2, 60:9,         prove [5] - 5:8, 6:11,    read [25] - 12:12, 20:9,   red [1] - 77:6             repeat [4] - 57:2,
 73:20, 76:18, 87:13,       18:5, 54:14, 85:12        23:1, 23:2, 28:12,        REDIRECT [2] - 71:10,       64:12, 70:24, 83:12
 89:4                      proved [1] - 17:24         31:18, 33:1, 42:14,        90:12                     repeatedly [1] - 88:9
probing [1] - 24:2         provided [1] - 52:22       42:16, 44:4, 48:19,       Reese's [1] - 26:20        replied [1] - 51:16
problem [3] - 41:5,        PTSD [1] - 46:3            50:12, 50:21, 54:17,      referral [1] - 36:9        report [7] - 31:3,
 70:3, 86:11               Public [1] - 1:18          62:17, 64:3, 74:20,       Reform [2] - 4:12,          31:12, 34:3, 47:1,
problematic [2] - 52:2,    public [1] - 21:3          79:22, 79:24, 79:25,       88:6                       48:10, 60:9, 60:12
 52:19                                                81:23, 81:25, 82:3,       refrain [2] - 47:25,       reported [2] - 1:24,
                           punishment [1] - 52:8
problems [6] - 29:13,                                 82:5, 83:14                48:5                       39:25
                           purposefully [3] -
 29:14, 36:5, 39:20,                                 reading [4] - 24:19,       regarding [2] - 18:22,     Reporter [3] - 1:22,
                            83:3, 85:24, 85:25
 42:18, 57:7                                          41:7, 64:1, 74:19          44:23                      1:22, 90:25
                           pursuing [1] - 70:4
proceed [2] - 2:19,                                  ready [1] - 18:16          registered [1] - 26:12     reporting [1] - 25:20
                           push [5] - 28:13,
 13:10                                               real [4] - 25:20, 51:21,   reinforcement [6] -        reports [2] - 13:23,
                            52:13, 54:15, 76:6,
proceeding [3] -                                      54:25, 82:1                34:2, 34:13, 34:16,        46:23
                            76:9
 28:10, 72:21, 90:10                                 realized [2] - 40:7,        54:1, 87:16, 87:17        represent [2] - 3:19,
                           pushed [1] - 68:3
PROCEEDINGS [1] -                                     68:19                     reinstatement [1] -         17:10
                           pushes [1] - 20:19
 1:8                                                 really [17] - 23:16,        11:23                     represents [1] - 5:13
                           pushing [3] - 20:18,
Proceedings [1] - 1:24                                31:18, 34:16, 36:15,      related [2] - 12:8,        republic [1] - 14:16
                            22:12, 72:16
proceedings [2] - 6:7,                                36:20, 39:2, 44:21,        33:10                     request [1] - 10:3
                           put [9] - 7:12, 11:10,
 90:18                                                48:25, 54:8, 54:9,        relating [2] - 10:18,      requested [5] - 18:14,
                            19:22, 26:16, 28:14,
proceeds [1] - 4:5                                    54:17, 78:4, 79:8,         73:17                      22:1, 55:8, 82:24,
                            50:16, 50:19, 56:5,
process [1] - 71:17                                   80:25, 83:1, 85:20,                                   82:25
                            66:3                                                relationship [1] - 54:5
produced [1] - 1:24                                   89:15                                                requesting [2] - 17:17,
                           putting [1] - 31:22                                  release [9] - 10:12,
professional [1] -                                   reason [14] - 3:17,                                    33:17
                                                                                 20:2, 20:4, 54:21,
 17:18                                                17:1, 17:21, 21:10,                                  requirement [1] -
                                      Q                                          55:21, 57:17, 71:4,
                                                      42:2, 42:23, 56:12,                                   86:17
professionals [2] -                                                              88:9, 89:11
                                                      58:20, 58:21, 59:17,                                 rescheduled [1] - 58:2
 17:4, 17:5                                                                     released [7] - 15:10,
                           questioned [2] -           59:20, 59:21, 70:21,                                 rescue [1] - 53:15
proffer [2] - 12:19,                                                             40:23, 71:4, 82:2,
                            45:25, 49:19              70:25                                                research [1] - 51:13
 12:20                                                                           85:3, 85:4, 88:1
                           questioning [1] - 19:5    reasonable [1] - 60:1                                 respond [4] - 34:1,
progression [2] -                                                               releasing [1] - 88:16
                           questions [8] - 6:10,     reasons [7] - 7:21,                                    34:10, 34:12, 75:19
 33:6, 33:7                                                                     relevant [2] - 8:19,
                            18:16, 18:17, 18:21,      7:22, 13:8, 17:1,                                    responded [2] - 51:6,
promise [4] - 51:10,                                                             17:1
                            55:16, 56:22, 57:13,      59:20, 71:2, 81:17                                    51:18
 51:17, 51:18                                                                   remain [3] - 19:5,
                            65:19                    rebut [1] - 71:8                                      responds [1] - 19:2
pronounce [1] - 28:5                                                             80:21, 81:18
                           quick [2] - 29:3, 51:21   rebuttal [2] - 7:13,                                  response [2] - 19:9,
proof [3] - 18:13,                                                              remember [14] - 14:1,
       Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 101 of 104                                                             101



  64:7                     Rosanne [1] - 29:10       scream [1] - 38:19          Senator [2] - 63:14,        86:1
responsibilities [2] -     RPR [3] - 1:22, 90:17,    screaming [3] - 47:3,        69:4                      showed [6] - 39:24,
  37:3, 37:5                90:24                     71:25                      send [1] - 89:15            44:3, 47:13, 48:2,
responsibility [1] -       rudely [1] - 43:14        screenshot [2] -            sense [3] - 10:7,           78:2, 84:3
  84:11                    ruined [3] - 51:1,         39:11, 42:19                10:25, 77:2               showing [7] - 39:6,
rest [2] - 14:7, 68:18      85:11, 85:12             screenshots [3] -           sensitive [1] - 43:23       40:3, 40:5, 61:11,
restaurant [4] - 38:11,    rule [1] - 41:3            39:5, 39:6, 39:7           sent [5] - 39:6, 39:8,      74:24, 84:11, 85:13
  38:15, 38:20             Rule [2] - 18:12, 19:1    se [5] - 3:5, 3:22, 4:13,    42:19, 44:14, 85:19       shown [11] - 24:5,
restraining [1] - 46:15    ruled [2] - 19:17,         4:14, 53:13                sentencing [2] - 5:4,       52:25, 53:8, 72:24,
restriction [3] - 37:16,    62:24                    Se [1] - 1:17                8:7                        74:23, 78:6, 80:20,
  41:20, 86:6              rules [10] - 43:17,       search [2] - 4:18,          separately [1] - 22:18      80:23, 80:24, 82:13,
restrictions [9] -          44:19, 52:21, 53:3,       89:21                      serious [2] - 46:14,        83:4
  22:14, 30:15, 30:20,      54:4, 63:19, 64:17,      season [3] - 35:25,          87:20                     shows [7] - 28:21,
  31:23, 33:8, 33:15,       69:8, 73:4, 83:25         36:2, 36:3                 seriously [1] - 43:14       28:23, 39:12, 81:13,
  35:20, 41:20, 75:3       Rules [2] - 18:11, 19:1   seat [1] - 86:21            seriousness [1] -           82:15, 83:12, 89:8
result [1] - 36:7          rulings [1] - 18:15       seating [1] - 38:12          54:17                     sic [6] - 13:25, 25:7,
resulted [1] - 22:20       run [11] - 23:23, 26:5,   Seattle [2] - 13:15,        served [3] - 30:9, 85:8,    27:15, 41:4, 49:3,
retaliated [1] - 78:10      26:7, 26:14, 26:16,       15:1                        85:9                       51:4
review [3] - 7:5, 7:10,     37:25, 74:3, 77:22,      second [12] - 8:2,          serves [1] - 38:15         sic) [2] - 26:11, 62:22
  7:20                      78:5, 78:15               12:3, 15:23, 17:7,         services [2] - 14:6,       sick [2] - 43:18, 86:15
reviewed [2] - 6:24,       running [4] - 26:4,        35:15, 38:4, 38:5,          32:14                     side [3] - 17:8, 58:13,
  7:7                       28:1, 39:2, 83:7          47:15, 78:3, 79:6,         session [2] - 63:5,         72:14
revoca [1] - 37:16         RVs [1] - 23:6             86:15                       85:25                     sided [1] - 48:16
revocation [25] - 7:2,                               Security [1] - 16:3         Sessions [1] - 29:22       sides [1] - 9:25
  8:18, 17:13, 18:15,                 S              see [35] - 3:22, 7:15,      setting [1] - 10:21        sign [3] - 41:8, 44:3,
  18:19, 19:14, 20:2,                                 8:20, 16:9, 19:8,          several [1] - 66:1          86:14
  20:7, 20:16, 21:8,                                  20:14, 22:8, 26:6,         sexually [1] - 82:9        signatory [1] - 90:21
  31:15, 32:13, 32:14,     safe [1] - 69:16           27:7, 31:12, 31:21,                                   signature [1] - 25:12
                                                                                 shall [1] - 90:20
  32:15, 32:25, 35:15,     SAINT [1] - 90:17          32:25, 33:23, 35:2,                                   signed [1] - 86:4
                                                                                 shape [1] - 46:16
  38:5, 41:18, 42:4,       Saint [2] - 1:22, 90:24    38:10, 45:18, 46:12,                                  significant [1] - 89:1
                                                                                 shaped [1] - 46:3
  57:25, 73:22, 76:20,     SAINT-LOTH [1] -           47:5, 48:10, 52:1,                                    signing [1] - 86:13
                                                                                 share [2] - 22:13,
  77:24, 83:6, 87:11        90:17                     53:16, 60:12, 66:9,                                   signs [3] - 78:25, 79:5,
                                                                                  63:21
revocations [2] - 13:9,    Saint-Loth [2] - 1:22,     67:7, 68:12, 69:24,                                    84:18
                                                                                 shared [11] - 16:25,
  31:14                     90:24                     72:6, 73:5, 77:12,                                    similar [7] - 12:24,
                                                                                  17:1, 20:17, 24:17,
revoke [1] - 55:21         salesman [2] - 36:17       77:13, 82:25, 84:18,                                   17:9, 36:2, 38:16,
                                                                                  24:18, 51:4, 52:7,
revoked [8] - 12:8,        salient [1] - 8:17         85:23, 89:13, 90:3                                     38:17, 66:22, 70:9
                                                                                  60:13, 60:14, 79:6,
  53:23, 59:17, 70:22,     saliently [1] - 88:7      seeing [7] - 7:24,                                     similarly [2] - 38:10,
                                                                                  79:7
  70:25, 77:25, 78:5,      Saratoga [2] - 38:11,      31:12, 33:6, 40:18,                                    49:24
                                                                                 sharing [3] - 61:9,
  78:7                      38:13                     40:25, 64:5, 84:21                                    Simmons [5] - 3:12,
                                                                                  63:20, 82:13
revoking [1] - 88:3        sat [2] - 43:11, 44:19    seek [1] - 27:22                                        4:12, 4:22, 5:13,
                                                                                 sheriff's [2] - 27:19,
rewards [1] - 34:9         satisfied [1] - 11:2      seeking [5] - 17:10,         27:21                      6:24
rid [4] - 20:23, 56:6,     save [2] - 46:16, 64:6     24:16, 85:21, 87:6,        shoot [1] - 40:19          simply [2] - 5:9, 47:13
  81:4, 81:5               saved [1] - 46:2           88:18                      shooter [2] - 40:16,       single [1] - 4:23
ridiculous [2] - 22:13,    saw [14] - 12:10,         seem [3] - 14:4, 23:21,      40:19                     sitting [1] - 33:16
  40:24                     24:13, 26:15, 28:7,       64:1                       shopping [2] - 22:4,       situ [2] - 29:19, 30:19
rights [3] - 3:8, 3:9,      30:5, 40:16, 40:21,      seemingly [3] - 64:24,       23:23                     situation [30] - 3:5,
  6:5                       54:25, 66:14, 70:13,      72:16, 73:3                                            3:22, 4:22, 16:1,
                                                                                 shorthand [1] - 1:24
riot [2] - 61:21, 62:9      70:15, 78:25, 79:5       select [2] - 70:12, 72:8                                26:25, 28:14, 29:12,
                                                                                 shortly [2] - 65:19,
riots [7] - 13:17,         scared [2] - 36:11,       selective [2] - 28:13,                                  32:2, 32:11, 37:7,
                                                                                  68:9
  14:12, 14:15, 14:20,      36:12                     40:25                                                  39:23, 42:12, 42:14,
                                                                                 shouting [1] - 28:16
  14:24, 15:2, 63:3        scene [1] - 66:3          self [2] - 3:14, 17:10                                  42:20, 44:17, 45:16,
                                                                                 shove [1] - 22:5
risk [5] - 17:14, 23:4,    schedule [4] - 42:4,      self-incrimination [1]                                  46:17, 46:21, 47:12,
                                                                                 show [27] - 13:23,
  23:22, 78:7, 78:8         50:5, 58:4, 86:16         - 3:14                                                 47:22, 48:17, 48:18,
                                                                                  17:12, 18:15, 21:16,
road [4] - 21:24, 22:4,    scheduled [2] - 42:6,     self-represent [1] -                                    48:19, 48:20, 48:22,
                                                                                  23:19, 26:14, 31:1,
  23:20, 37:25              42:7                      17:10                                                  50:1, 74:21, 77:1,
                                                                                  32:4, 38:6, 43:6,
roasted [1] - 77:6         Schenectady [1] -         sell [2] - 36:16, 38:18      43:20, 51:15, 54:1,        83:18, 84:18
robin [1] - 30:12           46:5                     sells [1] - 38:18            54:3, 61:3, 65:17,        situations [10] - 4:6,
Robin [2] - 22:19, 28:8    school [3] - 34:3,        semi [1] - 34:3              65:18, 67:14, 67:16,       13:8, 31:25, 35:8,
room [4] - 52:4, 66:11,     35:5, 35:8               semi-vividly [1] - 34:3      69:14, 72:3, 80:5,         46:4, 47:22, 54:14,
  66:22, 81:24             scope [1] - 73:15         Senate [1] - 73:11           85:14, 85:16, 85:17,       76:7, 83:19, 83:20
       Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 102 of 104                                                              102



six [5] - 23:6, 27:5,      Springs [1] - 38:12        stop [5] - 13:4, 13:22,     supervisor [3] - 43:19,    tested [1] - 68:11
 30:9, 85:7, 85:10         stab [1] - 84:5             19:9, 48:12, 65:4           76:18, 77:7               testifies [2] - 3:14,
size [2] - 14:8, 66:22     staircase [1] - 78:20      stopped [2] - 77:21,        support [3] - 7:2, 18:7,     7:11
sketchy [2] - 15:16,       stand [13] - 7:20, 7:23,    78:14                       72:14                     testify [14] - 4:21,
 25:21                      8:3, 8:4, 9:4, 9:6,       stopping [1] - 42:11        supported [3] - 13:24,       7:10, 16:25, 19:6,
skip [2] - 16:13, 16:19     10:22, 17:17, 55:16,      store [1] - 38:18            14:18, 15:9                 19:17, 19:18, 19:24,
slap [1] - 40:18            67:8, 86:3, 88:12,        storms [2] - 58:19,         supportive [1] - 74:19       52:24, 56:21, 71:20,
sleep [4] - 31:8, 43:9,     88:18                      58:22                      supposed [1] - 24:21         75:23, 80:20, 87:2,
 58:18, 58:23              standby [2] - 2:13,        story [6] - 25:17,          suppress [3] - 3:21,         87:4
slightly [1] - 74:16        10:15                      25:20, 26:17, 29:19,        4:4, 4:16                 testifying [1] - 19:16
slow [2] - 83:17, 83:18    Standby [1] - 1:18          47:13                      suppression [1] - 3:14     testimony [18] - 5:5,
small [2] - 61:25,         start [2] - 11:22, 71:16   straight [2] - 63:2,        Supreme [1] - 3:12           12:7, 16:24, 17:5,
 66:19                     started [13] - 21:10,       63:8                       surprise [6] - 11:23,        17:15, 17:24, 18:6,
smile [2] - 21:16,          21:11, 24:19, 28:16,      strain [1] - 8:20            17:11, 34:20, 70:15,        33:18, 44:5, 54:16,
 49:25                      32:8, 36:4, 42:9,         stranger [1] - 34:19         79:6, 84:9                  61:19, 64:5, 71:21,
smiling [5] - 21:13,        47:2, 47:3, 71:25,        street [1] - 26:10          surprised [1] - 17:9         74:8, 74:10, 74:22,
 45:20, 45:23, 49:25,       72:3, 78:12, 78:13        stress [3] - 31:24,         surrounding [1] -            76:19, 86:25
 50:18                     starting [1] - 2:6          32:10, 35:11                27:14                     testing [2] - 55:4,
smoke [1] - 63:15          starts [1] - 75:21         stressed [1] - 31:19        suspicious [4] -             55:23
smoked [1] - 63:13         state [6] - 24:11,         strikes [1] - 5:1            25:21, 27:19, 64:24,      tests [1] - 56:3
snakes [1] - 13:2           24:15, 25:11, 28:4,       stroke [1] - 6:19            67:8                      Texas [2] - 40:16,
snap [1] - 83:24            80:3, 88:19               strong [2] - 73:25,         suspiciously [1] -           40:18
so.. [2] - 45:22, 68:7     State [1] - 49:7            76:12                       24:22                     thanking [1] - 73:6
soccer [1] - 78:19         statement [1] - 11:8       struggling [1] - 35:2       sustain [1] - 10:14        THE [109] - 1:1, 1:9,
social [5] - 36:5, 41:2,   statements [5] - 6:12,     stuck [1] - 25:7            swear [2] - 18:25,           1:12, 1:17, 2:2, 2:9,
 45:5, 83:19, 83:20         8:11, 10:1, 10:2,         studied [1] - 18:16          86:12                       2:10, 2:12, 2:15,
socially [1] - 21:18        10:5                      studies [2] - 14:5,         sympathized [1] -            3:10, 4:11, 5:1, 5:16,
society [2] - 60:2, 83:8   states [1] - 18:12          43:6                        72:18                       5:25, 6:16, 6:20,
soft [1] - 36:17           STATES [4] - 1:1, 1:3,     study [1] - 34:4            system [1] - 89:9            6:22, 7:3, 9:5, 9:7,
someone [5] - 17:17,        1:9, 1:12                 studying [2] - 16:22,                                    9:8, 9:14, 9:18, 9:21,
                                                                                                               10:7, 10:10, 11:1,
 18:3, 62:7, 68:2,         States [7] - 1:13, 2:3,     78:18                                 T
 74:24                      2:8, 3:11, 4:10, 6:3,     stuff [14] - 12:7, 16:14,                                11:2, 11:5, 11:12,
sometimes [2] - 37:4,       6:4                        20:23, 24:9, 33:20,                                     11:14, 11:15, 11:18,
                           stating [2] - 41:9,                                    tables [1] - 12:25           11:19, 11:21, 12:13,
 62:2                                                  35:22, 36:7, 42:1,
                            44:14                                                 Taliban [2] - 15:6           12:15, 13:11, 13:12,
somewhere [1] -                                        47:18, 55:5, 77:18,
                           statistical [1] - 40:12                                tamping [1] - 3:18           15:17, 15:19, 15:20,
 48:24                                                 84:8
                           statistics [1] - 34:6                                  tax [2] - 20:21, 20:25       15:22, 16:2, 16:3,
sorry [17] - 6:16, 16:2,                              stupid [1] - 53:13
                           statue [1] - 28:25                                     taxes [1] - 21:2             16:5, 16:6, 16:7,
 16:13, 36:10, 40:10,                                 subject [1] - 73:20
                           statues [3] - 29:1,                                    Taylor [1] - 80:1            16:8, 16:15, 16:17,
 41:14, 55:11, 57:14,                                 submit [1] - 80:23
                            65:4, 65:12                                           teacher [1] - 36:1           16:18, 16:19, 19:10,
 59:1, 65:5, 70:24,                                   submitted [1] - 7:2
                           status [1] - 88:8                                      technical [1] - 41:16        19:11, 19:12, 19:13,
 74:10, 74:14, 84:2,                                  substantiate [4] -
                                                                                  temporary [2] - 54:21,       19:14, 19:25, 20:1,
 85:15, 90:4               statutes [1] - 80:17        46:8, 47:24, 54:20,
                                                                                    73:4                       20:5, 41:23, 41:25,
sort [6] - 6:14, 9:24,     stay [3] - 48:1, 54:12,     55:7
                                                                                  ten [4] - 67:24, 75:9,       51:23, 51:25, 55:10,
 67:21, 80:6, 87:18         80:13                     succeeding [1] - 46:7
                                                                                    75:14, 78:20               55:15, 56:20, 57:1,
sounds [4] - 8:14,         stayed [2] - 40:1,         successes [1] - 83:18
                                                                                  tend [1] - 72:13             57:12, 57:14, 63:23,
 27:20, 74:6, 75:8          72:11                     sudden [1] - 68:19
                                                                                  tension [1] - 55:23          64:8, 64:10, 64:11,
speaking [3] - 25:14,      steal [3] - 65:3, 65:11,   sue [1] - 41:9
                                                                                  term [2] - 12:20, 41:16      64:12, 70:19, 71:7,
 52:8, 68:25                73:11                     suffer [2] - 21:21
                                                                                  termination [1] -            71:11, 71:19, 71:23,
speaks [1] - 88:7          stenographic [1] -         suffered [3] - 21:14,
                                                                                    75:16                      73:16, 73:19, 74:6,
specifically [4] - 20:1,    90:18                      46:19, 77:18
                                                                                  terrible [1] - 26:11         74:10, 74:13, 74:14,
 22:17, 45:20, 66:12       step [2] - 55:13, 67:15    suffering [1] - 15:2
                                                                                  terribly [1] - 18:4          75:8, 75:13, 75:14,
spectrums [1] - 17:21      stick [1] - 38:1           sufficient [2] - 7:6,
                                                                                  terrorist [2] - 14:17,       75:20, 75:21, 75:22,
speech [2] - 12:22,        still [19] - 5:1, 7:16,     19:15
                                                                                    23:10                      75:25, 76:2, 80:10,
 86:11                      8:5, 8:8, 15:2, 22:8,     suit [2] - 45:11, 45:12
                                                                                  terrorist-funded [1] -       80:11, 80:12, 81:20,
spell [1] - 62:20           22:11, 28:19, 33:14,      summer [1] - 14:13                                       81:22, 86:20, 86:22,
spend [1] - 85:10           36:4, 39:24, 40:11,                                     14:17
                                                      summertime [1] - 36:1                                    86:23, 89:14, 89:17,
spent [1] - 52:17           41:16, 50:8, 51:20,                                   test [10] - 32:4, 32:6,
                                                      sunlight [1] - 43:10                                     89:18, 89:25, 90:6,
spoken [2] - 13:25,         67:9, 86:12, 86:15                                      32:17, 32:18, 32:25,
                                                      super [2] - 14:9, 29:4                                   90:9
 22:16                     stolen [1] - 24:22                                       34:18, 34:23, 35:18,
                                                      supervised [1] - 20:4                                  theme [8] - 29:6,
sports [1] - 35:10         stood [2] - 28:15, 68:4                                  37:11, 84:2
       Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 103 of 104                                                                 103



  31:13, 33:6, 33:7,       tough [4] - 33:15,            trust [3] - 67:12,          uncle [1] - 35:9            82:23, 83:4, 84:3,
  34:24, 40:6, 73:23,        35:14, 35:20, 62:21           82:19, 82:20              uncommon [1] - 37:17        84:11, 86:1, 87:23
  76:5                     toughest [1] - 26:20          trustworthiness [1] -       unconscious [1] -          upheld [1] - 88:2
therapy [2] - 85:25,       towards [5] - 51:12,            18:1                       29:10                     ups [1] - 46:20
  86:6                       53:1, 58:13, 65:17,         trustworthy [1] -           under [14] - 11:8,         upset [7] - 13:1, 23:1,
therefore [1] - 18:2         85:24                         85:18                      17:23, 19:5, 30:15,        31:4, 43:13, 73:1,
they've [1] - 40:10        toy [1] - 38:18               truth [13] - 18:7, 22:7,     30:20, 31:17, 37:24,       75:3, 82:11
thinking [2] - 2:24,       toys [1] - 38:18                23:11, 39:18, 73:21,       45:9, 46:19, 47:6,        USAO [1] - 1:13
  81:10                    tragic [1] - 29:12              73:22, 74:2, 75:2,         62:19, 66:25, 80:17,
thinks [1] - 44:15         trained [2] - 6:14,             76:6, 76:7, 76:8,          88:6                                 V
third [10] - 18:19,          33:14                         82:14                     understandable [3] -
  32:15, 38:5, 42:4,       training [1] - 33:12          truthful [1] - 79:20         43:16, 83:2, 88:14
  47:19, 57:25, 76:19,                                   truthfulness [1] - 5:3      understandably [1] -       valid [1] - 50:8
                           transcript [5] - 1:24,
  77:24, 78:4, 83:6                                      truths [1] - 79:22           43:16                     valuable [1] - 17:25
                             21:25, 90:18, 90:18,
thoughts [4] - 5:18,                                     try [14] - 6:11, 20:11,     uneasy [1] - 67:9          value [2] - 17:3, 17:5
                             90:21
  5:20, 5:22, 8:2                                          20:19, 25:16, 27:2,       unedited [1] - 72:5        valued [1] - 17:16
                           TRANSCRIPT [1] - 1:8
three [6] - 25:8, 30:10,                                   43:3, 47:22, 49:1,        unemployed [1] - 36:1      various [1] - 87:13
                           transcription [1] -
  42:19, 85:8, 87:10,        1:24                          54:23, 68:17, 74:3,       unfair [2] - 54:8, 87:15   vehicle [7] - 21:24,
  87:11                                                    76:20, 81:5, 82:24        unfamiliar [1] - 50:12      22:3, 23:19, 37:20,
                           transcripts [1] - 23:1
threw [1] - 40:22                                        trying [27] - 4:16, 22:5,                               47:21, 48:4, 74:3
                           treat [1] - 82:11                                         unforgiveness [1] -
throughout [1] - 29:6                                      30:21, 37:6, 37:25,        54:7                      vehicles [3] - 26:12,
                           treated [3] - 15:9,
throw [3] - 45:8,                                          38:1, 40:3, 43:8,                                     26:13, 37:18
                             23:15, 62:5                                             unfortunate [3] -
  46:19, 47:6                                              45:8, 46:18, 49:15,        41:19, 48:17, 77:1        vending [2] - 22:6,
                           treatment [1] - 53:19
thunderstorm [1] -                                         54:24, 60:20, 63:6,                                   26:18
                           trespassing [3] -                                         unfortunately [11] -
  43:8                                                     68:6, 68:13, 68:16,        21:9, 22:12, 22:16,       vengeful [1] - 30:22
                             78:25, 79:5, 84:18
TI [1] - 62:21                                             70:2, 72:6, 73:11,         22:19, 25:6, 40:10,       verbally [1] - 65:16
                           TREVOR [1] - 1:9
tiara [1] - 28:14                                          76:4, 76:6, 77:10,         48:16, 61:25, 71:11,      version [1] - 69:14
                           trial [17] - 4:5, 6:4, 6:5,
TIGETHE [1] - 62:21                                        77:15, 82:16, 83:15,       71:12, 82:19              versus [3] - 2:3, 3:11,
                             8:11, 8:19, 8:23,
Tighe [7] - 28:6,                                          88:24                     unhappy [3] - 49:6,         72:15
                             10:2, 10:6, 10:20,
  29:18, 30:8, 62:15,        20:3, 30:25, 31:5,          tunnel [1] - 22:25           77:14, 77:15              victim [1] - 80:24
  62:18, 63:2, 85:5          52:11, 52:13, 64:6,         tunnel-vision [1] -         UNITED [4] - 1:1, 1:3,     video [18] - 24:5,
TikTok [4] - 27:4,           73:11, 87:22                  22:25                      1:9, 1:12                  24:16, 27:22, 28:21,
  28:21, 72:24, 73:5       tricked [1] - 20:6            turn [5] - 24:10, 27:2,     United [7] - 1:13, 2:3,     29:3, 29:11, 30:3,
timed [1] - 12:22                                          43:12, 57:13, 65:18        2:8, 3:11, 4:10, 6:3,      30:7, 46:8, 46:9,
                           tried [23] - 21:4, 28:13,
timeout [1] - 85:19                                      turned [2] - 25:18,          6:4                        47:14, 47:24, 50:23,
                             28:16, 43:21, 43:24,
                                                           68:23                     unless [2] - 19:21,         60:25, 69:14, 72:3,
tin [3] - 26:23, 26:24,      44:16, 45:15, 46:12,
                                                         turning [2] - 27:4, 27:7     69:15                      72:24, 73:10
  27:1                       47:8, 47:21, 59:6,
                             59:8, 59:9, 73:20,          twist [1] - 31:7            unlike [7] - 14:7,         videos [4] - 27:4, 27:5,
tiny [1] - 20:22
                             76:9, 76:11, 76:25,         twisted [1] - 26:18          14:24, 18:18, 28:21,       31:1, 74:23
tiny-houser [1] - 20:22
                             78:16, 81:3, 81:6,          twisting [2] - 25:18,        29:24, 40:13, 79:23       videotapes [1] - 31:20
tipping [1] - 47:2
                             81:9, 81:10, 84:6             36:7                      unprecedented [2] -        view [2] - 66:2, 77:9
tired [2] - 43:5, 43:7
                           trip [1] - 51:1               two [18] - 15:14,            24:8, 26:25               violence [3] - 30:1,
today [13] - 6:16, 6:21,
                           trooper [3] - 24:12,            18:19, 18:20, 37:12,      up [63] - 2:25, 4:21,       30:2, 70:11
  6:22, 7:16, 10:3,
                             24:15, 25:11                  37:13, 38:21, 38:23,       8:6, 8:8, 9:7, 10:13,     violent [12] - 13:17,
  12:3, 12:18, 16:21,
                           trouble [11] - 49:11,           39:6, 43:4, 46:22,         10:19, 13:9, 21:15,        29:21, 40:13, 67:15,
  16:22, 42:21, 54:9,
                             49:22, 51:3, 51:5,            52:17, 55:12, 61:6,        22:5, 22:16, 28:15,        70:2, 70:6, 76:11,
  54:10, 64:15
                             65:1, 65:2, 65:8,             61:7, 74:11, 76:16,        29:19, 30:8, 32:4,         79:17, 83:13, 84:23,
token [1] - 87:25
                             66:16, 66:17, 69:16,          77:5, 85:8                 33:17, 35:6, 35:7,         85:2, 85:5
took [8] - 19:16, 25:8,
                             89:1                        two-minute [2] -             37:4, 37:22, 38:1,        vision [1] - 22:25
  26:13, 26:21, 36:6,
                           troublemaker [1] -              18:20, 55:12               38:6, 39:7, 39:13,        vividly [2] - 34:3,
  48:16, 50:2, 73:8
                             35:5                        type [1] - 89:21             39:16, 39:24, 43:20,       69:15
tool [1] - 15:3
                           troubling [2] - 42:14,        typically [2] - 17:3,        45:6, 45:17, 48:3,        voice [1] - 44:7
top [4] - 25:4, 25:8,
                             44:22                         34:12                      53:7, 54:23, 55:5,        voicemail [2] - 39:11,
  36:14, 67:16
                           truck [1] - 48:11                                          55:9, 57:17, 59:9,         39:12
total [4] - 26:11,
                           true [6] - 4:25, 38:10,                  U                 59:23, 61:11, 64:9,       voicemails [2] - 34:21,
  37:16, 52:17, 85:10
                             49:12, 72:7, 90:17,                                      64:23, 65:22, 66:6,        59:7
totalled [1] - 39:19
                             90:18                                                    67:21, 67:23, 70:5,       void [1] - 90:20
totally [2] - 37:17,
                                                         uh-hmm [1] - 59:5            70:13, 71:12, 72:9,       voluntarily [1] - 25:9
  52:24                    Trump [3] - 15:12,
                                                         unaware [1] - 84:18          76:16, 78:2, 78:6,        voracious [1] - 83:22
touch [1] - 12:5             72:15, 73:12
                                                         uncertain [2] - 74:18        78:16, 78:23, 78:24,      vs [1] - 1:4
touches [1] - 12:23        Trump's [1] - 15:13
       Case 1:21-cr-00083-TNM Document 56-3 Filed 11/22/21 Page 104 of 104     104



                             19:22                      24:10
           W
                            wishing [1] - 73:7         yourselves [1] - 2:6
                            witness [5] - 56:18,
wage [1] - 36:23             67:11, 71:13, 84:22,                 Z
wait [3] - 31:5, 33:21,      90:12
 54:10                      witnessed [1] - 70:9
waited [1] - 48:15                                     Zach [4] - 13:25,
                            witnesses [5] - 17:8,
waiting [1] - 53:3                                      61:20, 61:23, 62:7
                             18:20, 19:21, 19:22,
waive [1] - 18:8             25:15                     zero [1] - 83:11
walking [2] - 68:21,        witnessing [1] - 13:13     Zoom [1] - 45:6
 72:24                      woman [1] - 40:20          zoomed [1] - 69:14
wall [7] - 55:2, 67:21,     women [2] - 46:13,         zoomed-in [1] - 69:14
 67:24, 78:17, 78:21,        81:2
 78:22, 78:24               wondered [1] - 84:21
wants [3] - 3:24, 4:24,     wondering [1] - 49:8
 5:14                       word [2] - 80:14,
warn [1] - 10:23             81:21
warned [1] - 41:4           words [3] - 20:9, 31:7,
warnings [1] - 2:20          80:23
warrant [6] - 24:4,         wore [1] - 45:13
 24:11, 25:1, 25:3,         works [1] - 17:18
 27:23, 60:10               workweek [2] - 42:3,
Washington [2] - 1:6,        42:6
 1:19                       world [2] - 49:4, 82:1
waste [1] - 20:11           worried [11] - 20:21,
watch [1] - 16:9             25:5, 25:15, 28:23,
watched [1] - 70:16          28:25, 46:6, 49:22,
waving [4] - 65:20,          50:2, 83:1, 88:14
 67:17, 68:7, 68:9          worry [1] - 8:21
ways [1] - 54:7             worse [6] - 13:3, 15:4,
weaknesses [1] -             15:6, 83:23, 85:16
 21:16                      worth [2] - 14:21, 20:9
weapons [1] - 77:20         wrap [2] - 26:24, 55:9
week [1] - 39:20            wrapped [2] - 26:23,
weeks [3] - 13:15,           27:1
 51:2, 54:11                wrestling [2] - 35:4,
weird [3] - 26:1, 67:10,     35:9
 77:2                       written [2] - 54:22,
welcomed [2] - 62:5,         76:16
 73:4                       wrote [1] - 60:9
whatsoever [3] - 18:3,
 28:2, 42:20                           Y
wherewithal [1] - 4:1
whole [3] - 6:6, 32:10,
 70:1                       year [3] - 13:13, 45:9,
Wichita [1] - 1:14           83:10
wife [1] - 33:12            yearlong [4] - 13:21,
wife's [4] - 50:16,          14:17, 14:20, 15:15
 50:19, 56:6, 81:5          years [6] - 20:23, 23:7,
willing [3] - 8:4, 19:18,    35:13, 48:3, 62:18,
 52:24                       78:18
window [13] - 14:2,         yelled [1] - 43:11
 61:20, 64:21, 65:24,       yesterday [1] - 83:10
 66:4, 66:18, 67:20,        York [11] - 26:10, 46:5,
 68:15, 69:9, 69:19,         47:24, 49:7, 49:10,
 69:22, 70:7, 72:2           56:5, 61:1, 79:1,
wise [1] - 88:25             81:3, 81:4, 88:19
wish [4] - 9:4, 18:24,      you-all [1] - 59:7
 19:19, 20:3                yourself [6] - 8:6,
wishes [2] - 7:13,           10:13, 10:19, 19:20,
